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             EXHIBIT B
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               SUPREME COURT OF THE STATE OF NEW YORK
               COUNTY OF NEW YORK                                                             Index No.:         /2018
               ---------------------------------------------------------------------------x
               MARISSA HOECHSTETTER, JANE DOE #8,                                             Plaintiffs Designate
               JANE DOE #9, JANE DOE #10, JANE DOE #11                                        NEW YORK COUNTY
               JANE DOE #12, JANE DOE #13, JANE DOE #14,                                      as the Place of Trial
               JANE DOE #15, JANE DOE #16, JANE DOE #17,                                      Venue Is Based Upon
               JANE DOE #18, JANE DOE #19, JANE DOE #21,                                      Defendant’s Principle
               JANE DOE #22, JANE DOE #23, and JANE DOE #26,                                  Place of Business.

                                                                    Plaintiffs,

                                         - against -

               COLUMBIA UNIVERSITY; THE NEW YORK AND
               PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN
               MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL
               CENTER; COLUMBIA-PRESBYTERIAN MEDICAL                                          SUMMONS
               CENTER, EAST SIDE ASSOCIATES; EAST SIDE
               ASSOCIATES; ROBERT HADDEN; THE TRUSTEES OF
               COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK;
               COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS
               AND SURGEONS; PRESBYTERIAN HOSPITAL
               PHYSICIAN SERVICES ORGANIZATION, INC.;
               COLUMBIA-CORNELL CARE, LLC; COLUMBIA
               CORNELL NETWORK PHYSICIANS, INC.;
               SLOANE HOSPITAL FOR WOMEN,

                                                                     Defendants.              COUNTY OF NEW YORK
               ---------------------------------------------------------------------------x

               To the above named defendant(s):

                       YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve

               a copy of your answer or, if the complaint is not served with this summons, to serve a notice of

               appearance, on the Plaintiffs’ Attorneys within 20-days after the service of this summons,

               exclusive of the day of service (or within 30 days after the service is complete if this summons is

               not personally delivered to you within the State of New York; and in case of your failure to

               appear or answer, judgment will be taken for the relief demanded herein.




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               Dated: New York, New York
                      November 15, 2018

                                                   Law Office of Anthony T. DiPietro, P.C.




                                                   By:
                                                   Anthony T. DiPietro
                                                   Attorney for Plaintiffs
                                                   The Woolworth Building
                                                   233 Broadway - Suite 880
                                                   New York, New York 10279
                                                   (212) 233-3600


               Defendants’ Addresses:
               COLUMBIA UNIVERSITY - 630 West 168th St., New York, NY 10032
               THE NEW YORK AND PRESBYTERIAN HOSP - 525 E. 68th Street, New York, NY 10021
               COLUMBIA PRESBYTERIAN MED CTR - 525 E. 68th Street, New York, NY 10021
               COLUMBIA UNIVERSITY MEDICAL CTR - 630 West 168th St., New York, NY 10032
               COLUMBIA-PRESBYTERIAN MEDICAL CENTER, EAST SIDE ASSOCIATES - 622 W
               168th Street, New York, NY or 16 E. 60th Street, Suite 408, New York, NY 10022
               EAST SIDE ASSOCIATES - 16 E. 60th Street, Suite 408, New York, NY 10022
               ROBERT HADDEN - 16 E. 60th Street, Suite 408, New York, NY 10022
               THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK - 211 Low
               Library, 535 West 116th Street, Mail Code 4324, New York, NY 10027
               COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND SURGEONS - 630 West 168th
               St., New York, NY 10032
               PRESBYTERIAN HOSPITAL PHYSICIAN SERVICES ORG., INC. - c/o McDermott Will &
               Emery, 1211 Avenue of the Americas, New York, NY 10036
               COLUMBIA-CORNELL CARE, LLC - 16 E. 60th Street, Suite 480, New York, NY 10022
               COLUMBIA CORNELL NETWORK PHYSICIANS, INC. - 900 Third Avenue, Suite 500
               New York, NY 10022
               SLOANE HOSPITAL FOR WOMEN - 161 Fort Washington Avenue, New York, NY 10032




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               SUPREME COURT OF THE STATE OF NEW YORK
               COUNTY OF NEW YORK                                                             Index No.:         /2018
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               MARISSA HOECHSTETTER, JANE DOE #8,
               JANE DOE #9, JANE DOE #10, JANE DOE #11
               JANE DOE #12, JANE DOE #13, JANE DOE #14,
               JANE DOE #15, JANE DOE #16, JANE DOE #17,
               JANE DOE #18, JANE DOE #19, JANE DOE #21,
               JANE DOE #22, JANE DOE #23, and JANE DOE #26,

                                                                    Plaintiffs,

                                         - against -

               COLUMBIA UNIVERSITY; THE NEW YORK AND                                          VERIFIED COMPLAINT
               PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN
               MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL
               CENTER; COLUMBIA-PRESBYTERIAN MEDICAL
               CENTER, EAST SIDE ASSOCIATES; EAST SIDE
               ASSOCIATES; ROBERT HADDEN; THE TRUSTEES OF
               COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK;
               COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS
               AND SURGEONS; PRESBYTERIAN HOSPITAL
               PHYSICIAN SERVICES ORGANIZATION, INC.;
               COLUMBIA-CORNELL CARE, LLC; COLUMBIA
               CORNELL NETWORK PHYSICIANS, INC.;
               SLOANE HOSPITAL FOR WOMEN,

                                                                     Defendants.
               ---------------------------------------------------------------------------x

                       Plaintiffs MARISSA HOECHSTETTER, JANE DOE #8, JANE DOE #9, JANE DOE

               #10, JANE DOE #11, JANE DOE #12, JANE DOE #13, JANE DOE #14, JANE DOE #15,

               JANE DOE #16, JANE DOE #17, JANE DOE #18, JANE DOE #19, JANE DOE #21, JANE

               DOE #22, JANE DOE #23 and JANE DOE #26, complaining of the defendants by their

               attorneys, Law Office of Anthony T. DiPietro, P.C., respectfully state:

                                       GENERAL ALLEGATIONS AS TO THE PARTIES

               1. This action seeks to vindicate the rights of eighteen (18) women who were sexually

                   exploited, abused, harassed and molested at the hands of serial sexual predator defendant




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                  ROBERT HADDEN (hereinafter referred to as “HADDEN”), while they were patients at

                  defendant COLUMBIA UNIVERSITY, THE NEW YORK AND PRESBYTERIAN

                  HOSPITAL; COLUMBIA PRESBYTERIAN MEDICAL CENTER; COLUMBIA

                  UNIVERSITY MEDICAL CENTER; COLUMBIA-PRESBYTERIAN MEDICAL

                  CENTER, EAST SIDE ASSOCIATES; EAST SIDE ASSOCIATES; THE TRUSTEES OF

                  COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA UNIVERSITY

                  COLLEGE OF PHYSICIANS AND SURGEONS; PRESBYTERIAN HOSPITAL

                  PHYSICIAN SERVICES ORGANIZATION, INC.; COLUMBIA-CORNELL CARE, LLC;

                  COLUMBIA CORNELL NETWORK PHYSICIANS, INC. (hereinafter referred to as

                  “"CORP. ENTITIES"”), under the supervision management and/or control of the THE

                  BOARD OF TRUSTEES OF COLUMBIA UNIVERSITY (hereinafter referred to as

                  “TRUSTEES” and/or “CORP. ENTITIES”), and their medical facilities, hospitals, offices

                  and/or clinics.

               2. While attending defendant “"CORP. ENTITIES"” medical facilities, Plaintiffs were forced to

                  repeatedly seek medical treatment from defendant-sexual predator ROBERT HADDEN, due

                  to the fact that “"CORP. ENTITIES"”, their agents, servants, employees, chaperones, other

                  doctors, and supervisors, repeatedly and actively concealed, conspired, and enabled, the

                  sexual exploitation and abuse being committed by defendant ROBERT HADDEN. During

                  which time ROBERT HADDEN used this position of trust and authority to sexually exploit

                  and serially sexually abuse Plaintiffs on countless occasions by engaging in deviant sexual

                  acts that included, but are not limited to: grooming, sexually exploiting, fondling, ogling,

                  penetrating and groping Plaintiffs’ bodies and genitalia for no medical purpose; forcing




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                  Plaintiffs to strip naked; groping and/or fondling Plaintiffs’ breasts; digitally penetrating

                  Plaintiffs’ vaginas; digitally penetrating Plaintiffs’ anuses, grooming Plaintiffs for further

                  exploitation and sexual abuse; making sexually inappropriate remarks and deviant statements

                  to plaintiffs in an effort to lower their boundaries and break-down their defenses; performing

                  inappropriate and sexually abusive “mole checks”; spreading open Plaintiffs’ anal crevices

                  so he could leer at their bodies and anuses for his own deviant sexual gratification;

                  increasing the level of inappropriate statements and sexual exploitation and abuse of

                  Plaintiffs over time; evading, manipulating and/or intimidating medical chaperones and/or

                  university personnel; performing serial vaginal examinations for no medical purpose,

                  performing serial PAP smears as an excuse to access and penetrate their vaginas for his own

                  deviant sexual gratification and pleasure, sexually exploiting female patients to satisfy his

                  own prurient and deviant sexual desires, and surreptitiously licking countless patients’

                  vaginas during the performance of phony, and medically unnecessary, vaginal examinations

                  and PAP smears.

               3. Despite the fact that medical chaperones, nurses, supervisors, administrators, doctors and

                  other hospital personnel were aware of the sexual exploitation and abuse being perpetrated

                  by ROBERT HADDEN, dating back to at least the 1990’s, Defendant “CORP. ENTITIES”,

                  their TRUSTEES, their medical facilities, offices, clinics, and their agents, servants, and/or

                  employees, actively and deliberately - and inexplicably - concealed ROBERT HADDEN’s

                  sexual abuse for decades, and continued to grant ROBERT HADDEN unfettered access to

                  vulnerable, unsuspecting, pregnant and non-pregnant female patients at COLUMBIA

                  UNIVERSITY MEDICAL CENTER and their related entities, all in a deceitful and




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                  disdainful attempt to protect Defendants COLUMBIA UNIVERSITY, its TRUSTEES, and

                  affiliated and related CORP. ENTITIES’ reputation, their status amongst other Ivy League

                  institutions, their status amongst other universities and hospitals in New York and nationally,

                  and their own corporate and financial interests.

                                       PLAINTIFF MARISSA HOECHSTETTER

               4. Plaintiff MARISSA HOECHSTETTER was born in 1979, and currently resides in the State

                  of Massachusetts. Plaintiff MARISSA HOECHSTETTER was an OBGYN patient of

                  defendants COLUMBIA UNIVERSITY, THE NEW YORK AND PRESBYTERIAN

                  HOSPITAL; COLUMBIA PRESBYTERIAN MEDICAL CENTER; COLUMBIA

                  UNIVERSITY MEDICAL CENTER; COLUMBIA-PRESBYTERIAN MEDICAL

                  CENTER, EAST SIDE ASSOCIATES; EAST SIDE ASSOCIATES; THE TRUSTEES OF

                  COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA UNIVERSITY

                  COLLEGE OF PHYSICIANS AND SURGEONS; PRESBYTERIAN HOSPITAL

                  PHYSICIAN SERVICES ORGANIZATION, INC.; COLUMBIA-CORNELL CARE, LLC;

                  COLUMBIA CORNELL NETWORK PHYSICIANS, INC. (Hereinafter “CORP.

                  ENTITIES”) and their agent, servant, and/or employee ROBERT HADDEN, during which

                  time MARISSA HOECHSTETTER was serially sexually exploited and abused by ROBERT

                  HADDEN — who was enabled by the acts and omissions of the within named defendants

                  and “CORP. ENTITIES”.

               5. Plaintiff MARISSA HOECHSTETTER saw ROBERT HADDEN at “CORP. ENTITIES”

                  medical facilities between October 6, 2009 and May 8, 2012 for what was supposed to be

                  gynecologic and obstetric care and treatment. Beginning with MARISSA




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                  HOECHSTETTER’s initial office visit, defendant ROBERT HADDEN began subjecting her

                  to a course of predatory grooming, boundary violating, mental, emotional, and physical

                  sexual exploitation and abuse. During the visits, ROBERT HADDEN assailed MARISSA

                  HOECHSTETTER with a barrage of wily, inappropriate, invasive and exploitive questions

                  and statements about her physique and physical appearance, sexual history, sexuality, and

                  pornography. ROBERT HADDEN’s approach to grooming was a mix of being awkward,

                  authoritative, self-deprecating, disarming, self-pitying, alarming, and overtly offensive.

                  HADDEN knowingly and intentionally exploited plaintiff MARISSA HOECHSTETTER’s

                  close personal friendship with HADDEN’s own niece to disarm, manipulate, and sexually

                  abuse MARISSA HOECHSTETTER.

               6. While ROBERT HADDEN was actively and verbally breaking down MARISSA

                  HOECHSTETTER’s boundaries, he forced MARISSA HOECHSTETTER to answer

                  questions about the number of sexual partners and sexual acts she had engaged in, whether

                  or not her partner was able “satisfy her”, and peppered her with a series of irrelevant and

                  medically inappropriate questions for long periods while ogling and groping her breasts and

                  unclothed body. A Chaperone was present in the room during some of the verbal and

                  physical assaults and witnessed ROBERT HADDEN’s verbal and physical sexual abuse

                  firsthand, yet did nothing to prevent ROBERT HADDEN’s sexual exploitation and abuse of

                  Plaintiff MARISSA HOECHSTETTER. Other times, a Chaperone was not present and

                  Hadden would use the relationship MARISSA HOECHSTETTER had with his own niece to

                  exploit the situation. This included, but is not limited to, performing serial, prolonged, and

                  medically inappropriate breast examinations. During one such examination, ROBERT




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                  HADDEN told MARISSA HOECHSTETTER, apropos of nothing, “I can tell you had sex

                  last night”.

               7. In April of 2011, ROBERT HADDEN became listed as the physician in attendance of the

                  birth of MARISSA HOECHSTETTER’s twins. During her hospital stay, after she had given

                  birth, ROBERT HADDEN presented to her bedside and exposed MARISSA

                  HOECHSTETTER’s breasts. ROBERT HADDEN, looking down upon her exposed breasts,

                  told MARISSA HOECHSTETTER “You look like a porn star.” As if that were not enough,

                  during a postpartum visit in May 2012, while MARISSA HOECHSTETTER was lying prone

                  on the examination table, Hadden pretended to be performing some kind of vaginal

                  examination. After touching her vagina with his ungloved hand, and while ducking down

                  under MARISSA HOECHSTETTER’s gown, ROBERT HADDEN proceeded to touch his

                  tongue to plaintiff MARISSA HOECHSTETTER’s vagina. ROBERT HADDEN has serially

                  sexually assaulted countless female patients of COLUMBIA UNIVERSITY and NEW

                  YORK-PRESBYTERIAN HOSPITAL while carrying out his sick fantasies surrounding

                  doctor sexual abuse. All of which has been enabled by defendants COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES.

                  ROBERT HADDEN’s depraved mind and scheme to perform deviant and sexually

                  exploitive acts upon women led him to acting out, in a serial fashion, his sick fantasies of

                  being able to touch his tongue to countless patients’ vaginas under the guise of “medical

                  care” -- while trying to get away with it. These events are not isolated, and they were not

                  done outside the knowledge and awareness of his employers ("CORP. ENTITIES").

                  Amongst the medical assistants and chaperones with whom he worked, ROBERT HADDEN




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                  was known as “a shark” because he knew how to outmaneuver chaperones, making quick

                  hits at sexually abusing female patients, and would then keep going. In fact, at least one

                  nurse who worked with ROBERT HADDEN in 1992-1993 walked in on ROBERT

                  HADDEN sexually abusing a female patient at defendant COLUMBIA UNIVERSITY’s

                  Audubon Clinic. However, when the nurse reported to her supervisor what ROBERT

                  HADDEN was doing, the supervisor’s response was for her to just “keep quiet”, “stay with

                  your doctor”, and “don’t let him get himself in trouble”.

               8. For the sake of completeness, ROBERT HADDEN has pleaded guilty in Criminal Court to

                  sexually abusing two other patients; one by licking her vagina during a purported vaginal

                  examination - which was the second time that the patient stated that ROBERT HADDEN had

                  done it. The other conviction is based upon ROBERT HADDEN’s guilty plea to sexually

                  abusing another female patient, who ROBERT HADDEN knew to be HIV positive, with his

                  ungloved hand.

               9. Finally, as a result of being listed as the physician in attendance at the birth MARISSA

                  HOECHSTETTER’s twins, ROBERT HADDEN’s name is present on the original birth

                  certificates of both her daughters. Every time MARISSA HOECHSTETTER registers either

                  of her girls for summer camp, or sends them off to a new school, she is re-traumatized by the

                  sight of this sick sexual predator’s name on the birth certificates of her little girls. To date,

                  Columbia University, New York-Presbyterian Hospital, and their agents, partners, servants,

                  and/or employees have refused to issue either an apology, or a letter which will allow the

                  removal of ROBERT HADDEN’s name from these children’s birth certificates.




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               10. Because Defendant "CORP. ENTITIES"’ Chaperones stood by, silently, as ROBERT

                  HADDEN sexually exploited and abused Plaintiff MARISSA HOECHSTETTER,

                  MARISSA HOECHSTETTER reasonably believed that ROBERT HADDEN was

                  conducting legitimate medical treatment while he was ogling, groping, verbally assaulting,

                  and physically abusing, violating, sexually abusing, and penetrating her, although she now

                  knows that ROBERT HADDEN’s conduct was, in fact, sexual exploitation and abuse.

                  Despite the "CORP. ENTITIES"’ chaperones’ first-hand observation of the abuse, and

                  "CORP. ENTITIES" prior reports about ROBERT HADDEN’s sexual misconduct,

                  Defendant "CORP. ENTITIES" and their agents, partners, servants and employees actively

                  concealed the sexually exploitative behavior and abuse being perpetrated by ROBERT

                  HADDEN, as well as the complaints of HADDEN’s sexually exploitative behavior and

                  abuse, and inexplicably continued to allow ROBERT HADDEN to have unfettered sexual

                  access to COLUMBIA UNIVERSITY MEDICAL CENTER, NEW YORK-

                  PRESBYTERIAN HOSPITAL, and Defendant "CORP. ENTITIES"’ female patient

                  populations. Based on the words and conduct of each of the defendants, their agents,

                  servants, and/or employees, plaintiff was induced to not file a complaint earlier. Further,

                  plaintiff has been emotionally traumatized by the defendants’ conduct and abuse, and has

                  lacked the capacity to deal with, and confront, the important legal issues and rights herein

                  until the present.

                                                      JANE DOE #8

               11. Plaintiff JANE DOE #8 was born in 1985, and currently resides in the State of New York.

                  Plaintiff JANE DOE #8 was an OBGYN patient of defendants COLUMBIA UNIVERSITY,




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                  THE NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN

                  MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL CENTER; COLUMBIA-

                  PRESBYTERIAN MEDICAL CENTER, EAST SIDE ASSOCIATES; EAST SIDE

                  ASSOCIATES; THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW

                  YORK; COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND SURGEONS;

                  PRESBYTERIAN         HOSPITAL       PHYSICIAN     SERVICES      ORGANIZATION,         INC.;

                  COLUMBIA-CORNELL             CARE,      LLC;    COLUMBIA        CORNELL        NETWORK

                  PHYSICIANS, INC. (Hereinafter “CORP. ENTITIES”) and their agent, servant, and/or

                  employee ROBERT HADDEN, during which time JANE DOE #8 was serially sexually

                  exploited and abused by ROBERT HADDEN — who was enabled by the acts and omissions

                  of the within named defendants and “CORP. ENTITIES”.

               12. Plaintiff JANE DOE #8 saw ROBERT HADDEN at “CORP. ENTITIES” medical facilities

                  between April 2006, and July 2011, for what was supposed to be gynecological and

                  obstetrical care and treatment. Beginning with JANE DOE #8’s initial office visit, defendant

                  ROBERT HADDEN began subjecting her to a course of predatory grooming, boundary

                  violating, mental, emotional, and physical sexual exploitation and abuse. During the visits,

                  ROBERT HADDEN assailed JANE DOE #8 with a barrage of wily, inappropriate, invasive

                  and exploitive questions and statements about her body, and physical appearance, sexual

                  history, her partner, and the use of pornography. ROBERT HADDEN’s approach to

                  grooming was a mix of being awkward, authoritative, self-deprecating, disarming, self-

                  pitying, alarming, and overtly offensive.

               13. While ROBERT HADDEN was actively and verbally breaking down JANE DOE #8’s

                  boundaries, he forced JANE DOE #8 to answer questions about the number of sexual




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                  partners and sexual acts she had engaged in, whether or not her partner was able “satisfy

                  her”, and peppered her with a series of irrelevant and medically inappropriate questions for

                  long periods while ogling and groping her breasts and unclothed body. A Chaperone was

                  present in the room during some of the verbal and physical assaults and witnessed ROBERT

                  HADDEN’s verbal and physical sexual abuse firsthand, yet did nothing to prevent or stop

                  ROBERT HADDEN’s sexual exploitation and abuse of Plaintiff JANE DOE #8. Other times,

                  a Chaperone was not present - or would leave the room before the “examination” was

                  complete at which point ROBERT HADDEN would continue to physically sexually exploit

                  and abuse JANE DOE #8. This included, but is not limited to, performing serial, prolonged,

                  and medically inappropriate breast examinations, serial and medically-inappropriate PAP

                  smears, and vaginal exams, while divulging wholly improper and inappropriate personal

                  information about himself and family - all in furtherance of his never-ending grooming of

                  female patients.

               14. Following the births of JANE DOE #8’s children on December 5, 2007, and June 17, 2011,

                  ROBERT HADDEN was listed as the physician in attendance. During the postpartum period,

                  following the birth of her child in 2011, ROBERT HADDEN continued to sexually exploit

                  and abuse JANE DOE #8. During one of the office visits, while JANE DOE #8’s breasts

                  were engorged, ROBERT HADDEN insisted that a breast examination was necessary. After

                  making JANE DOE #8 remove her clothing, for no legitimate medical purpose, ROBERT

                  HADDEN proceeded to grope and cup JANE DOE #8’s breasts. During this prolonged, and

                  wholly medically unnecessary “breast examination”, ROBERT HADDEN began to pinch,

                  squeeze, and tug on JANE DOE #8’s nipples so as to express breast milk while allowing it to

                  run down her breasts. JANE DOE #8 has endured indescribable conflict, confusion, and




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                  mental injury due to her inability to comprehend the reasons and level of depravity of the

                  abuse inflicted upon her by ROBERT HADDEN. Despite sharing these accounts with her

                  husband back when they were happening, she was met with the normal and customary

                  responses received by the other women mentioned herein which is a version of ‘doctors

                  don’t do deviant things’ and ‘nobody likes going to the doctor, so feeling uncomfortable is

                  normal’.

               15. ROBERT HADDEN was well aware of the cognitive dissonance that his patients - who were

                  being sexually abused by him - would experience with regard to their inability to come to

                  grips with the thought that their own medical doctor was sexually exploiting and abusing

                  them. ROBERT HADDEN used this knowledge and medical training to his advantage, and

                  leveraged his position of status and authority bestowed on him by COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

                  PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", to his benefit, and in furtherance

                  of his scheme to sexually abuse and exploit as many women as possible under the guise of

                  performing medical procedures. As a result, ROBERT HADDEN was enabled to sexually

                  abuse countless female patients of COLUMBIA UNIVERSITY and NEW YORK-

                  PRESBYTERIAN HOSPITAL, in a serial fashion, while carrying out his sick fantasies

                  surrounding doctor sexual abuse.

               16. These events are not isolated, and they were not done outside the knowledge and awareness

                  of his employers ("CORP. ENTITIES"). ROBERT HADDEN was known as “a shark” - who

                  knew how to outmaneuver chaperones, make quick hits at sexually abusing female patients,

                  and keep going - amongst the medical assistants and chaperones with whom he worked. At

                  least one nurse who worked with ROBERT HADDEN in 1992-1993 walked in on ROBERT




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                  HADDEN sexually abusing a female patient at defendant COLUMBIA UNIVERSITY’s

                  Audubon Clinic. However, when the nurse reported to her supervisor the abuse ROBERT

                  HADDEN was committing, the supervisor’s response was for her to just “keep quiet” and

                  “stay with your doctor” and “don’t let him get himself in trouble”.

               17. COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW

                  YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", have created an

                  environment that was not only conducive to doctor sexual abuse, but actually enabled it to

                  happen. By failing to properly educate, train, empower, and support the medical assistants

                  and chaperones, COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                  UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES"

                  created an environment where patients were duped and deceived into believing that there

                  was a medical chaperone in the examination room who would keep them safe. But, in reality,

                  the hidden imbalance of power that existed between their chaperones and medical doctors -

                  where nurses were afraid to speak-up for fear of losing their jobs - had the practical effect of

                  making doctor sexual abuse appear to be legitimate medical care on account of the

                  chaperone’s silence.

               18. For the sake of completeness, ROBERT HADDEN has pleaded guilty in Criminal Court to

                  sexually abusing two-other patients; one by licking her vagina during a purported vaginal

                  examination - which was during the second time that the patient stated that ROBERT

                  HADDEN had done it. The other is when ROBERT HADDEN pleaded guilty to sexually

                  abusing a separate female patient, who ROBERT HADDEN knew to be HIV positive, with

                  his ungloved hand.




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               19. Finally, as a result of being listed as the physician in attendance at the birth of two of JANE

                   DOE #8’s children, ROBERT HADDEN’s name is present on the original birth certificates of

                   both children. Every time JANE DOE #8 registers either of her children for summer camp,

                   or sends them off to a new school, she is re-traumatized by the sight of this sick sexual

                   predator’s name on the birth certificates of her children. To date, Columbia University, New

                   York-Presbyterian Hospital, and their agents, partners, servants, and/or employees have

                   refused to issue either an apology, or a letter which will allow the removal of ROBERT

                   HADDEN’s name from these children’s birth certificates.

               20. Because Defendant "CORP. ENTITIES"’ Chaperones stood by, silently, as ROBERT

                   HADDEN sexually exploited and abused Plaintiff JANE DOE #8, JANE DOE #8 reasonably

                   believed that ROBERT HADDEN was conducting legitimate medical treatment while he

                   was ogling, groping, verbally assaulting, and physically abusing, violating, sexually abusing,

                   expressing breast milk for no medical purpose during the postpartum period, and penetrating

                   her, although she now knows that ROBERT HADDEN’s conduct was, in fact, sexual

                   exploitation and abuse. Despite the "CORP. ENTITIES"’ chaperones’ first-hand observation

                   of the abuse, and "CORP. ENTITIES" prior reports about ROBERT HADDEN’s sexual

                   misconduct, Defendant "CORP. ENTITIES" and their agents, partners, servants and

                   employees actively concealed the sexually exploitative behavior and abuse being perpetrated

                   by ROBERT HADDEN, as well as the complaints of HADDEN’s sexually exploitative

                   behavior and abuse, and inexplicably continued to allow ROBERT HADDEN to have

                   unfettered sexual access to COLUMBIA UNIVERSITY MEDICAL CENTER, NEW

                   YORK-PRESBYTERIAN HOSPITAL, and Defendant "CORP. ENTITIES"’ female patient

                   populations. Based on the words and conduct of each of the defendants, their agents,




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                  servants, and/or employees, plaintiff was induced to not file a complaint earlier. Further,

                  plaintiff has been emotionally traumatized by the defendants’ conduct and abuse, and has

                  lacked the capacity to deal with, and confront, the important legal issues and rights herein

                  until the present.

                                                      JANE DOE #9

               21. Plaintiff JANE DOE #9 was born in 1971, and currently resides in the State of New York.

                  Plaintiff JANE DOE #9 was an OBGYN patient of defendants COLUMBIA UNIVERSITY,

                  THE NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN

                  MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL CENTER; COLUMBIA-

                  PRESBYTERIAN MEDICAL CENTER, EAST SIDE ASSOCIATES; EAST SIDE

                  ASSOCIATES; THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW

                  YORK; COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND SURGEONS;

                  PRESBYTERIAN         HOSPITAL      PHYSICIAN      SERVICES      ORGANIZATION,         INC.;

                  COLUMBIA-CORNELL            CARE,      LLC;     COLUMBIA        CORNELL        NETWORK

                  PHYSICIANS, INC. (Hereinafter “CORP. ENTITIES”) and their agent, servant, and/or

                  employee ROBERT HADDEN, during which time JANE DOE #9 was serially sexually

                  exploited and abused by ROBERT HADDEN — who was enabled by the acts and omissions

                  of the within named defendants and “CORP. ENTITIES”.

               22. Plaintiff JANE DOE #9 saw ROBERT HADDEN at “CORP. ENTITIES” medical facilities

                  between 2002 and 2011 for what was supposed to be gynecologic and obstetric care and

                  treatment. Beginning with JANE DOE #9’s initial office visit, defendant ROBERT

                  HADDEN began subjecting her to a course of predatory grooming, boundary violating,

                  mental, emotional, and physical sexual exploitation and abuse. During the visits, ROBERT




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                  HADDEN assailed JANE DOE #9 with a barrage of wily, inappropriate, invasive and

                  exploitive questions and statements about her body, and physical appearance, sexual history,

                  whether her partner satisfied her, whether she experienced orgasms and the use of

                  pornography. ROBERT HADDEN’s approach to grooming was a mix of being awkward,

                  authoritative, self-deprecating, disarming, self-pitying, alarming, and overtly offensive. On

                  multiple occasions ROBERT HADDEN made inappropriate, gratuitous remarks about JANE

                  DOE #9’s body and physical appearance, declaring several times: “You’re built like a Barbie

                  Doll with large breasts and a small waist”. ROBERT HADDEN’s obsession with JANE DOE

                  #9’s body and appearance included probing and medically irrelevant questions about where

                  she had her private area waxed. ROBERT HADDEN then proceed to follow up his abuse by

                  telling JANE DOE #9 -- who had absolutely no interest in knowing -- where several of

                  ROBERT HADDEN’s other patients went to have their waxing performed.

               23. While ROBERT HADDEN was actively and verbally breaking down JANE DOE #9’s

                  boundaries, he forced JANE DOE #9 to answer questions about the number of sexual

                  partners and sexual acts she had engaged in, whether or not her partner was able “satisfy

                  her”, and peppered her with a series of irrelevant and medically inappropriate questions for

                  long periods while ogling and groping her breasts and unclothed body. At every visit

                  ROBERT HADDEN required JANE DOE #9 to get completely naked - in his presence - as

                  he ogled and exploited her. A Chaperone was present in the room during some of the verbal

                  and physical assaults and witnessed ROBERT HADDEN’s verbal and physical sexual abuse

                  firsthand, yet did nothing to prevent or stop ROBERT HADDEN’s sexual exploitation and

                  abuse of Plaintiff JANE DOE #9. Other times, a Chaperone was not present - or would leave

                  the room before the “examination” was complete at which point ROBERT HADDEN would




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                  continue to physically sexually exploit and abuse JANE DOE #9. This included, but is not

                  limited to, performing serial, prolonged, and medically inappropriate breast examinations,

                  serial and medically-inappropriate PAP smears, vaginal exams, and medically inappropriate

                  and unwarranted “mole-checks” where ROBERT HADDEN would require JANE DOE #9 to

                  lay on the table unclothed while he rubbed his hands up and down her body, spread her

                  buttocks, groped her breasts, and examined her entire body and private areas. All the while,

                  ROBERT HADDEN would engage in idle chatter or begin divulging wholly improper and

                  inappropriate personal information about himself and family - all in furtherance of his never-

                  ending sexual exploitation and grooming of female patients. During the serial, and medically

                  non-indicated vaginal examinations that ROBERT HADDEN performed at practically every

                  single visit, ROBERT HADDEN would repeatedly penetrate JANE DOE #9 by inserting his

                  fingers into JANE DOE #9’s vagina in a rough and aggressive manner. This continued, and

                  was impossibly painful, to the point where JANE DOE #9 requested that someone else

                  conduct any future internal vaginal examinations that may have been needed.

               24. Following the birth of her son on September 9, 2009, ROBERT HADDEN was listed as the

                  physician in attendance. During the postpartum period, ROBERT HADDEN continued to

                  sexually exploit and abuse JANE DOE #9. During one of the postpartum office visit, while

                  JANE DOE #9’s breasts were engorged, ROBERT HADDEN insisted that a breast

                  examination was necessary. After making JANE DOE #9 remove her clothing, for no

                  legitimate medical purpose, ROBERT HADDEN proceeded to grope and cup JANE DOE

                  #9’s breasts. During this prolonged, and wholly medically unnecessary and unwarranted

                  “breast examination”, ROBERT HADDEN began to pinch, squeeze, and tug on JANE DOE

                  #9’s nipples so as to express breast milk while allowing it to run down her breasts. JANE




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                  DOE #9 has endured indescribable conflict, confusion, and mental injury due to her inability

                  to comprehend the reasons and level of depravity of the abuse inflicted upon her by

                  ROBERT HADDEN. Despite sharing these accounts with her husband back when they were

                  happening, she was met with the normal and customary responses received by the other

                  women mentioned herein which is a version of ‘he’s a doctor, I’m sure he wouldn’t risk his

                  career and license’.

               25. ROBERT HADDEN was well aware of the cognitive dissonance that his patients - who he

                  was sexually abusing - would experience with regard to their inability to come to grips with

                  the unfathomable idea that their own medical doctor was sexually exploiting and abusing

                  them. ROBERT HADDEN used this knowledge and medical training to his advantage while

                  leveraging his position of status and authority bestowed on him by COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

                  PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", to his advantage, and in

                  furtherance of his scheme to sexually abuse and exploit as many women as possible under

                  the guise of performing medical procedures. As a result, ROBERT HADDEN was enabled to

                  sexually abuse countless female patients of COLUMBIA UNIVERSITY and NEW YORK-

                  PRESBYTERIAN HOSPITAL, in a serial fashion, while carrying out his sick fantasies

                  surrounding doctor sexual abuse.

               26. These events are not isolated, and they were not done outside the knowledge and awareness

                  of his employers ("CORP. ENTITIES"). ROBERT HADDEN was known as “a shark” - who

                  knew how to outmaneuver chaperones, make quick hits at sexually abusing female patients,

                  and keep going - amongst the medical assistants and chaperones with whom he worked. At

                  least one nurse who worked with ROBERT HADDEN in 1992-1993 walked in on ROBERT




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                   HADDEN sexually abusing a female patient at defendant COLUMBIA UNIVERSITY’s

                   Audubon Clinic. However, when the nurse reported the abuse ROBERT HADDEN was

                   committing to her supervisor, the supervisor’s response was for her to just “keep quiet”,

                   “stay with your doctor” and “don’t let him get himself in trouble”. COLUMBIA

                   UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

                   PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", have created an environment that

                   was not only conducive to doctor sexual assaults, but actually enabled it. By failing to

                   properly educate, train, empower, and support the medical assistants and chaperones,

                   COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW

                   YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES" created an environment

                   where patients were duped into believing that there was someone in the examination room

                   who would keep them safe. But, in reality, the hidden imbalance of power that existed

                   between the chaperones and medical doctors - where the chaperones were afraid to speak-up

                   for fear of losing their jobs - had the practical effect of making doctor sexual abuse appear to

                   be legitimate medical care.

               27. For the sake of completeness, ROBERT HADDEN has pleaded guilty in Criminal Court to

                   sexually abusing two-other patients; one by licking her vagina during a purported vaginal

                   examination - which was during the second time that the patient stated that ROBERT

                   HADDEN had done it. The other is when ROBERT HADDEN pleaded guilty to sexually

                   abusing a separate female patient, who ROBERT HADDEN knew to be HIV positive, with

                   his ungloved hand.

               28. Finally, as a result of being listed as the physician in attendance at the September 2009 birth

                   of JANE DOE #9’s child, ROBERT HADDEN’s name is present on the original birth




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                  certificate of her son. Every time JANE DOE #9 registers her child for summer camp, or

                  sends him off to a new school, she is re-traumatized by the sight of this sick sexual

                  predator’s name on the birth certificate of her child. To date, Columbia University, New

                  York-Presbyterian Hospital, and their agents, partners, servants, and/or employees have

                  refused to issue either an apology, or a letter which will allow the removal of ROBERT

                  HADDEN’s name from her son’s birth certificate.

               29. Because Defendant "CORP. ENTITIES"’ Chaperones stood by, silently, as ROBERT

                  HADDEN sexually exploited and abused Plaintiff JANE DOE #9, JANE DOE #9 reasonably

                  believed that ROBERT HADDEN was conducting legitimate medical treatment while he

                  was ogling, groping, verbally assaulting, and physically abusing, violating, sexually abusing,

                  expressing breast milk for no medical purpose during the postpartum period, and penetrating

                  her, although she now knows that ROBERT HADDEN’s conduct was, in fact, sexual

                  exploitation and abuse. Despite the "CORP. ENTITIES"’ chaperones’ first-hand observation

                  of the abuse, and "CORP. ENTITIES" prior reports about ROBERT HADDEN’s sexual

                  misconduct, Defendant "CORP. ENTITIES" and their agents, partners, servants and

                  employees actively concealed the sexually exploitative behavior and abuse being perpetrated

                  by ROBERT HADDEN, as well as the complaints of HADDEN’s sexually exploitative

                  behavior and abuse, and inexplicably continued to allow ROBERT HADDEN to have

                  unfettered sexual access to COLUMBIA UNIVERSITY MEDICAL CENTER, NEW

                  YORK-PRESBYTERIAN HOSPITAL, and Defendant "CORP. ENTITIES"’ female patient

                  populations. Based on the words and conduct of each of the defendants, their agents,

                  servants, and/or employees, plaintiff was induced to not file a complaint earlier. Further,

                  plaintiff has been emotionally traumatized by the defendants’ conduct and abuse, and has




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                  lacked the capacity to deal with, and confront, the important legal issues and rights herein

                  until the present.

                                                     JANE DOE #10

               30. Plaintiff JANE DOE #10 was born in 1972, and currently resides in the State of Texas.

                  Plaintiff JANE DOE #10 was an OBGYN patient of defendants COLUMBIA UNIVERSITY,

                  THE NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN

                  MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL CENTER; COLUMBIA-

                  PRESBYTERIAN MEDICAL CENTER, EAST SIDE ASSOCIATES; EAST SIDE

                  ASSOCIATES; THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW

                  YORK; COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND SURGEONS;

                  PRESBYTERIAN         HOSPITAL      PHYSICIAN      SERVICES      ORGANIZATION,         INC.;

                  COLUMBIA-CORNELL            CARE,      LLC;     COLUMBIA        CORNELL        NETWORK

                  PHYSICIANS, INC. (Hereinafter “CORP. ENTITIES”) and their agent, servant, and/or

                  employee ROBERT HADDEN, during which time JANE DOE #10 was serially sexually

                  exploited and abused by ROBERT HADDEN — who was enabled by the acts and omissions

                  of the within named defendants and “CORP. ENTITIES”.

               31. Plaintiff JANE DOE #10 saw ROBERT HADDEN at “CORP. ENTITIES” medical facilities

                  between November 2010 and October; 2011, for what was supposed to be gynecologic and

                  obstetric care and treatment. Beginning with JANE DOE #10’s initial office visit, defendant

                  ROBERT HADDEN began subjecting her to a course of predatory grooming, boundary

                  violating, mental, emotional, and physical sexual exploitation and abuse. During the visits,

                  ROBERT HADDEN assailed JANE DOE #10 with a barrage of wily, inappropriate, invasive

                  and exploitive questions and statements about her body, and physical appearance, sexual




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                  history, whether her partner satisfied her, whether she experienced orgasms and the use of

                  pornography. ROBERT HADDEN’s approach to grooming was a mix of being awkward,

                  authoritative, self-deprecating, disarming, self-pitying, alarming, and overtly offensive. On

                  multiple occasions ROBERT HADDEN made inappropriate, gratuitous comments about

                  JANE DOE #10’s body and physical appearance, declaring several times she was “Fit” and

                  “Hot”, and that her husband had better “appreciate it”. ROBERT HADDEN’s grooming also

                  included telling JANE DOE #10 that he and other COLUMBIA doctors would discuss

                  “which [other] patients are ‘nannies’ and which are ‘moms’ based upon how hot they are”.

                  ROBERT HADDEN expressed his “shock” when he found out that JANE DOE #10 was in

                  the “mom” category because -- as he explained -- her pregnancy was not obvious until she

                  was in her 20th week.

               32. While ROBERT HADDEN was actively and verbally breaking down JANE DOE #10’s

                  boundaries, he forced JANE DOE #10 to answer questions about the number of sexual

                  partners and sexual acts she had engaged in, whether or not her partner was able “satisfy

                  her”, and peppered her with a series of irrelevant and medically inappropriate questions for

                  long periods while ogling and groping her breasts and unclothed body with his bare hands.

                  At every visit ROBERT HADDEN required JANE DOE to get completely naked - in his

                  presence - as he ogled and exploited her. A Chaperone was rarely, if ever, present in the room

                  during any of the verbal and physical assaults and committed by ROBERT HADDEN upon

                  JANE DOE #10. ROBERT HADDEN would take advantage of his position of power and

                  trust by sexually exploiting and abusing JANE DOE #10. This included, but is not limited to,

                  performing serial, prolonged, and medically inappropriate breast examinations, serial and

                  medically-inappropriate PAP smears and vaginal exams, all conducted with ungloved hands.




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                  All the while, ROBERT HADDEN would engage in idle chatter or begin divulging wholly

                  improper and inappropriate personal information about himself and family, and discussions

                  about his own daughter’s ballet dancing - all in furtherance of his never-ending sexual

                  exploitation and grooming of female patients during and after the “examinations” HADDEN

                  was performing.

               33. At one point around JANE DOE #10’s 32nd week of pregnancy, during a prenatal visit,

                  ROBERT HADDEN instructed JANE DOE #10 to get naked for another examination. After

                  exposing her breasts, ROBERT HADDEN began grabbing and squeezing her nipples with

                  his ungloved hands in a forceful manner while telling JANE DOE #10 that he needed to

                  “massage her breasts” in that fashion to get ready for the milk to come out. Due to the fact

                  that this was her first pregnancy, JANE DOE #10 had no way of knowing how incredibly

                  exploitative and abusive this was — aside from the really painful, rough and forceful nature

                  in which the “examinations” were being performed. Following every exploitative and

                  abusive encounter, ROBERT HADDEN would bring JANE DOE #10 into his office to

                  discuss his own daughter who he claimed was a “ballet dancer”.

               34. During the following prenatal visit, ROBERT HADDEN instructed JANE DOE #10 to again

                  get naked because she needed another “vaginal exam”. While in stirrups, pregnant, and

                  naked from the waist down, ROBERT HADDEN verbally told JANE DOE #10 that he was

                  performing a PAP smear but instead licked her vagina. ROBERT HADDEN then stated

                  “Everything tongues good, I mean, looks good”. Plaintiff JANE DOE #10 was mortified and

                  could not process what had just happened. She left and called her insurance carrier to

                  inquire about switching medical care providers but was informed that she could not switch

                  obstetricians in the middle of a pregnancy. JANE DOE #10 could just not process what was




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                  happening and proceeded to convince herself that the sexual assaults never actually

                  happened, that perhaps she was just mistaken, or her hormones or sensations were off

                  because of her pregnancy. Feeling that she had no other choice, she reluctantly continued

                  under the “care” of ROBERT HADDEN. At her next prenatal visit, ROBERT HADDEN,

                  under the guise of rendering “medical care and treatment”, once again, instructed JANE

                  DOE #10 to get naked because she needed another “vaginal exam”. Again, while in stirrups,

                  pregnant, and naked from the waist down, ROBERT HADDEN licked her vagina. Plaintiff

                  JANE DOE #10 was embarrassed, mortified made to feel guilt and shame that somehow she

                  was at fault for the actions of her abuser ROBERT HADDEN. JANE DOE #10 gave birth to

                  her child very soon after, and returned for her first postpartum care visit with her newborn in

                  tow, feeling that somehow the sight of the newborn infant would deter ROBERT HADDEN

                  from assaulting and sexually abusing her. During the postpartum visit, ROBERT HADDEN

                  advised JANE DOE #10 that she needed a postpartum “vaginal exam”. With her newborn

                  baby in the room, while pretending to perform the medically unnecessary and unwarranted

                  “vaginal examination”, ROBERT HADDEN again put his tongue to JANE DOE #10’s

                  vagina, this time in the presence of her child. JANE DOE #10 never returned to HADDEN

                  after the third sexual assault on her person.

               35. ROBERT HADDEN was well aware of the cognitive dissonance that his patients - who he

                  was sexually abusing - would experience with regard to their inability to come to grips with

                  the unfathomable thought that their own medical doctor was sexually exploiting and abusing

                  them. ROBERT HADDEN used this knowledge and medical training to his advantage while

                  leveraging his position of status and authority bestowed on him by COLUMBIA

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                  PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", to his advantage, and in

                  furtherance of his scheme to sexually abuse and exploit as many women as possible under

                  the guise of performing medical procedures. As a result, ROBERT HADDEN was enabled to

                  sexually abuse countless female patients of COLUMBIA UNIVERSITY and NEW YORK-

                  PRESBYTERIAN HOSPITAL, in a serial fashion, while carrying out his sick fantasies

                  surrounding doctor sexual abuse.

               36. These events are not isolated, and they were not done outside the knowledge and awareness

                  of his employers ("CORP. ENTITIES"). ROBERT HADDEN was known as “a shark” - who

                  knew how to outmaneuver chaperones, make quick hits at sexually abusing female patients,

                  and keep going - amongst the medical assistants and chaperones with whom he worked. At

                  least one nurse who worked with ROBERT HADDEN in 1992-1993 walked in on ROBERT

                  HADDEN sexually abusing a female patient at defendant COLUMBIA UNIVERSITY’s

                  Audubon’s Clinic. However, when the nurse reported the abuse ROBERT HADDEN was

                  committing to her supervisor, the supervisor’s response was for her to just “keep quiet”,

                  “stay with your doctor” and “don’t let him get in trouble”. COLUMBIA UNIVERSITY, THE

                  TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL,

                  and "CORP. ENTITIES", have created an environment that was not only conducive to doctor

                  sexual assaults, but actually enabled it. By failing to properly educate, train, empower, and

                  support the medical assistants and chaperones, COLUMBIA UNIVERSITY, THE

                  TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL,

                  and "CORP. ENTITIES" created an environment where patients were duped into believing

                  that there was a chaperone in the examination room who would keep them safe. But, in

                  reality, the hidden imbalance of power that exists between the chaperones and medical




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                  doctors - where nurses are afraid to speak-up for fear of losing their jobs, and leave the room

                  mid-examination - had the practical effect of making doctor sexual abuse appear to be

                  legitimate medical care.

               37. For the sake of completeness, ROBERT HADDEN has pleaded guilty in Criminal Court to

                  sexually abusing the two-other patients referenced above. One by licking her vagina during a

                  purported vaginal examination - which was during the second time that the patient stated that

                  ROBERT HADDEN had done it. The other is when ROBERT HADDEN pleaded guilty to

                  sexually abusing another female patient, who ROBERT HADDEN knew to be HIV positive,

                  with his ungloved hand.

               38. Because ROBERT HADDEN was licensed and had privileges with defendant COLUMBIA

                  UNIVERSITY MEDICAL CENTER, NEW YORK-PRESBYTERIAN HOSPITAL, and

                  "CORP. ENTITIES", JANE DOE #10 reasonably believed that ROBERT HADDEN was

                  conducting legitimate medical treatment while he was ogling, groping, verbally assaulting,

                  physically abusing, violating, sexually abusing, and penetrating her, although she now knows

                  that ROBERT HADDEN’s conduct was, in fact, sexual exploitation and abuse. Further,

                  defendant "CORP. ENTITIES" and their agents, partners, servants and employees actively

                  concealed the sexually exploitative behavior and abuse being perpetrated by ROBERT

                  HADDEN, as well as the complaints of HADDEN’s sexually exploitative behavior and

                  abuse, and inexplicably continued to allow ROBERT HADDEN to have unfettered sexual

                  access   to   COLUMBIA         UNIVERSITY        MEDICAL        CENTER,       NEW     YORK-

                  PRESBYTERIAN HOSPITAL, and Defendant "CORP. ENTITIES"’ female patient

                  populations. Based on the words and conduct of each of the defendants, their agents,

                  servants, and/or employees, plaintiff was induced to not file a complaint earlier. Further,




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                  plaintiff has been emotionally traumatized by the defendants’ conduct and abuse, and has

                  lacked the capacity to deal with, and confront, the important legal issues and rights herein

                  until the present.

                                                     JANE DOE #11

               39. Plaintiff JANE DOE #11 was born in 1972, and currently resides in the State of New York.

                  JANE DOE #11 was an OBGYN patient of defendants COLUMBIA UNIVERSITY, THE

                  NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN

                  MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL CENTER; COLUMBIA-

                  PRESBYTERIAN MEDICAL CENTER, EAST SIDE ASSOCIATES; EAST SIDE

                  ASSOCIATES; THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW

                  YORK; COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND SURGEONS;

                  PRESBYTERIAN         HOSPITAL      PHYSICIAN      SERVICES      ORGANIZATION,         INC.;

                  COLUMBIA-CORNELL            CARE,      LLC;     COLUMBIA        CORNELL        NETWORK

                  PHYSICIANS, INC. (Hereinafter “CORP. ENTITIES”) and their agent, servant, and/or

                  employee ROBERT HADDEN, during which time JANE DOE #11 was serially sexually

                  exploited and abused by ROBERT HADDEN — who was enabled by the acts and omissions

                  of the within named defendants and “CORP. ENTITIES”.

               40. Plaintiff JANE DOE #11 saw ROBERT HADDEN at “CORP. ENTITIES” medical facilities

                  between November 2006, and July 2010 for what was supposed to be obstetrical and

                  gynecological care and treatment. Beginning with JANE DOE #11’s initial office visit,

                  defendant ROBERT HADDEN began subjecting her to a course of predatory grooming,

                  boundary violating, mental, emotional, and physical sexual exploitation and abuse. During

                  the visits, ROBERT HADDEN assailed JANE DOE #11 with a barrage of wily,




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                  inappropriate, invasive and exploitive questions and statements about her body, ethnicity and

                  physical appearance. ROBERT HADDEN’s approach to grooming was a mix of being

                  awkward, authoritative, self-deprecating, disarming, self-pitying, alarming, and overtly

                  offensive.

               41. While ROBERT HADDEN was actively and verbally breaking down JANE DOE #11’s

                  boundaries, he subjected JANE DOE #11 to medically inappropriate questions for long

                  periods while ogling and groping her, and performing non-medically indicated physical

                  examinations. JANE DOE #11 is a survivor of childhood sexual abuse. And the sexual

                  exploitation and abuse that ROBERT HADDEN subjected her to as an adult has had, and

                  continues to have, a profoundly negative impact on her life and mental health. Further, JANE

                  DOE #11 has been subjected to extreme distress on account of the fact that COLUMBIA

                  UNIVERSITY MEDICAL CENTER, THE TRUSTEES OF COLUMBIA UNIVERSITY,

                  NEW YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES" employed - and are

                  now going to great lengths to protect - a deviant sexual predator like ROBERT HADDEN. At

                  the same time, the "CORP. ENTITIES" have done nothing to support and protect the

                  countless women who ROBERT HADDEN sexually exploited and abused. The failure of

                  defendants COLUMBIA and NY-PRESBYTERIAN HOSPITAL to take any action against

                  ROBERT HADDEN, and their failure to support each of the women that ROBERT

                  HADDEN has sexually exploited and abused, continues to cause JANE DOE #11 to feel

                  marginalized, trivialized, and re-traumatized all over again. The sexual abuse and

                  exploitation committed by ROBERT HADDEN, and enabled by "CORP. ENTITIES"

                  including COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,

                  and NEW YORK PRESBYTERIAN HOSPITAL, re-traumatized JANE DOE #11 who is a




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                  survivor of childhood sexual abuse - and continues to re-traumatize her to this date knowing

                  that ROBERT HADDEN has still not been brought to justice, nor have the "CORP.

                  ENTITIES" taken responsibility for enabling the abuse to occur for over 20-years at their

                  facilities.

               42. Because Defendant "CORP. ENTITIES"’ Chaperones stood by, silently, as ROBERT

                  HADDEN sexually exploited and abused Plaintiff JANE DOE #11, JANE DOE #11

                  reasonably believed that ROBERT HADDEN was conducting legitimate medical treatment

                  while he was ogling, groping, verbally assaulting, and physically abusing, violating, sexually

                  abusing, and penetrating her, although she now knows that ROBERT HADDEN’s conduct

                  was, in fact, sexual exploitation and abuse. Despite the "CORP. ENTITIES"’ chaperones’

                  first-hand observation of the abuse, and "CORP. ENTITIES" prior reports about ROBERT

                  HADDEN’s sexual misconduct, Defendant "CORP. ENTITIES" and their agents, partners,

                  servants and employees actively concealed the sexually exploitative behavior and abuse

                  being perpetrated by ROBERT HADDEN, as well as the complaints of HADDEN’s sexually

                  exploitative behavior and abuse, and inexplicably continued to allow ROBERT HADDEN to

                  have unfettered sexual access to COLUMBIA UNIVERSITY MEDICAL CENTER, NEW

                  YORK-PRESBYTERIAN HOSPITAL, and Defendant "CORP. ENTITIES"’ female patient

                  populations. Based on the words and conduct of each of the defendants, their agents,

                  servants, and/or employees, plaintiff was induced to not file a complaint earlier. Further,

                  plaintiff has been emotionally traumatized by the defendants’ conduct and abuse, and has

                  lacked the capacity to deal with, and confront, the important legal issues and rights herein

                  until the present.




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               43. Finally, as a result of being listed as the physician in attendance at the birth her son,

                  ROBERT HADDEN’s name is present on JANE DOE #11’s child’s original birth certificate.

                  Every time JANE DOE #11 registers her child for summer camp, or sends him off to a new

                  school, she is re-traumatized by the sight of this sick sexual predator’s name on the birth

                  certificate of her child. To date, Columbia University, New York-Presbyterian Hospital, and

                  their agents, partners, servants, and/or employees have refused to issue either an apology, or

                  a letter which will allow the removal of ROBERT HADDEN’s name from her child’s birth

                  certificate. The sexual abuse and exploitation committed by ROBERT HADDEN, and

                  enabled by "CORP. ENTITIES" including COLUMBIA UNIVERSITY, THE TRUSTEES

                  OF COLUMBIA UNIVERSITY, and NEW YORK PRESBYTERIAN HOSPITAL, re-

                  traumatized JANE DOE #11 who is a survivor of childhood sexual abuse - and continues to

                  re-traumatize her to this date knowing that ROBERT HADDEN has still not been brought to

                  justice, nor have the "CORP. ENTITIES" taken responsibility for enabling the abuse to occur

                  for over 20-years at their facilities.

                                                           JANE DOE #12

               44. Plaintiff JANE DOE #12 was born in 1974, and currently resides in the State of New York.

                  Plaintiff JANE DOE #12 was an OBGYN patient of defendants COLUMBIA UNIVERSITY,

                  THE NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN

                  MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL CENTER; COLUMBIA-

                  PRESBYTERIAN MEDICAL CENTER, EAST SIDE ASSOCIATES; EAST SIDE

                  ASSOCIATES; THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW

                  YORK; COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND SURGEONS;

                  PRESBYTERIAN           HOSPITAL          PHYSICIAN   SERVICES     ORGANIZATION,         INC.;




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                  COLUMBIA-CORNELL             CARE,     LLC;     COLUMBIA         CORNELL        NETWORK

                  PHYSICIANS, INC. (Hereinafter “CORP. ENTITIES”) and their agent, servant, and/or

                  employee ROBERT HADDEN, during which time JANE DOE #12 was serially sexually

                  exploited and abused by ROBERT HADDEN — who was enabled by the acts and omissions

                  of the within named defendants and “CORP. ENTITIES”.

               45. Plaintiff JANE DOE #12 saw ROBERT HADDEN at “CORP. ENTITIES” medical facilities

                  between May 2012 and August 2012 for what was supposed to be obstetric care and

                  treatment. Beginning with JANE DOE #12’s initial office visit, defendant ROBERT

                  HADDEN began subjecting her to a course of predatory grooming, boundary violating,

                  mental, emotional, and physical sexual exploitation and abuse. During the visits, ROBERT

                  HADDEN assailed JANE DOE #12 with a barrage of wily, inappropriate, invasive and

                  exploitive questions and statements about her body, and physical appearance, and sexual

                  history. ROBERT HADDEN’s approach to grooming was a mix of being awkward,

                  authoritative, self-deprecating, disarming, self-pitying, alarming, and overtly offensive. On

                  multiple occasions ROBERT HADDEN made inappropriate, gratuitous remarks about JANE

                  DOE #12’s body and physical appearance, declaring “You’ll be back in a bikini by summer”.

               46. While ROBERT HADDEN was actively and verbally breaking down JANE DOE #12’s

                  boundaries, he subjected JANE DOE #12 to inappropriate and idle questions for long periods

                  while ogling and groping her body. During the visits, Hadden would require JANE DOE #12

                  to undress - during every office visit - so that he could perform what was ultimately a

                  medically unnecessary, unwarranted, and non-indicated pelvic examination - all while JANE

                  DOE #12 was pregnant with her unborn child. During these “examinations” ROBERT

                  HADDEN would lubricate his hands, as well as JANE DOE #12’s vagina. During the




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                  application of the lubricant ROBERT HADDEN would routinely stroke JANE DOE #12’s

                  clitoris for no purpose other than to feed ROBERT HADDEN’s own sick desires of being

                  able to sexually exploit and abuse as many female patients as possible. After a period of

                  externally stroking JANE DOE #12’s vagina, ROBERT HADDEN would then proceed to

                  penetrate her vagina with his ungloved fingers in furtherance of his scheme to feed his own

                  deviant sexual desires.

               47. As ROBERT HADDEN was sexually violating and exploiting JANE DOE #12, he also

                  would continue to verbally groom her with irrelevant and inappropriate disclosures about his

                  personal life and his son who was disabled. As ROBERT HADDEN was confiding in JANE

                  DOE #12 his secrets surrounding his own family and personal struggles, he was — in reality

                  — engaging in high-level grooming wherein his true objective was to trigger as much

                  compassion and sympathy as possible from JANE DOE #12 (as he did with the countless

                  other patients who he groomed over the course of two-decades) which allowed him to

                  commit further acts of sexual exploitation and abuse upon his wholly unsuspecting patients.

               48. ROBERT HADDEN was well aware of the cognitive dissonance that his patients - who he

                  was actively exploiting and sexually abusing - would experience with regard to their inability

                  to come to grips with the idea that their own medical doctor was sexually exploiting and

                  abusing them. Plaintiff JANE DOE #12 is an attorney who is licensed to practice in the State

                  of New York. However, ROBERT HADDEN used all of his knowledge and medical training

                  to create the illusion of “medical care” — while leveraging the position of status and

                  authority bestowed on him by COLUMBIA UNIVERSITY, THE TRUSTEES OF

                  COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL, and "CORP.




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                  ENTITIES" — in furtherance of his scheme to sexually abuse and exploit JANE DOE #12

                  and as many other women as possible under the guise of “medical care”.

               49. These events are not isolated, and they were not done outside the knowledge and awareness

                  of his employers ("CORP. ENTITIES"). ROBERT HADDEN was known as “a shark” - who

                  knew how to outmaneuver chaperones, make quick hits at sexually abusing female patients,

                  and keep going - amongst the medical assistants and chaperones with whom he worked. At

                  least one nurse who worked with ROBERT HADDEN in 1992-1993 walked in on ROBERT

                  HADDEN sexually abusing a female patient at defendant COLUMBIA UNIVERSITY’s

                  Audubon Clinic. However, when the nurse reported the abuse ROBERT HADDEN was

                  committing to her supervisor, the supervisor’s response was for her to just “keep quiet” and

                  “stay with your doctor”. COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                  UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", have

                  created an environment that was not only conducive to committing doctor sexual assaults,

                  but actually enabled it. By failing to properly educate, train, empower, and support the

                  medical assistants and chaperones, COLUMBIA UNIVERSITY, THE TRUSTEES OF

                  COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL, and "CORP.

                  ENTITIES" created an environment where patients were duped into believing that there was

                  a medical chaperone in the examination room who would keep them safe. But, in reality, the

                  hidden imbalance of power that exists between the chaperones and medical doctors - where

                  nurses are afraid to speak-up for fear of losing their jobs - has the practical effect of making

                  doctor sexual abuse appear to be legitimate medical care.

               50. For the sake of completeness, ROBERT HADDEN has pleaded guilty in Criminal Court to

                  sexually abusing both of the two-other patients referenced above. One by licking her vagina




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                  during a purported vaginal examination - which was during the second time that the patient

                  stated that ROBERT HADDEN had done it. The other is when ROBERT HADDEN pleaded

                  guilty to sexually abusing another female patient, who ROBERT HADDEN knew to be HIV

                  positive, with his ungloved hand.

               51. When ROBERT HADDEN stopped attending to patients in the middle of JANE DOE #12’s

                  pregnancy in 2012, the defendant "CORP. ENTITIES" and their staff embarked upon a

                  course of actual fraud and deceit by telling patients -- including JANE DOE #12 -- and the

                  public at large, that ROBERT HADDEN was out on “sick” leave. Defendant "CORP.

                  ENTITIES"’ active fraud is not only deplorable, it creates estoppel which prohibits them

                  from trying to assert any kind of time limitation as a defense. As time passed, defendants’

                  story about ROBERT HADDEN’s absence kept changing. JANE DOE #12 was later told she

                  needed to “switch” doctors one-month prior to delivering her child - because ROBERT

                  HADDEN was not returning from “sick leave”. To date, the truth about ROBERT HADDEN

                  being a “convicted sexual felon” has not been divulged by COLUMBIA UNIVERSITY

                  MEDICAL CENTER, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

                  PRESBYTERIAN HOSPITAL and "CORP. ENTITIES". To date, Columbia University, New

                  York-Presbyterian Hospital, and their agents, partners, servants, and/or employees have

                  refused to issue an apology, let alone take responsibility, for enabling ROBERT HADDEN to

                  commit serial sexual assaults upon the premises of COLUMBIA UNIVERSITY MEDICAL

                  CENTER, NEW YORK PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES" over the

                  course of two-decades from 1992 through 2012. Based on the words and conduct of each of

                  the defendants, their agents, servants, and/or employees, plaintiff was induced to not file a

                  complaint earlier. Further, plaintiff has been emotionally traumatized by the defendants’




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                  conduct and abuse, and has lacked the capacity to deal with, and confront, the important

                  legal issues and rights herein until the present.

               52. Because Defendant "CORP. ENTITIES"’ agents, servants, and/or employees actively, and

                  knowingly, lied to patients about the abuse committed by ROBERT HADDEN, and because

                  the Chaperones stood by, silently, as ROBERT HADDEN sexually exploited and abused

                  Plaintiff JANE DOE #12, JANE DOE #12 reasonably believed that ROBERT HADDEN

                  was conducting legitimate medical treatment while he was ogling, groping, verbally

                  assaulting, and physically abusing, violating, sexually abusing, and penetrating her, although

                  she now knows that ROBERT HADDEN’s conduct was, in fact, sexual exploitation and

                  abuse. Despite the "CORP. ENTITIES"’ chaperones’ first-hand observation of the abuse, and

                  "CORP. ENTITIES" prior reports about ROBERT HADDEN’s sexual misconduct,

                  Defendant "CORP. ENTITIES" and their agents, partners, servants and employees actively

                  concealed the sexually exploitative behavior and abuse being perpetrated by ROBERT

                  HADDEN, as well as the complaints of HADDEN’s sexually exploitative behavior and

                  abuse, and inexplicably continued to allow ROBERT HADDEN to have unfettered sexual

                  access    to   COLUMBIA         UNIVERSITY          MEDICAL    CENTER,       NEW      YORK-

                  PRESBYTERIAN HOSPITAL, and Defendant "CORP. ENTITIES"’ female patient

                  populations. Based on the words and conduct of each of the defendants, their agents,

                  servants, and/or employees, plaintiff was induced to not file a complaint earlier. Further,

                  plaintiff has been emotionally traumatized by the defendants’ conduct and abuse, and has

                  lacked the capacity to deal with, and confront, the important legal issues and rights herein

                  until the present.




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                                                     JANE DOE #13

               53. Plaintiff JANE DOE #13 was born in 1984, and currently resides in the State of New York.

                  Plaintiff JANE DOE #13 was an OBGYN patient of defendants COLUMBIA UNIVERSITY,

                  THE NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN

                  MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL CENTER; COLUMBIA-

                  PRESBYTERIAN MEDICAL CENTER, EAST SIDE ASSOCIATES; EAST SIDE

                  ASSOCIATES; THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW

                  YORK; COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND SURGEONS;

                  PRESBYTERIAN        HOSPITAL       PHYSICIAN      SERVICES      ORGANIZATION,         INC.;

                  COLUMBIA-CORNELL            CARE,      LLC;     COLUMBIA        CORNELL        NETWORK

                  PHYSICIANS, INC., the AUDUBON CLINIC (Hereinafter “CORP. ENTITIES”) and their

                  agent, servant, and/or employee ROBERT HADDEN, during which time JANE DOE #13

                  was serially sexually exploited and abused by ROBERT HADDEN — who was enabled by

                  the acts and omissions of the within named defendants and “CORP. ENTITIES”.

               54. Plaintiff JANE DOE #13 saw ROBERT HADDEN at “CORP. ENTITIES” medical facilities

                  between 2003 and 2004 for what was supposed to be gynecological and obstetrical care and

                  treatment. Beginning with JANE DOE #13’s initial office visit, defendant ROBERT

                  HADDEN began subjecting her to a course of predatory grooming, boundary violating,

                  mental, emotional, and physical sexual exploitation and abuse. During the visits, ROBERT

                  HADDEN assailed JANE DOE #13 with a barrage of wily, inappropriate, invasive and

                  exploitive questions and statements about her body, and physical appearance, sexual history,

                  her partner and specific sexual acts she engaged in, whether she experienced orgasms and the

                  use of pornography. ROBERT HADDEN’s approach to grooming was a mix of being




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                  awkward, authoritative, self-deprecating, disarming, self-pitying, alarming, and overtly

                  offensive. On multiple occasions ROBERT HADDEN made inappropriate, gratuitous

                  remarks about JANE DOE #13’s body and physical appearance.

               55. While ROBERT HADDEN was actively and verbally breaking down JANE DOE #13’s

                  boundaries, he forced JANE DOE #13 to answer questions about the number of sexual

                  partners and sexual acts she engaged in, whether she and her partner enjoyed pornography,

                  and peppered her with a series of irrelevant and medically inappropriate questions for long

                  periods while ogling and groping her breasts and unclothed body. At every visit ROBERT

                  HADDEN required JANE DOE #13 to get naked as he ogled and exploited her.

               56. A Chaperone was present in the room during some of the verbal and physical assaults and

                  witnessed ROBERT HADDEN’s verbal and physical sexual abuse firsthand, yet did nothing

                  to prevent, or stop, ROBERT HADDEN’s sexual exploitation and abuse of Plaintiff JANE

                  DOE #13. Other times, a Chaperone was not present - or would leave the room before the

                  “examination” was complete at which point ROBERT HADDEN would continue to

                  physically sexually exploit and abuse JANE DOE #13. This included, but is not limited to,

                  performing serial, prolonged, and medically inappropriate breast examinations, serial and

                  medically-inappropriate PAP smears, vaginal exams,          and medically inappropriate,

                  unwarranted and unnecessary “mole-checks” where ROBERT HADDEN would require

                  JANE DOE #13 to either lay on the table unclothed while he rubbed his hands up and down

                  her body, or bend over the table while her spread her buttocks, groped her breasts, and

                  examined her entire body and private areas. ROBERT HADDEN would repeatedly tell

                  JANE DOE #13 that her PAP smears were abnormal which he used as a pretext to then do

                  additional, unnecessary, unwarranted and non-medically indicated testing and vaginal




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                  examinations at each visit. To that end, HADDEN would knowingly and intentionally exploit

                  the fact that JANE DOE #13 had HPV as a way to justify his need to chronically examine,

                  leer at and penetrate, her vagina. All the while, ROBERT HADDEN would engage in idle

                  chatter or begin divulging wholly improper and inappropriate personal information about

                  himself and family - all in furtherance of his never-ending sexual exploitation and grooming

                  of female patients. During the serial, unnecessary, unwarranted and medically non-indicated

                  vaginal examinations that ROBERT HADDEN performed at practically every single visit,

                  ROBERT HADDEN would repeatedly penetrate JANE DOE #13 by inserting his fingers into

                  JANE DOE #13’s vagina in a deviant sexual manner - often with his ungloved hands.

               57. ROBERT HADDEN was well aware of the cognitive dissonance that his patients - who he

                  was sexually abusing - would experience with regard to their inability to come to grips with

                  the idea that their own medical doctor was sexually exploiting and abusing them. ROBERT

                  HADDEN used this knowledge and medical training to his advantage while leveraging his

                  position of status and authority bestowed on him by COLUMBIA UNIVERSITY, THE

                  TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL,

                  and "CORP. ENTITIES", to his advantage, and in furtherance of his scheme to sexually

                  abuse and exploit as many women as possible under the guise of performing medical

                  procedures. As a result, ROBERT HADDEN was enabled to sexually abuse countless female

                  patients of COLUMBIA UNIVERSITY and NEW YORK-PRESBYTERIAN HOSPITAL, in

                  a serial fashion, while carrying out his sick fantasies surrounding doctor sexual abuse.

               58. These events are not isolated, and they were not done outside the knowledge and awareness

                  of his employers ("CORP. ENTITIES"). ROBERT HADDEN was known as “a shark” - who

                  knew how to out maneuver chaperones, make quick hits at sexually abusing female patients,




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                  and keep going - amongst the medical assistants and chaperones with whom he worked. At

                  least one nurse who worked with ROBERT HADDEN in 1992-1993 walked in on ROBERT

                  HADDEN sexually abusing a female patient at defendant COLUMBIA UNIVERSITY’s

                  Audubon Clinic. But when the nurse reported the abuse ROBERT HADDEN was

                  committing to her supervisor, the supervisor’s response was for her to just “keep quiet”,

                  “stay with your doctor” and “don’t let him get himself in trouble”. COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

                  PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", have created an environment that

                  was not only conducive to doctor sexual assault, but actually enabled it. By failing to

                  properly educate, train, empower, and support the medical assistants and chaperones,

                  COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW

                  YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES" created an environment

                  where patients were duped into believing that there would be someone in the examination

                  rooms who would keep them safe. But, in reality, the hidden imbalance of power that exists

                  between the chaperones and medical doctors - where nurses are afraid to speak-up for fear of

                  losing their jobs - had the practical effect of making doctor sexual abuse appear to be

                  legitimate medical care.

               59. For the sake of completeness, ROBERT HADDEN has pleaded guilty in Criminal Court to

                  sexually abusing the two-other patients referenced above. One by licking her vagina during a

                  purported vaginal examination - which was during the second time that the patient stated that

                  ROBERT HADDEN had done it. The other is when ROBERT HADDEN pleaded guilty to

                  sexually abusing another female patient, who ROBERT HADDEN knew to be HIV positive,

                  with his ungloved hand.




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               60. Because Defendant "CORP. ENTITIES"’ Chaperones stood by, silently, as ROBERT

                  HADDEN sexually exploited and abused Plaintiff JANE DOE #13, JANE DOE #13

                  reasonably believed that ROBERT HADDEN was conducting legitimate medical treatment

                  while he was ogling, groping, verbally assaulting, and physically abusing, violating, sexually

                  abusing, and penetrating her, although she now knows that ROBERT HADDEN’s conduct

                  was, in fact, sexual exploitation and abuse. Despite the "CORP. ENTITIES"’ chaperones’

                  first-hand observation of the abuse, and "CORP. ENTITIES" prior reports about ROBERT

                  HADDEN’s sexual misconduct, Defendant "CORP. ENTITIES" and their agents, partners,

                  servants and employees actively concealed the sexually exploitative behavior and abuse

                  being perpetrated by ROBERT HADDEN, as well as the complaints of HADDEN’s sexually

                  exploitative behavior and abuse, and inexplicably continued to allow ROBERT HADDEN to

                  have unfettered sexual access to COLUMBIA UNIVERSITY MEDICAL CENTER, NEW

                  YORK-PRESBYTERIAN HOSPITAL, and Defendant "CORP. ENTITIES"’ female patient

                  populations. Based on the words and conduct of each of the defendants, their agents,

                  servants, and/or employees, plaintiff was induced to not file a complaint earlier. Further,

                  plaintiff has been emotionally traumatized by the defendants’ conduct and abuse, and has

                  lacked the capacity to deal with, and confront, the important legal issues and rights herein

                  until the present.

               61. ROBERT HADDEN may be listed as the physician in attendance at the birth of JANE DOE

                  #13’s child, in 2004. To the extent this is correct, a letter allowing the removal of ROBERT

                  HADDEN’s name from her son’s birth certificate is demanded.

               62. Finally, plaintiffs have a good-faith reason to reason to believe COLUMBIA UNIVERSITY,

                  THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN




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                  HOSPITAL, and defendant "CORP. ENTITIES" have colluded with ROBERT HADDEN in

                  order to enable and permit ROBERT HADDEN to apply, and become approved, for certain

                  “disability benefits” that enable ROBERT HADDEN to continue to receive financial support

                  and enjoy what may otherwise be considered an “early retirement”. Defendants’ collective

                  complicity - and active fraud - in actively helping ROBERT HADDEN to support himself

                  financially after sexually, and feloniously, abusing countless female patients over the course

                  of two-decades is worthy of federal criminal prosecution, and intense public scrutiny.

                                                      JANE DOE #14

               63. Plaintiff JANE DOE #14 was born in 1973, and currently resides in the State of New York.

                  Plaintiff JANE DOE #14 became an OBGYN patient of defendants COLUMBIA

                  UNIVERSITY, THE NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA

                  PRESBYTERIAN         MEDICAL       CENTER;      COLUMBIA         UNIVERSITY       MEDICAL

                  CENTER;      COLUMBIA-PRESBYTERIAN                MEDICAL        CENTER,      EAST       SIDE

                  ASSOCIATES; EAST SIDE ASSOCIATES; THE TRUSTEES OF COLUMBIA

                  UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA UNIVERSITY COLLEGE

                  OF PHYSICIANS AND SURGEONS; PRESBYTERIAN HOSPITAL PHYSICIAN

                  SERVICES ORGANIZATION, INC.; COLUMBIA-CORNELL CARE, LLC; COLUMBIA

                  CORNELL NETWORK PHYSICIANS, INC., the AUDUBON CLINIC (Hereinafter

                  “CORP. ENTITIES”) and their agent, servant, and/or employee ROBERT HADDEN, during

                  which time JANE DOE #14 was serially sexually exploited and abused by ROBERT

                  HADDEN — who was enabled by the acts and omissions of the within named defendants

                  and “CORP. ENTITIES”.




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               64. Plaintiff JANE DOE #14 saw ROBERT HADDEN at “CORP. ENTITIES” medical facilities

                  between May 1998 and November 2010 for what was supposed to be gynecological and

                  obstetrical care and treatment. Beginning with JANE DOE #14’s initial office visit,

                  defendant ROBERT HADDEN began subjecting her to a course of predatory grooming,

                  boundary violating, mental, emotional, and physical sexual exploitation and abuse. During

                  the visits, ROBERT HADDEN assailed JANE DOE #14 with a barrage of wily,

                  inappropriate, invasive and exploitive questions and statements about her body, and physical

                  appearance, and sexual history. ROBERT HADDEN’s approach to grooming was a mix of

                  being awkward, authoritative, self-deprecating, disarming, self-pitying, alarming, and overtly

                  offensive. On multiple occasions ROBERT HADDEN made inappropriate, gratuitous

                  remarks about JANE DOE #14’s body and physical appearance.

               65. While ROBERT HADDEN was actively and verbally breaking down JANE DOE #14’s

                  boundaries, he engaged JANE DOE #14 in idle chatter about medically irrelevant issues and

                  peppered her with a series of irrelevant and medically inappropriate questions for long

                  periods while ogling and groping her breasts and unclothed body. At every visit ROBERT

                  HADDEN required JANE DOE #14 to get naked as he ogled and exploited her. On two

                  occasions, with her top off, ROBERT HADDEN made completely inappropriate comments

                  about JANE DOE #14 breasts and apologized for his distasteful, unprofessional and

                  gratuitous remark on one of those occasions.

               66. A Chaperone was present in the room during some of the verbal and physical assaults and

                  witnessed ROBERT HADDEN’s verbal and physical sexual abuse firsthand, yet did nothing

                  to prevent, or stop, ROBERT HADDEN’s sexual exploitation and abuse of Plaintiff JANE

                  DOE #14. Other times, a Chaperone was not present - or would leave the room before the




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                  “examination” was complete at which point ROBERT HADDEN would continue to

                  physically sexually exploit and abuse JANE DOE #14. This included, but is not limited to,

                  performing serial, prolonged, and medically inappropriate breast examinations, and serial

                  and medically-inappropriate PAP smears and vaginal examinations. During the unnecessary

                  and non-indicated vaginal exams ROBERT HADDEN would penetrate JANE DOE #14’s

                  vagina with multiple fingers in a non-medical way, for non-medical purposes. ROBERT

                  HADDEN would also digitally penetrate JANE DOE #14’s anus, again for no medical

                  purpose. All the while, ROBERT HADDEN would engage in idle chatter or begin divulging

                  wholly improper and inappropriate personal information about himself and family - all in

                  furtherance of his never-ending sexual exploitation and grooming of female patients. During

                  the serial, and medically non-indicated vaginal examinations that ROBERT HADDEN

                  performed at practically every single visit, ROBERT HADDEN would repeatedly penetrate

                  JANE DOE #14 by inserting his fingers into JANE DOE #14’s vagina, and at times anus, in

                  a deviant sexual manner.

               67. During every office visit, ROBERT HADDEN insisted that a breast examination was

                  necessary. After making JANE DOE #14 remove her clothing, for no legitimate medical

                  purpose, ROBERT HADDEN proceeded to grope and cup JANE DOE #14’s breasts. During

                  these prolonged, and wholly medically unnecessary “breast examinations”, ROBERT

                  HADDEN would to pinch and squeeze JANE DOE #14’s nipples. JANE DOE #14 has

                  endured indescribable conflict, confusion, and mental injury due to her inability to

                  comprehend the reasons and level of depravity of the abuse inflicted upon her by ROBERT

                  HADDEN.




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               68. ROBERT HADDEN was well aware of the cognitive dissonance that his patients - who he

                   was sexually abusing - would experience with regard to their inability to come to grips with

                   the idea that their own medical doctor was sexually exploiting and abusing them. ROBERT

                   HADDEN used this knowledge and medical training to his advantage while leveraging his

                   position of status and authority bestowed on him by COLUMBIA UNIVERSITY, THE

                   TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL,

                   and "CORP. ENTITIES", to his advantage, and in furtherance of his scheme to sexually

                   abuse and exploit as many women as possible under the guise of performing medical

                   procedures. As a result, ROBERT HADDEN was enabled to sexually abuse countless female

                   patients of COLUMBIA UNIVERSITY and NEW YORK-PRESBYTERIAN HOSPITAL, in

                   a serial fashion, while carrying out his sick fantasies surrounding doctor sexual abuse.

               69. As if that were not enough, during her final appointment, Hadden pretended to be performing

                   some kind of vaginal examination. After touching her vagina with his ungloved hand, and

                   while ducking down under the cloth draped over JANE DOE #14’s legs, and while her view

                   was obstructed, ROBERT HADDEN proceeded to touch his tongue to plaintiff JANE DOE

                   #14’s vagina. JANE DOE #14 could not process what was happening and froze.

               70. JANE DOE #14 is a survivor of childhood sexual abuse. When ROBERT HADDEN placed

                   his tongue on her vagina, she was unable to comprehend how or why a medical doctor would

                   sexually abuse her in that manner. The memories of her childhood sexual abuse came

                   flooding back and she became mentally, and even physically, paralyzed. ROBERT

                   HADDEN, seeing only the surface of the emotional and physical trauma he had just inflicted

                   on JANE DOE #14 proceeded to say he was “sorry for making you uncomfortable”.

                   Following this sexual attack by ROBERT HADDEN, JANE DOE #14 was unable to subject




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                  herself to another gynecological visit for approximately two-years. In 2012, JANE DOE #14

                  finally found the courage to see another doctor, whose physical examination was unlike any

                  she had endured under ROBERT HADDEN. Years later, after discovering that ROBERT

                  HADDEN had been arrested for sexual assault, JANE DOE #14, worried of the oral contact

                  perpetrated upon her by HADDEN, sought testing to ensure that she had not been infected

                  with any STD’s or HIV, causing her tremendous fear, anxiety and distress.

               71. ROBERT HADDEN has serially sexually assaulted countless female patients of

                  COLUMBIA UNIVERSITY and NEW YORK-PRESBYTERIAN HOSPITAL while

                  carrying out his sick fantasies surrounding doctor sexual abuse. His depraved mind and

                  scheme to perform deviant and sexually exploitive acts upon women led to him acting out, in

                  a serial fashion, his fantasies of being able to touch his tongue to a patient’s vagina in the

                  guise of “medical care” and treatment - while trying to get away with it.

               72. These events are not isolated, and they were not done outside the knowledge and awareness

                  of his employers ("CORP. ENTITIES"). ROBERT HADDEN was known as “a shark” - who

                  knew how to outmaneuver chaperones, make quick hits at sexually abusing female patients,

                  and keep going - amongst the medical assistants and chaperones with whom he worked. At

                  least one nurse who worked with ROBERT HADDEN in 1992-1993 walked in on ROBERT

                  HADDEN sexually abusing a female patient at defendant COLUMBIA UNIVERSITY’s

                  Audubon Clinic. However, when the nurse reported the abuse ROBERT HADDEN was

                  committing to her supervisor, the supervisor’s response was for her to just “keep quiet”,

                  “stay with your doctor” and “don’t let him get himself into trouble”. COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

                  PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", have created an environment that




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                  was not only conducive to doctor sexual assaults, but actually enabled it. By failing to

                  properly educate, train, empower, and support the medical assistants and chaperones,

                  COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW

                  YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES" created an environment

                  where patients were duped into believing that there was a medical professional in the

                  examination room who would keep them safe. But, in reality, the hidden imbalance of power

                  that existed between the chaperones and medical doctors - where nurses were afraid to

                  speak-up for fear of losing their jobs - had the practical effect of making doctor sexual abuse

                  appear to be legitimate medical care.

               73. For sake of completeness, ROBERT HADDEN has pleaded guilty in Criminal Court to

                  sexually abusing two-other patients female patients referenced above. One by licking her

                  vagina during a purported vaginal examination - which was during the second time the

                  patient stated ROBERT HADDEN had done it. And the other is when ROBERT HADDEN

                  pleaded guilty to sexually abusing another female patient, who ROBERT HADDEN knew to

                  be HIV positive, with his ungloved hand.

               74. Because Defendant "CORP. ENTITIES"’ Chaperones stood by, silently, as ROBERT

                  HADDEN sexually exploited and abused Plaintiff JANE DOE #14, JANE DOE #14

                  reasonably believed that ROBERT HADDEN was conducting legitimate medical treatment

                  while he was ogling, groping, verbally assaulting, and physically abusing, violating, sexually

                  abusing, and penetrating her, although she now knows that ROBERT HADDEN’s conduct

                  was, in fact, sexual exploitation and abuse. Despite the "CORP. ENTITIES"’ chaperones’

                  first-hand observation of the abuse, and "CORP. ENTITIES" prior reports about ROBERT

                  HADDEN’s sexual misconduct, Defendant "CORP. ENTITIES" and their agents, partners,




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                  servants and employees actively concealed the sexually exploitative behavior and abuse

                  being perpetrated by ROBERT HADDEN, as well as the complaints of HADDEN’s sexually

                  exploitative behavior and abuse, and inexplicably continued to allow ROBERT HADDEN to

                  have unfettered sexual access to COLUMBIA UNIVERSITY MEDICAL CENTER, NEW

                  YORK-PRESBYTERIAN HOSPITAL, and Defendant "CORP. ENTITIES"’ female patient

                  populations. Based on the words and conduct of each of the defendants, their agents,

                  servants, and/or employees, plaintiff was induced to not file a complaint earlier. Further,

                  plaintiff has been emotionally traumatized by the defendants’ conduct and abuse, and has

                  lacked the capacity to deal with, and confront, the important legal issues and rights herein

                  until the present.

               75. Finally, plaintiffs have a good-faith reason to reason to believe COLUMBIA UNIVERSITY,

                  THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN

                  HOSPITAL, and defendant "CORP. ENTITIES" have colluded with ROBERT HADDEN in

                  order to enable and permit ROBERT HADDEN to apply, and become approved, for certain

                  “disability benefits” that enable ROBERT HADDEN to continue to receive financial support

                  and enjoy what may otherwise be considered an “early retirement”. Defendants’ collective

                  complicity - and active fraud - in actively helping ROBERT HADDEN to support himself

                  financially after sexually, and feloniously, abusing countless female patients over the course

                  of two-decades is worthy of federal criminal prosecution, and intense public scrutiny.

                  Further, it directly causes JANE DOE #14 to feel further marginalized and trivialized.

                                                      JANE DOE #15

               76. Plaintiff JANE DOE #15 was born in 1982, and currently resides in the State of Florida.

                  Plaintiff JANE DOE #15 became an gynecological patient of defendants COLUMBIA




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                  UNIVERSITY, THE NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA

                  PRESBYTERIAN         MEDICAL       CENTER;      COLUMBIA        UNIVERSITY        MEDICAL

                  CENTER;      COLUMBIA-PRESBYTERIAN                MEDICAL       CENTER,       EAST      SIDE

                  ASSOCIATES; EAST SIDE ASSOCIATES; THE TRUSTEES OF COLUMBIA

                  UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA UNIVERSITY COLLEGE

                  OF PHYSICIANS AND SURGEONS; PRESBYTERIAN HOSPITAL PHYSICIAN

                  SERVICES ORGANIZATION, INC.; COLUMBIA-CORNELL CARE, LLC; COLUMBIA

                  CORNELL NETWORK PHYSICIANS, INC., the AUDUBON CLINIC (Hereinafter

                  “CORP. ENTITIES”) and their agent, servant, and/or employee ROBERT HADDEN, during

                  which time JANE DOE #15 was serially sexually exploited and abused by ROBERT

                  HADDEN — who was enabled by the acts and omissions of the within named defendants

                  and “CORP. ENTITIES”.

               77. Plaintiff JANE DOE #15 saw ROBERT HADDEN at “CORP. ENTITIES” medical facilities

                  between 2002 and 2009, for what was supposed to be gynecologic care and treatment.

                  Beginning with JANE DOE #15’s initial office visit, defendant ROBERT HADDEN began

                  subjecting her to a course of predatory grooming, boundary violating, and mental, emotional,

                  and physical sexual exploitation and abuse. During the visits, ROBERT HADDEN assailed

                  JANE DOE #15 with a barrage of wily, inappropriate, invasive and exploitive questions and

                  statements about her body, physical appearance, pornography, whether her partner satisfied

                  her and detailed - and wholly medically irrelevant — questions and comments about the

                  performance of oral sex on men. ROBERT HADDEN’s approach to grooming was a mix of

                  being awkward, authoritative, self-deprecating, disarming, self-pitying, alarming, and overtly

                  offensive.




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               78. While ROBERT HADDEN was actively and verbally breaking down JANE DOE #15’s

                  boundaries, he engaged JANE DOE #15 in idle chatter about medically irrelevant issues and

                  peppered her with a series of irrelevant and medically inappropriate questions for long

                  periods while ogling and groping her breasts and unclothed body. At each visit ROBERT

                  HADDEN required JANE DOE #15 to get naked as he ogled and exploited her.

               79. A Chaperone was present in the room during some of the verbal and physical assaults and

                  witnessed ROBERT HADDEN’s verbal and physical sexual abuse firsthand, yet did nothing

                  to stop or prevent ROBERT HADDEN’s sexual exploitation and abuse of Plaintiff JANE

                  DOE #15. On most occasions a Chaperone was present at the beginning of the examination,

                  and would then leave the room before the “examination” was complete. After the chaperone

                  exited the room, the exploitation and abuse would continue with ROBERT HADDEN

                  proceeding to perform serial, prolonged, and medically inappropriate breast examinations,

                  and serial and medically-inappropriate PAP smears and vaginal examinations and medically

                  inappropriate “mole-checks” where ROBERT HADDEN would require JANE DOE #15 to

                  lay face-down on the examination table, unclothed, while he rubbed his hands up and down

                  her body, and spread her buttocks to “look for moles” in and around her anus.

               80. During the regular — and wholly unnecessary — serial “vaginal exams”, “breast exams”,

                  and “mole-checks” ROBERT HADDEN would perform on JANE DOE #15, ROBERT

                  HADDEN would penetrate JANE DOE #15’s vagina with his fingers in a non-medical way,

                  for non-medical purposes, and often without gloves on his hands. ROBERT HADDEN

                  would also digitally penetrate JANE DOE #15’s anus, again for no medical purpose. All the

                  while, ROBERT HADDEN would engage in idle chatter or begin divulging wholly improper




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                  and inappropriate personal information about himself and family - all in furtherance of his

                  never-ending sexual exploitation and grooming of female patients.

               81. At one office visit, ROBERT HADDEN instructed JANE DOE #15 to come into his office

                  where the lights were dimmed and closed the door. During this visit ROBERT HADDEN

                  told JANE DOE he was going to give her an HPV shot. This was JANE DOE #15’s third

                  HPV vaccination. This time however, ROBERT HADDEN instructed JANE DOE #15 to

                  pull her pants down and bend over his desk, so he could administer the shot into her

                  buttocks.   When JANE DOE #15 questioned this action, ROBERT HADDEN assured her

                  not to worry and told her to just do it.

               82. After the inappropriate HPV injection was placed into JANE DOE #15’s buttock, ROBERT

                  HADDEN told her to stand up, get completely naked, and then bend over and touch her toes

                  while he stood behind her to “check her spine”. All the while, ROBERT HADDEN was

                  continuing to groom JANE DOE #15 by engaging in irrelevant prater about his family and

                  son with special needs in his twisted effort to gain her confidence and present the image of

                  himself as a caring, “family man”.

               83. ROBERT HADDEN was well aware of the cognitive dissonance that his patients - who he

                  was sexually exploiting and abusing - would experience with regard to their inability to

                  come to grips with the idea that their own medical doctor was sexually exploiting and

                  abusing them. ROBERT HADDEN used this knowledge and medical training to his

                  advantage while leveraging his position of status and authority bestowed on him by

                  COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW

                  YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", to his advantage, and in

                  furtherance of his scheme to sexually abuse and exploit as many women as possible under




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                  the guise of performing medical procedures. As a result, ROBERT HADDEN was enabled to

                  sexually abuse countless female patients of COLUMBIA UNIVERSITY and NEW YORK-

                  PRESBYTERIAN HOSPITAL in a serial fashion. ROBERT HADDEN has serially sexually

                  abused countless female patients of COLUMBIA UNIVERSITY and NEW YORK-

                  PRESBYTERIAN HOSPITAL while carrying out his sick fantasies surrounding doctor

                  sexual abuse. His depraved mind and scheme to perform deviant and sexually exploitive acts

                  upon women led to him acting out, in a serial fashion, his fantasies of being able to touch his

                  tongue to his patients’ vaginas in the guise of “medical care” - while trying to get away with

                  it.

               84. These events are not isolated, and they were not done outside the knowledge and awareness

                  of his employers ("CORP. ENTITIES"). ROBERT HADDEN was known as “a shark” - who

                  knew how to outmaneuver chaperones, make quick hits at sexually abusing female patients,

                  and keep going - amongst the medical assistants and chaperones with whom he worked. At

                  least one nurse who worked with ROBERT HADDEN in 1992-1993 walked in on ROBERT

                  HADDEN sexually abusing a female patient at defendant COLUMBIA UNIVERSITY’s

                  Audubon Clinic. But when the nurse reported the abuse ROBERT HADDEN was

                  committing to her supervisor, the supervisor’s response was for her to just “keep quiet”,

                  “stay with your doctor” and “don’t let him get himself in trouble”. COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

                  PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", have created an environment that

                  was not only conducive to doctor sexual assault, but actually enabled it. By failing to

                  properly educate, train, empower, and support the medical assistants and chaperones,

                  COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW




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                  YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES" created an environment

                  where patients were duped into believing that there was someone in the examination room

                  who would keep them safe. But, in reality, the hidden imbalance of power that exists

                  between the chaperones and medical doctors - where nurses are afraid to speak-up for fear of

                  losing their jobs - has the practical effect of making doctor sexual abuse appear to be

                  legitimate medical care.

               85. For the sake of completeness, ROBERT HADDEN has pleaded guilty in Criminal Court to

                  sexually abusing both of the two-other patients referenced above. One by licking her vagina

                  during a purported vaginal examination - which was during the second time that the patient

                  stated that ROBERT HADDEN had done it. The other is when ROBERT HADDEN pleaded

                  guilty to sexually abusing another female patient, who ROBERT HADDEN knew to be HIV

                  positive, with his ungloved hand.

               86. Because Defendant "CORP. ENTITIES"’ Chaperones stood by, silently, as ROBERT

                  HADDEN sexually exploited and abused Plaintiff JANE DOE #15, JANE DOE #15

                  reasonably believed that ROBERT HADDEN was conducting legitimate medical treatment

                  while he was ogling, groping, verbally assaulting, and physically abusing, violating, sexually

                  abusing, and penetrating her, although she now knows that ROBERT HADDEN’s conduct

                  was, in fact, sexual exploitation and abuse. Despite the "CORP. ENTITIES"’ chaperones’

                  first-hand observation of the abuse, and "CORP. ENTITIES" prior reports about ROBERT

                  HADDEN’s sexual misconduct, Defendant "CORP. ENTITIES" and their agents, servants

                  and employees actively concealed the sexually exploitative behavior and abuse being

                  perpetrated by ROBERT HADDEN, as well as the complaints of HADDEN’s sexually

                  exploitative behavior and abuse, and inexplicably continued to allow ROBERT HADDEN to




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                   have unfettered sexual access to COLUMBIA UNIVERSITY MEDICAL CENTER, NEW

                   YORK-PRESBYTERIAN HOSPITAL, and Defendant "CORP. ENTITIES"’ female patient

                   populations.

               87. Finally, plaintiffs have a good-faith reason to reason to believe COLUMBIA UNIVERSITY,

                   THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN

                   HOSPITAL, and defendant "CORP. ENTITIES" have colluded with ROBERT HADDEN in

                   order to enable and permit ROBERT HADDEN to apply, and become approved, for certain

                   “disability benefits” that enable ROBERT HADDEN to continue to receive financial support

                   and enjoy what may otherwise be considered an “early retirement”. Defendants’ collective

                   complicity - and active fraud - in actively helping ROBERT HADDEN to support himself

                   financially after sexually, and feloniously, abusing countless female patients over the course

                   of two-decades is worthy of federal criminal prosecution, and intense public scrutiny.

                   Further, it directly caused JANE DOE #15 to feel further marginalized and trivialized.

                                                       JANE DOE #16

               88. Plaintiff JANE DOE #16 was born in 1994, and currently resides in the State of New Jersey.

                   JANE DOE #16 was a gynecology patient of defendants (and/or to be named Defendants)

                   including: COLUMBIA UNIVERSITY, THE NEW YORK AND PRESBYTERIAN

                   HOSPITAL;      COLUMBIA        PRESBYTERIAN          MEDICAL       CENTER;      COLUMBIA

                   UNIVERSITY        MEDICAL       CENTER;       COLUMBIA-PRESBYTERIAN               MEDICAL

                   CENTER, EAST SIDE ASSOCIATES; EAST SIDE ASSOCIATES; THE TRUSTEES OF

                   COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA UNIVERSITY

                   COLLEGE OF PHYSICIANS AND SURGEONS; PRESBYTERIAN HOSPITAL

                   PHYSICIAN SERVICES ORGANIZATION, INC.; COLUMBIA-CORNELL CARE, LLC;




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                  COLUMBIA CORNELL NETWORK                    PHYSICIANS,       INC.,    (Hereinafter   “CORP.

                  ENTITIES”) and their agent, servant, and/or employee ROBERT HADDEN, during which

                  time JANE DOE #16 was serially sexually exploited and abused by ROBERT HADDEN —

                  who was enabled by the acts and omissions of the within named defendants and “CORP.

                  ENTITIES”.

               89. Plaintiff JANE DOE #16 saw ROBERT HADDEN at “CORP. ENTITIES” medical facilities

                  for what was supposed to be gynecologic care and treatment. At the time of the visit JANE

                  DOE #16 was a full-time high-school student and a minor under the laws of the State of New

                  York and other states. Further, ROBERT HADDEN was the physician who had delivered

                  JANE DOE #16 a decade earlier. ROBERT HADDEN was well aware of this fact and used

                  this relationship with both the patient, and her mother, as leverage in order to carry out his

                  scheme of sexual exploitation and sexual abuse of the minor child, JANE DOE #16.

               90. Beginning with JANE DOE #16’s initial office visit as a gynecology patient, defendant

                  ROBERT HADDEN began subjecting her to a course of predatory grooming, boundary

                  violating, mental, emotional, and physical sexual abuse. During the visits, ROBERT

                  HADDEN assailed JANE DOE #16 with a barrage of wily, inappropriate, invasive and

                  exploitive questions and statements about her mother, appearance, body, sexual history, and

                  sexual activity. Questioning JANE DOE #16 about her virginity and eliciting intimate and

                  inappropriate details about how close she has gotten to experiencing sexual intercourse with

                  a male. ROBERT HADDEN’s approach to grooming JANE DOE #16 was a mix of being

                  authoritative, awkward, self-deprecating, disarming, self-pitying, alarming, fear mongering,

                  and overtly offensive.




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               91. While ROBERT HADDEN was actively and verbally breaking down JANE DOE #16’s

                   boundaries, he forced JANE DOE #16 to answer questions about herself, her school, and her

                   mother; and peppered her with a series of irrelevant and medically inappropriate questions

                   for long periods while ogling and groping her unclothed body, breasts and vagina. While

                   ogling and groping JANE DOE #16’s unclothed body, ROBERT HADDEN continued to

                   engage in idle chatter about wholly medically irrelevant information.

               92. A Chaperone was present in the room at the beginning of the visit and during the verbal and

                   physical exploitation and assaults, and witnessed ROBERT HADDEN’s verbal and physical

                   sexual abuse firsthand, yet did nothing to prevent or stop ROBERT HADDEN’s sexual

                   exploitation and abuse of Plaintiff JANE DOE #16. During this initial visit, ROBERT

                   HADDEN directed JANE DOE #16 to remove all of her clothes and “get on all fours” on the

                   table. While naked and on all fours, ROBERT HADDEN proceeded to perform a prolonged,

                   medically-inappropriate, unnecessary and unwarranted breast examination, prolonged,

                   medically-inappropriate, unnecessary, and unwarranted vaginal examination, and a

                   prolonged and medically-inappropriate exploration of a rash around JANE DOE #16’s pubic

                   area, all the while as JANE DOE #16 was being posed on her hands and knees naked before

                   ROBERT HADDEN, who then proceeded to rub both of his ungloved hands up and down

                   her body, groped her body, spread her buttocks, examined the crevices of the most intimate

                   parts of her body, and spread her vagina as he leered into all of her private areas. All the

                   while, ROBERT HADDEN would continue to engage in idle chatter about JANE DOE #16,

                   her body, and her lack of sexual activity, in furtherance of ROBERT HADDEN’s never-

                   ending pedophiliac-grooming and sexual exploitation of this minor-female patient. During

                   the serial, prolonged, medically-inappropriate unnecessary and unwarranted vaginal




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                  examinations that ROBERT HADDEN performed at both visits, ROBERT HADDEN would

                  penetrate JANE DOE #16 by inserting his fingers into JANE DOE #16’s vagina. All of these

                  so-called “examinations” were done in a deviant and sexual manner solely for ROBERT

                  HADDEN’s own prurient, deviant, and lecherous sexual gratification.

               93. During the second visit, ROBERT HADDEN learned that JANE DOE #16 had just recently

                  lost her virginity. At the time, JANE DOE #16 had only one-boyfriend/partner, and very little

                  experience with sex or sexual activity. Despite her age and lack of sexual experience,

                  ROBERT HADDEN instructed JANE DOE #16 that a vaginal examination and PAP Smear

                  was necessary. During this exploitative and abusive visit, ROBERT HADDEN spent a long

                  time doing the medically unnecessary and inappropriate PAP Smear and vaginal

                  examination. Because of her young age, and due to the fact that ROBERT HADDEN was the

                  first gynecologist that JANE DOE #16 saw, this didn’t seem abnormal simply because JANE

                  DOE #16 had nothing to compare it to. Following the abusive and exploitative vaginal

                  examination, JANE DOE #16 did not return to defendant ROBERT HADDEN.

               94. ROBERT HADDEN was well aware of the cognitive dissonance that his patients - who he

                  was sexually abusing - would experience with regard to their inability to come to grips with

                  the unfathomable idea that their own medical doctor was sexually exploiting and abusing

                  them - especially as a minor who was literally brought into this world into the hands of

                  ROBERT HADDEN who had delivered her as a baby just 16-years earlier. ROBERT

                  HADDEN used this knowledge and medical training to his advantage while leveraging his

                  position of status and authority bestowed on him by COLUMBIA UNIVERSITY, THE

                  TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL,

                  and "CORP. ENTITIES", to his own depraved-benefit, and in furtherance of his scheme to




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                  sexually abuse and exploit as many women as possible under the guise of performing

                  medical procedures. As a result, ROBERT HADDEN was enabled to sexually abuse

                  countless   female   patients   of   COLUMBIA      UNIVERSITY       and   NEW     YORK-

                  PRESBYTERIAN HOSPITAL, in a serial fashion, while carrying out his sick fantasies

                  surrounding doctor sexual abuse.

               95. These events are not isolated, and they were not done outside the knowledge and awareness

                  of his employers ("CORP. ENTITIES"). ROBERT HADDEN was known as “a shark” - who

                  knew how to outmaneuver chaperones, make quick hits at sexually abusing female patients,

                  and keep going - amongst the medical assistants and chaperones with whom he worked. At

                  least one nurse who worked with ROBERT HADDEN in 1992-1993 walked in on ROBERT

                  HADDEN sexually abusing a female patient at defendant COLUMBIA UNIVERSITY’s

                  Audubon Clinic. However, when the nurse reported the abuse ROBERT HADDEN was

                  committing to her supervisor, the supervisor’s response was for her to just “keep quiet”,

                  “stay with your doctor” and “don’t let him get himself in trouble”. COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

                  PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", have created an environment that

                  was not only conducive to doctor sexual assaults, but actually enabled it. By failing to

                  properly educate, train, empower, and support the medical assistants and chaperones,

                  COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW

                  YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES" created an environment

                  where patients were duped into believing that there was someone in the examination room

                  who would keep them safe. But, in reality, the hidden imbalance of power that existed

                  between the chaperones and medical doctors - where the chaperones were afraid to speak-up




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                  for fear of losing their jobs - had the practical effect of making doctor sexual abuse appear to

                  be legitimate medical care.

               96. For the sake of completeness, ROBERT HADDEN has pleaded guilty in Criminal Court to

                  sexually abusing two-other patients female patients referenced above. One by licking her

                  vagina during a purported vaginal examination - which was the second time that the patient

                  stated ROBERT HADDEN had done it. And the other is when ROBERT HADDEN pleaded

                  guilty to sexually abusing a separate female patient, who ROBERT HADDEN knew to be

                  HIV positive, with his ungloved hands.

               97. Because Defendant "CORP. ENTITIES"’ Chaperones stood by silently and watched - and

                  also actively participated in the sexual exploitation, abuse, and coverup of ROBERT

                  HADDEN’s serial sexual exploitation and abuse by failing to prevent or stop ROBERT

                  HADDEN - JANE DOE #16 reasonably believed that ROBERT HADDEN must have been

                  conducting legitimate medical treatment while he was ogling, groping, verbally assaulting,

                  and physically abusing, violating, sexually abusing, and penetrating her, although she now

                  knows that ROBERT HADDEN’s conduct was, in fact, sexual exploitation and abuse.

                  Despite the "CORP. ENTITIES"’ chaperones’ first-hand observation of the abuse and

                  ROBERT HADDEN’s history of evading their observation by telling the Chaperones to

                  leave the room, and "CORP. ENTITIES" prior reports about ROBERT HADDEN’s sexual

                  misconduct, Defendant "CORP. ENTITIES" and their agents, partners, servants and

                  employees actively concealed JANE DOE #16’s abuse and ROBERT HADDEN’s sexually

                  exploitative behavior, and inexplicably continued to allow ROBERT HADDEN to have

                  unfettered sexual access to COLUMBIA UNIVERSITY MEDICAL CENTER, NEW

                  YORK-PRESBYTERIAN HOSPITAL, and Defendant "CORP. ENTITIES"’ female and




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                  minor-female patient populations. Based on the words and conduct of each of the defendants,

                  their agents, servants, and/or employees, plaintiff was induced to not file a complaint earlier.

                  Further, plaintiff has been emotionally traumatized by the defendants’ conduct and abuse,

                  and has lacked the capacity to deal with, and confront, the important legal issues and rights

                  herein until the present.

               98. Further, plaintiffs have a good-faith reason to believe COLUMBIA UNIVERSITY, THE

                  TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL,

                  and defendant "CORP. ENTITIES" continue to collude with ROBERT HADDEN to permit

                  and enable ROBERT HADDEN to apply for, obtain, and maintain certain “disability

                  benefits” which allow ROBERT HADDEN to receive financial compensation while enjoying

                  what may otherwise be considered a “paid, early retirement” from the practice of medicine.

                  Defendants’ collective complicity - and active fraud - in helping ROBERT HADDEN to

                  support himself financially after sexually, and feloniously, abusing countless female patients

                  over the course of two-decades is worthy of federal criminal prosecution, and intense public

                  scrutiny. Particularly in this day and age, the use of either Corporate, or State and/or Federal

                  taxpayer-dollars for the financial benefit of a convicted sexual predator seems like the exact

                  kind of thing that would be a notable and newsworthy story. Further, ROBERT HADDEN’s

                  sexual exploitation, pedophilia, and sexual abuse of a minor-female patient is within, and

                  should be the subject of, a comprehensive investigation and criminal prosecution by the U.S.

                  Federal Bureau of Investigations and the federal government.

                                                       JANE DOE #17

               99. Plaintiff JANE DOE #17 was born in 1973, and currently resides in the State of New York.

                  Plaintiff JANE DOE #17 became an OBGYN patient of defendants COLUMBIA




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                  UNIVERSITY, THE NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA

                  PRESBYTERIAN         MEDICAL       CENTER;      COLUMBIA        UNIVERSITY        MEDICAL

                  CENTER;      COLUMBIA-PRESBYTERIAN                MEDICAL       CENTER,       EAST      SIDE

                  ASSOCIATES; EAST SIDE ASSOCIATES; THE TRUSTEES OF COLUMBIA

                  UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA UNIVERSITY COLLEGE

                  OF PHYSICIANS AND SURGEONS; PRESBYTERIAN HOSPITAL PHYSICIAN

                  SERVICES ORGANIZATION, INC.; COLUMBIA-CORNELL CARE, LLC; COLUMBIA

                  CORNELL NETWORK PHYSICIANS, INC., the AUDUBON CLINIC (Hereinafter

                  “CORP. ENTITIES”) and their agent, servant, and/or employee ROBERT HADDEN, during

                  which time JANE DOE #17 was sexually exploited and abused by ROBERT HADDEN —

                  who was enabled by the acts and omissions of the within named defendants and “CORP.

                  ENTITIES”.

               100.Plaintiff JANE DOE #17 saw ROBERT HADDEN at “CORP. ENTITIES” medical facilities

                  in or around February 2005 for what was supposed to be the start of obstetrical and prenatal

                  care and treatment for her pregnancy with her first child. Beginning with JANE DOE #17’s

                  initial office visit, defendant ROBERT HADDEN began subjecting her to a course of

                  predatory grooming, boundary violating, and mental, emotional, and physical sexual

                  exploitation and abuse. During the visit, ROBERT HADDEN began assailing JANE DOE

                  #17 with a barrage of wily, inappropriate, invasive and exploitative questions and statements

                  about her body, physical appearance and wholly medically irrelevant questions about her

                  sexuality and sexual activity. ROBERT HADDEN’s approach to grooming was a mix of

                  being awkward, authoritative, self-deprecating, disarming, self-pitying, alarming, and overtly

                  offensive.




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               101.While ROBERT HADDEN was actively and verbally breaking down JANE DOE #17’s

                  boundaries, he engaged JANE DOE #17 in idle chatter about medically irrelevant issues

                  while peppering her with a series of irrelevant and medically inappropriate questions for long

                  periods while ogling her breasts and unclothed body.

               102.A Chaperone was present in the room at the beginning of the examination, and then left

                  before the “examination” was complete. After the chaperone exited the room, the

                  exploitation and abuse continued with ROBERT HADDEN proceeding to perform serial,

                  prolonged, and medically inappropriate breast examinations, and a medically-inappropriate

                  vaginal examination with his bare, ungloved hands.

               103.During the wholly unnecessary “physical examination” - while JANE DOE #17 was

                  completely naked - ROBERT HADDEN instructed JANE DOE #17 to stand up, and then

                  bend over while he checked for “scoliosis”. All the while, as JANE DOE #17 was naked and

                  bent over, ROBERT HADDEN was continuing to groom JANE DOE #17 by running his

                  ungloved hands all over her body, simultaneously offering her lots of comments about how

                  great her skin was, how she didn’t have to “worry about stretch marks”, and engaging in

                  other kinds irrelevant prater.

               104.ROBERT HADDEN was well aware of the cognitive dissonance that his patients - who he

                  was sexually abusing - would experience with regard to their inability to come to grips with

                  the unfathomable thought that their own medical doctor was sexually exploiting and abusing

                  them. ROBERT HADDEN used this knowledge and medical training to his advantage while

                  leveraging his position of status and authority bestowed on him by COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

                  PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", to his benefit, advantage, and in




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                   furtherance of his scheme to sexually abuse and exploit as many women as possible under

                   the guise of performing medical procedures. As a result, ROBERT HADDEN was enabled to

                   sexually abuse countless female patients of COLUMBIA UNIVERSITY and NEW YORK-

                   PRESBYTERIAN HOSPITAL, in a serial fashion, while carrying out his sick fantasies

                   surrounding doctor sexual abuse.

               105. ROBERT HADDEN has serially sexually assaulted countless female patients of

                   COLUMBIA UNIVERSITY and NEW YORK-PRESBYTERIAN HOSPITAL. His depraved

                   mind and scheme to perform deviant and sexually exploitive acts upon women have led him

                   to acting out, in a serial fashion, his sick fantasies of being able to penetrate his patients’

                   vaginas for non-medical purposes - as well as touch his tongue to his patients’ vaginas in the

                   guise of “medical care” - while trying to get away with it.

               106. These events are not isolated, and they were not done outside the knowledge and awareness

                   of his employers ("CORP. ENTITIES"). ROBERT HADDEN was known as “shark” - who

                   knew how to outmaneuver chaperones, make quick hits at sexually abusing female patients,

                   and keep going - amongst the medical assistants and chaperones with whom he worked. At

                   least one nurse who worked with ROBERT HADDEN in 1992-1993 walked in on ROBERT

                   HADDEN sexually abusing a female patient at defendant COLUMBIA UNIVERSITY’s

                   Audubon Clinic. But when the nurse reported the abuse ROBERT HADDEN was

                   committing to her supervisor, the supervisor’s response was for her to just “keep quiet”,

                   “stay with your doctor” and “don’t let him get himself in trouble”. COLUMBIA

                   UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

                   PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", have created an environment that

                   was not only conducive to doctor sexual assault, but actually enabled it. By failing to




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                  properly educate, train, empower, and support the medical assistants and chaperones,

                  COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW

                  YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES" created an environment

                  where patients were duped into believing that there was someone in the examination room

                  who would keep them safe. But, in reality, the hidden imbalance of power that exists

                  between the chaperones and medical doctors - where nurses are afraid to speak-up for fear of

                  losing their jobs - has the practical effect of making doctor sexual abuse appear to be

                  legitimate medical care.

               107. For the sake of completeness, ROBERT HADDEN has pleaded guilty in Criminal Court to

                  sexually abusing both of the two-other patients referenced above. One by licking her vagina

                  during a purported vaginal examination - which was during the second time that the patient

                  stated that ROBERT HADDEN had done it. The other is when ROBERT HADDEN pleaded

                  guilty to sexually abusing another female patient, who ROBERT HADDEN knew to be HIV

                  positive, with his ungloved hand.

               108. Because Defendant "CORP. ENTITIES"’ Chaperones stood by, silently, as ROBERT

                  HADDEN sexually exploited and abused Plaintiff JANE DOE #17 - and even left the

                  examination room before the “examination” was complete - JANE DOE #17 reasonably

                  believed that ROBERT HADDEN was conducting legitimate medical treatment while he

                  was ogling, groping, verbally assaulting, and physically abusing, violating, sexually abusing,

                  and penetrating her, although she now knows that ROBERT HADDEN’s conduct was, in

                  fact, sexual exploitation and abuse. Despite the "CORP. ENTITIES"’ chaperones’ first-hand

                  observation of the abuse, and "CORP. ENTITIES" prior reports about ROBERT HADDEN’s

                  sexual misconduct, Defendant "CORP. ENTITIES" and their agents, servants and employees




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                  actively concealed the sexually exploitative behavior and abuse being perpetrated by

                  ROBERT HADDEN, as well as the complaints of HADDEN’s sexually exploitative behavior

                  and abuse, and inexplicably continued to allow ROBERT HADDEN to have unfettered

                  sexual access to COLUMBIA UNIVERSITY MEDICAL CENTER, NEW YORK-

                  PRESBYTERIAN HOSPITAL, and Defendant "CORP. ENTITIES"’ female patient

                  populations. Based on the words and conduct of each of the defendants, their agents,

                  servants, and/or employees, plaintiff was induced to not file a complaint earlier. Further,

                  plaintiff has been emotionally traumatized by the defendants’ conduct and abuse, and has

                  lacked the capacity to deal with, and confront, the important legal issues and rights herein

                  until the present.

               109. Finally, plaintiffs have a good-faith reason to believe COLUMBIA UNIVERSITY, THE

                  TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL,

                  and defendant "CORP. ENTITIES" have colluded with ROBERT HADDEN in order to

                  enable and permit ROBERT HADDEN to apply, and obtain approval, for certain “disability

                  benefits” that enable ROBERT HADDEN to continue to receive financial support and enjoy

                  what might otherwise be considered a paid, “early retirement”. Defendants’ collective

                  complicity - and active fraud - in helping ROBERT HADDEN to support himself financially

                  after sexually, and feloniously, abusing countless female patients over the course of two-

                  decades is worthy of federal criminal prosecution, and intense public scrutiny. Further, it

                  directly causes JANE DOE #17 to feel further marginalized and trivialized.

                                                     JANE DOE #18

               110. Plaintiff JANE DOE #18 was born in 1967, and currently resides in the State of Maryland.

                  JANE DOE #18 was a student of Columbia University at the time of the sexual assaults




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                  committed by COLUMBIA UNIVERSITY doctor ROBERT HADDEN. Accordingly, Title

                  IX anti-discrimination laws and protections have been violated by defendant COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and its agents, partners,

                  servants, and/or employees.

               111. Title IX of the Education Amendments Act of 1972 states, “No person in the United States

                  shall on the basis of sex, be ... subject to discrimination under any education program or

                  activity receiving Federal financial assistance ...” 20 U.S.C. § 1681, et seq.

               112. JANE DOE #18 was female student at COLUMBIA UNIVERSITY and a member of the

                  Class of “persons” under Title IX.

               113. COLUMBIA UNIVERSITY receives federal financial assistance for its education program

                  and is therefore subject to the provisions of Title IX of the Education Act of 1972, 20 U.S.C.

                  §1681(a), et seq.

               114. COLUMBIA UNIVERSITY is required under Title IX to investigate allegations of sexual

                  assault, sexual abuse, and sexual harassment.

               115. ROBERT HADDEN’s conduct described herein constitutes sexual harassment, abuse, and

                  assault, and constitutes sex discrimination under Title IX.

               116. The sexual harassment, abuse and assaults committed by ROBERT HADDEN were un-

                  welcomed, severe and pervasive -- happened to JANE DOE #18 on multiple occasions, to

                  countless other female students and female patients, and had a profound and severe negative

                  impact on JANE DOE #18, her person, her overall educational experience, and her ultimate

                  professional endeavors.




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               117. Defendants COLUMBIA UNIVERSITY and "CORP. ENTITIES" were on notice of

                   ROBERT HADDEN’s conduct as described above. Nonetheless, defendants failed to carry

                   out their duties to investigate and take corrective and mandatory action under Title IX.

               118. Defendants’ actions, as stated herein, have and will continue to interfere with Plaintiff’s and

                   other students’ right to be free from gender discrimination in the form of sexual harassment

                   in the educational and collegiate athletic setting, codified under Title IX 20 U.S.C. §1681.

                   Furthermore, the Plaintiffs have a right to have Defendant COLUMBIA UNIVERSITY

                   respond immediately and investigate their sexual assault, sexual exploitation, molestation

                   and harassment by their predatory doctor ROBERT HADDEN.

               119. During Plaintiff JANE DOE #18’s time as a student of Defendant COLUMBIA

                   UNIVERSITY, Defendants engaged in oppressive and unlawful tactics in ignoring,

                   concealing, and ultimately suppressing the patient and employee complaints of sexual

                   exploitation and abuse being committed by ROBERT HADDEN. Plaintiffs were exploited,

                   sexually abused, intimidated and dissuaded from reporting ROBERT HADDEN’s sexually

                   abusive actions, by ROBERT HADDEN’s own intimidating and humiliating conduct, as well

                   as the conspiratorial silence and inaction of Defendant COLUMBIA UNIVERSITY and THE

                   TRUSTEES OF COLUMBIA UNIVERSITY’s chaperones. These intentional acts of

                   concealment of ROBERT HADDEN’S abusive behavior violated plaintiff JANE DOE #18’s

                   right to be free from discrimination on the basis of her gender, under Title IX 20 U.S.C.

                   §1681.

               120. Furthermore, the plaintiff was deprived of her right to Due Process of Law, when various

                   complaints by Defendant COLUMBIA UNIVERSITY’s agents, servants and/or employees

                   failed to trigger any report, investigation, or other action by Defendant COLUMBIA




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                   UNIVERSITY, who was required to do so, both under its own policies and procedures, as

                   well as under Federal mandate by Title IX, and the Fourteenth Amendment to the United

                   States Constitution. In addition, these actions were contrary to Plaintiffs’ civil rights

                   guaranteed under the Constitution of the State of New York.

               121. Defendant COLUMBIA UNIVERSITY’s wrongful conduct was intended to, and did

                   successfully interfere with Plaintiffs’ Constitutional Rights to be free from gender

                   discrimination and harassment, as well as interfered with their rights of Due Process under

                   the United States’ Constitution, specifically the Fifth and Fourteenth Amendments.

               122. Defendant COLUMBIA UNIVERSITY unlawfully and wrongfully used, or employed

                   others to wrongfully use threats, intimidation, oppression, exploitation, harassment, violence,

                   and coercion over Plaintiff’s person, to which Plaintiff had no relief except to submit to the

                   Defendants’ wrongful threats, intimidation, oppression, exploitation, harassment, violence,

                   and coercion, which rendered Plaintiff’s submission involuntary.

               123. Defendant COLUMBIA UNIVERSITY’s above-noted actions and omissions were the legal

                   and proximate causes of physical, psychological, emotional, and economic damages, and

                   damage to the Plaintiffs, who have suffered and continue to suffer to this day. The actions

                   and omissions of Defendants have also resulted in Plaintiffs incurring, and will require them

                   to incur into the future, expenses for medical and psychological treatment, therapy, and

                   counseling.

               124. As a result of the above-described conduct, Plaintiffs suffered and continue to suffer great

                   pain of mind and body, shock, emotional distress, physical manifestations of emotional

                   distress, embarrassment, loss of self-esteem, disgrace, shame, humiliation, and loss of

                   enjoyment of life; have suffered and will continue to suffer and were prevented and will




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                   continue to be prevented from performing daily activities and obtaining the full enjoyment of

                   life; have and will continue to sustain loss of earning capacity; and have incurred and will

                   continue to incur expenses for medical and psychological treatment, therapy, and counseling.

                   Plaintiffs have also suffered economic, vocational and employment losses, as well.

               125. In subjecting Plaintiffs to the sexual exploitation and abuse described herein, Defendants

                   acted willfully and maliciously with the intent to harm Plaintiffs, and in conscious disregard

                   of Plaintiffs’ rights, entitling Plaintiffs to compensatory damages in a sum to be shown

                   according to proof, emotional distress damages in a sum to be shown according to proof,

                   punitive and/or exemplary damages, attorney’s fees, and other damages pursuant to New

                   York State Law.

               126. In subjecting the Plaintiffs to the sexual exploitation and abuse herein described, Defendants

                   COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW

                   YORK-PRESBYTERIAN HOSPITAL, and CORP. ENTITIES acted willfully and

                   maliciously with the intent to harm Plaintiffs, and in conscious disregard of Plaintiffs’

                   Rights, so as to constitute malice and oppression under both Federal and New York State

                   Law. Plaintiffs are therefore entitled to the recovery of punitive damages, in an amount to be

                   determined by the Court, against Defendants COLUMBIA UNIVERSITY, THE TRUSTEES

                   OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL, and CORP.

                   ENTITIES in a sum to be shown according to proof. Furthermore, the Plaintiffs request the

                   award of attorneys’ fees pursuant to 42 U.S.C. § 1988.

               127. Plaintiff JANE DOE #18 became an OBGYN patient of defendants COLUMBIA

                   UNIVERSITY, THE NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA

                   PRESBYTERIAN         MEDICAL        CENTER;      COLUMBIA        UNIVERSITY        MEDICAL




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                  CENTER;       COLUMBIA-PRESBYTERIAN               MEDICAL       CENTER,       EAST      SIDE

                  ASSOCIATES; EAST SIDE ASSOCIATES; THE TRUSTEES OF COLUMBIA

                  UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA UNIVERSITY COLLEGE

                  OF PHYSICIANS AND SURGEONS; PRESBYTERIAN HOSPITAL PHYSICIAN

                  SERVICES ORGANIZATION, INC.; COLUMBIA-CORNELL CARE, LLC; COLUMBIA

                  CORNELL NETWORK PHYSICIANS, INC., (Hereinafter “CORP. ENTITIES”) and their

                  agent, servant, and/or employee ROBERT HADDEN, during which time JANE DOE #18

                  was sexually exploited and abused by ROBERT HADDEN — who was enabled by the acts

                  and omissions of the within named defendants and “CORP. ENTITIES”.

               128. Plaintiff JANE DOE #18 saw ROBERT HADDEN at “CORP. ENTITIES” Washington

                  Heights, Columbia-Presbyterian medical facilities between February 1998 and January 1999

                  for what was supposed to be obstetrical and prenatal care and treatment for her pregnancy

                  with her first child. Beginning with JANE DOE #18’s initial office visit, defendant ROBERT

                  HADDEN began subjecting her to a course of predatory grooming, boundary violating, and

                  mental, emotional, and physical sexual exploitation and abuse. ROBERT HADDEN’s

                  approach to grooming was a mix of being awkward, authoritative, self-deprecating,

                  disarming, self-pitying, alarming, and overtly offensive.

               129. While ROBERT HADDEN was actively and verbally breaking down JANE DOE #18’s

                  boundaries, he engaged JANE DOE #18 in idle chatter about medically irrelevant issues

                  while peppering her with a series of irrelevant and medically inappropriate questions for long

                  periods while ogling her breasts and unclothed body.

               130. On occasion, a Chaperone would be present in the room at the beginning of the

                  examination, but left before the “examination” was complete. After the chaperone exited the




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                  room, the exploitation and abuse continued with ROBERT HADDEN proceeding to perform

                  serial, prolonged, and medically inappropriate breast examinations, and medically-

                  inappropriate, unwarranted and unnecessary vaginal examinations with his ungloved hands.

                  Other times, no chaperone would be present at all.

               131. During the wholly unnecessary and exploitative “physical examinations” - even while

                  JANE DOE #18 was pregnant - ROBERT HADDEN would performed serial, prolonged, and

                  medically inappropriate breast examinations and vaginal examinations during which he

                  groped, physically assaulted and sexually and emotionally exploited and abused JANE DOE

                  #18, all while not wearing any gloves. This exploitation and abuse continued throughout

                  JANE DOE #18’s pregnancy with her unborn child.

               132. When the time came to deliver her daughter, ROBERT HADDEN intentionally and

                  maliciously - with scienter and a depraved and evil mind - withheld anesthesia during the

                  labor and delivery, requiring JANE DOE #18 to endure the full pain of a child passing

                  through her birth canal which was too small to accommodate the baby. During the torturous

                  and barbaric delivery, JANE DOE #18 asked, then pleaded ROBERT HADDEN for

                  anesthesia, but HADDEN — out of sheer vindictiveness and cruelty — told her “no” and

                  that “it will give [her] incentive to deliver” her baby. After her daughter tore her vagina on

                  the way out, ROBERT HADDEN told JANE DOE #18 that he would “sew it up”. A petrified

                  JANE DOE #18 pleaded and begged ROBERT HADDEN for anesthesia to help her tolerate

                  the excruciating pain of applying sutures to her already torn vagina. Despite her pleas,

                  ROBERT HADDEN inexplicably refused to provide any form of anesthesia during the

                  suturing, and proceeded - in what can only be described as sadism - to “sew up” JANE DOE

                  #18’s vagina and cause her to suffer intolerable and unimaginable pain with each stitch. All




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                  the while, none of the hospital personnel uttered a word about the medically inappropriate

                  and barbaric violations of the standards of patient care that was being meted out by ROBERT

                  HADDEN.

               133. Following the birth of her child on November 18, 1998, ROBERT HADDEN was listed as

                  the physician in attendance of the birth of JANE DOE #18’s child. During the postpartum

                  period, ROBERT HADDEN continued to sexually exploit and abuse JANE DOE #18.

                  During one of the postpartum office visits, while JANE DOE #18’s breasts were engorged,

                  ROBERT HADDEN insisted that a breast examination was necessary. After making JANE

                  DOE #18 remove her clothing, for no legitimate medical purpose, ROBERT HADDEN

                  proceeded to grope and cup JANE DOE #18’s breasts. During this prolonged, and wholly

                  medically unnecessary “breast examination”, ROBERT HADDEN proceeded to pinch,

                  squeeze, and tug on JANE DOE #18’s nipples so as to express breast milk, from both of her

                  breasts, for his own deviant sexual gratification, all conducted with JANE DOE #18’s

                  newborn in the room. JANE DOE #18 has endured indescribable conflict, confusion,

                  physical pain and mental injury due to her inability to comprehend the reasons and levels of

                  depravity of the abuse inflicted upon her by ROBERT HADDEN.

               134. ROBERT HADDEN was well aware of the cognitive dissonance that his patients - who he

                  was sexually abusing - would experience with regard to their inability to come to grips with

                  the unfathomable thought that their own medical doctor was sexually exploiting and abusing

                  them. ROBERT HADDEN used this knowledge and medical training to his advantage while

                  leveraging his position of status and authority bestowed on him by COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

                  PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", to his benefit, advantage, and in




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                   furtherance of his scheme to sexually abuse and exploit as many women as possible under

                   the guise of performing medical procedures. As a result, ROBERT HADDEN was enabled to

                   sexually abuse countless female patients of COLUMBIA UNIVERSITY and NEW YORK-

                   PRESBYTERIAN HOSPITAL, in a serial fashion, while carrying out his sick fantasies

                   surrounding doctor sexual abuse.

               135. ROBERT HADDEN has serially sexually assaulted countless female patients of

                   COLUMBIA UNIVERSITY and NEW YORK-PRESBYTERIAN HOSPITAL. His depraved

                   mind and scheme to perform deviant and sexually exploitive acts upon women have led him

                   to act out, in a serial fashion, his sick fantasies of being able to touch his tongue to his

                   patients’ vaginas in the guise of “medical care” - while trying to get away with it.

               136. These events are not isolated, and they were not done outside the knowledge and awareness

                   of his employers ("CORP. ENTITIES"). ROBERT HADDEN was known as “a shark” - who

                   knew how to outmaneuver chaperones, make quick hits at sexually abusing female patients,

                   and keep going - amongst the medical assistants and chaperones with whom he worked. At

                   least one nurse who worked with ROBERT HADDEN in 1992-1993 walked in on ROBERT

                   HADDEN sexually abusing a female patient at defendant COLUMBIA UNIVERSITY’s

                   Audubon Clinic. However, when the nurse reported the abuse ROBERT HADDEN was

                   committing to her supervisor, the supervisor’s response was for her to just “keep quiet”,

                   “stay with your doctor” and “don’t let him get himself in trouble”. COLUMBIA

                   UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

                   PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", have created an environment that

                   was not only conducive to doctor sexual assault, but actually enabled it. By failing to

                   properly educate, train, empower, and support the medical assistants and chaperones,




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                  COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW

                  YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES" created an environment

                  where patients were duped into believing that there was someone in the examination room

                  who would keep them safe. But, in reality, the hidden imbalance of power that exists

                  between the chaperones and medical doctors - where nurses are afraid to speak-up for fear of

                  losing their jobs - has the practical effect of making doctor sexual abuse appear to be

                  legitimate medical care.

               137. For the sake of completeness, ROBERT HADDEN has pleaded guilty in Criminal Court to

                  sexually abusing both of the two-other patients referenced above. One by licking her vagina

                  during a purported vaginal examination - which was during the second time that the patient

                  stated that ROBERT HADDEN had done it. The other is when ROBERT HADDEN pleaded

                  guilty to sexually abusing another female patient, who ROBERT HADDEN knew to be HIV

                  positive, with his ungloved hand.

               138. Because Defendant "CORP. ENTITIES"’ Chaperones stood by, silently, as ROBERT

                  HADDEN sexually exploited and abused Plaintiff JANE DOE #18 - and even left the

                  examination room before the “examination” was complete - JANE DOE #18 reasonably

                  believed that ROBERT HADDEN was conducting legitimate medical treatment while he

                  was ogling, groping, verbally assaulting, and physically abusing, violating, sexually abusing,

                  and penetrating her, although she now knows that ROBERT HADDEN’s conduct was, in

                  fact, sexual exploitation and abuse. Despite the "CORP. ENTITIES"’ chaperones’ first-hand

                  observation of the abuse, and "CORP. ENTITIES" prior reports about ROBERT HADDEN’s

                  sexual misconduct, Defendant "CORP. ENTITIES" and their agents, servants and employees

                  actively concealed the sexually exploitative behavior and abuse being perpetrated by




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                   ROBERT HADDEN, as well as the complaints of HADDEN’s sexually exploitative behavior

                   and abuse, and inexplicably continued to allow ROBERT HADDEN to have unfettered

                   sexual access to COLUMBIA UNIVERSITY MEDICAL CENTER, NEW YORK-

                   PRESBYTERIAN HOSPITAL, and Defendant "CORP. ENTITIES"’ female patient

                   populations. Based on the words and conduct of each of the defendants, their agents,

                   servants, and/or employees, plaintiff was induced to not file a complaint earlier. Further,

                   plaintiff has been emotionally traumatized by the defendants’ conduct and abuse, and has

                   lacked the capacity to deal with, and confront, the important legal issues and rights herein

                   until the present.

               139. Finally, plaintiffs have a good-faith reason to believe COLUMBIA UNIVERSITY, THE

                   TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL,

                   and defendant "CORP. ENTITIES" have colluded with ROBERT HADDEN in order to

                   enable and permit ROBERT HADDEN to apply, and become approved, for certain

                   “disability benefits” that enable ROBERT HADDEN to continue to receive financial support

                   and enjoy what might otherwise be considered a paid, “early retirement”. Defendants’

                   collective complicity - and active fraud - in helping ROBERT HADDEN to support himself

                   financially after sexually, and feloniously, abusing countless female patients over the course

                   of two-decades is worthy of federal criminal prosecution, and intense public scrutiny.

                   Further, it directly causes JANE DOE #18 to feel further marginalized and trivialized.

                                                       JANE DOE #19

               140. Plaintiff JANE DOE #19 was born in 1963, and currently resides in the State of New Jersey.

                   Plaintiff JANE DOE #19 was an OBGYN patient of defendants COLUMBIA UNIVERSITY,

                   THE NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN




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                  MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL CENTER; COLUMBIA-

                  PRESBYTERIAN MEDICAL CENTER, EAST SIDE ASSOCIATES; EAST SIDE

                  ASSOCIATES; THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW

                  YORK; COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND SURGEONS;

                  PRESBYTERIAN         HOSPITAL      PHYSICIAN       SERVICES       ORGANIZATION,         INC.;

                  COLUMBIA-CORNELL             CARE,      LLC;     COLUMBIA         CORNELL        NETWORK

                  PHYSICIANS, INC. (Hereinafter “CORP. ENTITIES”) and their agent, servant, and/or

                  employee ROBERT HADDEN, during which time JANE DOE #19 was serially sexually

                  exploited and abused by ROBERT HADDEN — who was enabled by the acts and omissions

                  of the within named defendants and “CORP. ENTITIES”.

               141. Plaintiff JANE DOE #19 saw ROBERT HADDEN at “CORP. ENTITIES” medical

                  facilities between January 1993 and August 2012 for what was supposed to be gynecological

                  and obstetrical care and treatment. Beginning with JANE DOE #19’s initial office visit,

                  defendant ROBERT HADDEN began subjecting her to a course of predatory grooming,

                  boundary violating, mental, emotional, and physical sexual exploitation and abuse. During

                  the visits, ROBERT HADDEN assailed JANE DOE #19 with a barrage of wily,

                  inappropriate, invasive and exploitive questions and statements about her body, physical

                  appearance, her sexuality, the use of pornography, and the kinds of sexual positions she

                  engaged in with her partner. ROBERT HADDEN’s approach to grooming was a mix of

                  being awkward, authoritative, self-deprecating, disarming, self-pitying, alarming, and overtly

                  offensive. ROBERT HADDEN knowingly and intentionally exploited plaintiff JANE DOE

                  #19’s professional involvement in the care of children with disabilities - and indirectly his

                  own child’s care - to disarm, manipulate, and sexually exploit and abuse JANE DOE #19.




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               142. While ROBERT HADDEN was actively and verbally breaking down JANE DOE #19’s

                  boundaries, he forced JANE DOE #19 to answer questions about the number of sexual

                  partners and sexual acts she had engaged in and peppered her with a series of irrelevant and

                  medically inappropriate questions for long periods while ogling and groping her breasts and

                  unclothed body. At each visit ROBERT HADDEN required JANE DOE #19 to get naked - in

                  his presence - as he ogled and exploited her. A Chaperone was present in the room during

                  some of the verbal and physical assaults and witnessed ROBERT HADDEN’s verbal and

                  physical sexual abuse firsthand, yet did nothing to prevent, or stop, ROBERT HADDEN’s

                  sexual exploitation and abuse of Plaintiff JANE DOE #19.

               143. Other times, a Chaperone was not present - or would leave the room before the

                  “examination” was complete - at which point ROBERT HADDEN would continue to

                  physically sexually exploit and abuse JANE DOE #19. This included, but is not limited to,

                  performing serial, prolonged, and medically inappropriate breast examinations, serial,

                  unwarranted, unnecessary and medically-inappropriate PAP smears and vaginal exams. Each

                  of these exams were, in reality, being conducted with his ungloved-hands so that ROBERT

                  HADDEN could see, touch, penetrate, and abuse JANE DOE #19. All the while, ROBERT

                  HADDEN would engage in idle chatter or continue divulging wholly improper and

                  inappropriate personal information about himself, his family, and his disabled child - all in

                  furtherance of his never-ending sexual exploitation and grooming of female patients. During

                  the serial, and medically non-indicated, unwarranted and unnecessary breast and vaginal

                  examinations that ROBERT HADDEN performed at practically every visit, ROBERT

                  HADDEN would massage JANE DOE #19’s breasts for prolonged periods of time while

                  making idle chatter about irrelevant topics. During several of these “breast examinations”




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                  ROBERT HADDEN would compliment JANE DOE #19’s breasts, their appearance, and

                  how they felt to him. During the serial, and medically-unnecessary vaginal examinations and

                  PAP smears, ROBERT HADDEN would penetrate JANE DOE #19’s vagina by inserting his

                  fingers — with ungloved hands — into JANE DOE #19’s vagina in a rough, deep and

                  forceful manner.

               144. ROBERT HADDEN was listed as the physician in attendance at the births of JANE DOE

                  #19’s three children. During the postpartum periods, ROBERT HADDEN continued to

                  sexually exploit and abuse JANE DOE #19. During these visits ROBERT HADDEN

                  continued to instruct JANE DOE #19 that serial breast examinations, PAP smears, and

                  vaginal "examinations" were needed -- when in fact, they were being performed so that

                  ROBERT HADDEN could continue to ogle, grope, and sexually exploit and abuse JANE

                  DOE #19. JANE DOE #19 has endured indescribable conflict, confusion, and mental injury

                  due to her inability to comprehend the reasons and level of depravity of the abuse inflicted

                  upon her by ROBERT HADDEN. The fact that ROBERT HADDEN regularly used his own

                  son's disabilities in furtherance of his scheme to sexually exploit female patients - including

                  JANE DOE #19 who had direct and personal knowledge of his son, and his son's care -

                  constitutes a degree of depravity that is incomprehensible and abhorrent.

               145. ROBERT HADDEN was well aware of the cognitive dissonance that his patients - who he

                  was sexually abusing - would experience with regard to their inability to come to grips with

                  the unfathomable thought that their own medical doctor was sexually exploiting and abusing

                  them. ROBERT HADDEN used this knowledge and medical training to his advantage while

                  leveraging his position of status and authority bestowed on him by COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-




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                   PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", to his benefit, advantage, and in

                   furtherance of his scheme to sexually abuse and exploit as many women as possible under

                   the guise of performing medical procedures. As a result, ROBERT HADDEN was enabled to

                   sexually abuse countless female patients of COLUMBIA UNIVERSITY and NEW YORK-

                   PRESBYTERIAN HOSPITAL, in a serial fashion, while carrying out his sick fantasies

                   surrounding doctor sexual abuse.

               146. These events are not isolated, and they were not done outside the knowledge and awareness

                   of his employers ("CORP. ENTITIES"). ROBERT HADDEN was known as a “shark” - who

                   knew how to out maneuver chaperones, make quick hits at sexually abusing female patients,

                   and keep going - amongst the medical assistants and chaperones with whom he worked. At

                   least one nurse who worked with ROBERT HADDEN in 1992-1993 walked in on ROBERT

                   HADDEN sexually abusing a female patient at defendant COLUMBIA UNIVERSITY’s

                   Audubon Clinic. But when the nurse reported the abuse ROBERT HADDEN was

                   committing to her supervisor, the supervisor’s response was for her to just “keep quiet”,

                   “stay with your doctor” and “don’t let him get himself in trouble”. COLUMBIA

                   UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

                   PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", have created an environment that

                   was not only conducive to doctor sexual assault, but actually enabled it. By failing to

                   properly educate, train, empower, and support the medical assistants and chaperones,

                   COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW

                   YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES" created an environment

                   where patients were duped into believing that there was someone in the examination room

                   who would keep them safe. But, in reality, the hidden imbalance of power that exists




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                   between the chaperones and medical doctors - where nurses are afraid to speak-up for fear of

                   losing their jobs - has the practical effect of making doctor sexual abuse appear to be

                   legitimate medical care.

               147. To date, COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,

                   NEW YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES" have failed to inform

                   any of their patients that ROBERT HADDEN is actually a convicted sexual predator. Instead

                   of disclosing to their patients, and the public at large, that they had exposed their female

                   patients to a sexual predator for over 20-years, the defendants and "CORP. ENTITIES",

                   including   COLUMBIA        UNIVERSITY        and   THE    TRUSTEES       OF    COLUMBIA

                   UNIVERSITY, kept ROBERT HADDEN’s profile and photograph on the CUMC.edu

                   website for several years after ROBERT HADDEN was indicted for sexually exploiting and

                   abusing six (6) of their own patients. This was a prosecution where nineteen (19) survivors-

                   witnesses of ROBERT HADDEN’s sexual abuse came forward, including a nurse-witness

                   who worked with ROBERT HADDEN and walked-in on him sexually abusing a young,

                   female, Hispanic patient back in 1992-1993.

               148. ROBERT HADDEN has subsequently pleaded guilty in Criminal Court to sexually abusing

                   two of those female patients. One by licking her vagina during a purported vaginal

                   examination - which was during the second time that the patient stated it happened. And the

                   other is when ROBERT HADDEN pleaded guilty to sexually abusing another female patient,

                   who ROBERT HADDEN knew to be HIV positive, with his ungloved hand.

               149. Further, as a result of being listed as the physician in attendance at the births of JANE DOE

                   #19’s children, the name of ROBERT HADDEN - a convicted sexual felon - is currently

                   present on her children’s original birth certificates. Every time JANE DOE #19 registers her




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                  children for summer camps, or sends them off to a new school, she is re-traumatized by the

                  sight of this sick sexual predator’s name on their birth certificates. To date, COLUMBIA

                  UNIVERSITY, The TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

                  PRESBYTERIAN HOSPITAL, and their agents, servants, and/or employees have refused to

                  issue either an apology, or a letter which will allow the removal of ROBERT HADDEN’s

                  name from her children’s birth certificates.

               150. Because Defendant "CORP. ENTITIES"’ Chaperones stood by, silently, as ROBERT

                  HADDEN sexually exploited and abused Plaintiff JANE DOE #19 - and even left the

                  examination room before the “examination” was complete - JANE DOE #19 reasonably

                  believed that ROBERT HADDEN was conducting legitimate medical treatment while he

                  was ogling, groping, verbally assaulting, and physically abusing, violating, sexually abusing,

                  and penetrating her, although she now knows that ROBERT HADDEN’s conduct was, in

                  fact, sexual exploitation and abuse. Despite the "CORP. ENTITIES"’ chaperones’ first-hand

                  observation of the abuse, and "CORP. ENTITIES" prior reports about ROBERT HADDEN’s

                  sexual misconduct, Defendant "CORP. ENTITIES" and their agents, servants and employees

                  actively concealed the sexually exploitative behavior and abuse being perpetrated by

                  ROBERT HADDEN, as well as the complaints of HADDEN’s sexually exploitative behavior

                  and abuse, and inexplicably continued to allow ROBERT HADDEN to have unfettered

                  sexual access to COLUMBIA UNIVERSITY MEDICAL CENTER, NEW YORK-

                  PRESBYTERIAN HOSPITAL, and Defendant "CORP. ENTITIES"’ female patient

                  populations. Based on the words and conduct of each of the defendants, their agents,

                  servants, and/or employees, plaintiff was induced to not file a complaint earlier. Further,

                  plaintiff has been emotionally traumatized by the defendants’ conduct and abuse, and has




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                  lacked the capacity to deal with, and confront, the important legal issues and rights herein

                  until the present.

               151. Finally, plaintiffs have a good-faith reason to believe COLUMBIA UNIVERSITY, THE

                  TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL,

                  and defendant "CORP. ENTITIES" have colluded with ROBERT HADDEN in order to

                  enable and permit ROBERT HADDEN to apply, and obtain approval, for certain “disability

                  benefits” that enable ROBERT HADDEN to continue to receive financial support and enjoy

                  what might otherwise be considered a paid, “early retirement”. Defendants’ collective

                  complicity - and active fraud - in helping ROBERT HADDEN to support himself financially

                  after sexually, and feloniously, abusing countless female patients over the course of two-

                  decades is worthy of federal criminal prosecution, and intense public scrutiny. Further, it

                  directly causes JANE DOE #19 to feel further exploited, marginalized and trivialized.

                                                     JANE DOE #21

               152. Plaintiff JANE DOE #21 was born in 1972, and currently resides in the State of New York.

                  Plaintiff JANE DOE #21 was an OBGYN patient of defendants COLUMBIA UNIVERSITY,

                  THE NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN

                  MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL CENTER; COLUMBIA-

                  PRESBYTERIAN MEDICAL CENTER, EAST SIDE ASSOCIATES; EAST SIDE

                  ASSOCIATES; THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW

                  YORK; COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND SURGEONS;

                  PRESBYTERIAN         HOSPITAL      PHYSICIAN       SERVICES      ORGANIZATION,          INC.;

                  COLUMBIA-CORNELL            CARE,      LLC;     COLUMBIA         CORNELL        NETWORK

                  PHYSICIANS, INC. (Hereinafter “CORP. ENTITIES”) and their agent, servant, and/or




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                  employee ROBERT HADDEN, during which time JANE DOE #21 was serially sexually

                  exploited and abused by ROBERT HADDEN — who was enabled by the acts and omissions

                  of the within named defendants and “CORP. ENTITIES”.

               153. Plaintiff JANE DOE #21 saw ROBERT HADDEN at “CORP. ENTITIES” medical

                  facilities between June 2003 and March 2011 for what was supposed to be gynecological and

                  obstetrical care and treatment. Beginning with JANE DOE #21’s initial office visit,

                  defendant ROBERT HADDEN began subjecting her to a course of predatory grooming,

                  boundary violating, mental, emotional, and physical sexual exploitation and abuse. During

                  the visits, ROBERT HADDEN assailed JANE DOE #21 with a barrage of wily,

                  inappropriate, invasive and exploitive questions and statements about her body, and physical

                  appearance, sexual history, her sexuality and race. ROBERT HADDEN’s approach to

                  grooming was a mix of being awkward, authoritative, self-deprecating, disarming, self-

                  pitying, alarming, and overtly offensive. On multiple occasions ROBERT HADDEN made

                  inappropriate, gratuitous remarks about JANE DOE #21’s body and physical appearance.

               154. While ROBERT HADDEN was actively and verbally breaking down JANE DOE #21’s

                  boundaries, he forced JANE DOE #21 to answer questions about the number of sexual

                  partners she had, the kinds of sexual acts she engaged in, and peppering her with a series of

                  other irrelevant and medically inappropriate questions for long periods while ogling and

                  groping her breasts and unclothed body. At every visit ROBERT HADDEN required JANE

                  DOE #21 to get naked - in his presence - as he ogled and exploited her. A Chaperone was

                  present in the room during some of the verbal and physical assaults and witnessed ROBERT

                  HADDEN’s verbal and physical sexual abuse firsthand, yet did nothing to prevent or stop

                  ROBERT HADDEN’s sexual exploitation and abuse of Plaintiff JANE DOE #21. Other




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                  times, a Chaperone was not present - or would leave the room before the “examination” was

                  complete at which point ROBERT HADDEN would continue to physically sexually exploit

                  and abuse JANE DOE #21. This included, but is not limited to, performing serial, prolonged,

                  and medically inappropriate breast examinations, serial and unwarranted, non-indicated and

                  medically-inappropriate PAP smears and vaginal exams. All the while, ROBERT HADDEN

                  would engage in idle chatter or begin divulging wholly improper and inappropriate personal

                  information about himself and his family - all in furtherance of his never-ending sexual

                  exploitation and grooming of female patients. During the serial, and medically non-

                  indicated, unwarranted and unnecessary breast and vaginal examinations that ROBERT

                  HADDEN performed at practically every visit, ROBERT HADDEN would massage JANE

                  DOE #21’s breasts for prolonged periods of time while making idle chatter about irrelevant

                  topics. During several of these “breast examinations” ROBERT HADDEN “complimented”

                  the appearance of JANE DOE #21’s breasts and how they felt to him. During the serial,

                  unwarranted, unnecessary, and medically-non-indicated vaginal examinations and PAP

                  smears, ROBERT HADDEN would penetrate JANE DOE #21’s vagina by inserting his

                  fingers — with ungloved hands — into JANE DOE #21’s vagina in a non-medical manner.

               155. Following the delivery of JANE DOE #21’s children, ROBERT HADDEN was listed as the

                  physician in attendance at their births. During the postpartum periods, ROBERT HADDEN

                  continued to sexually exploit and abuse JANE DOE #21. During several of the office visits,

                  while JANE DOE #21’s breasts were engorged, ROBERT HADDEN insisted that breast

                  examinations were necessary. After making JANE DOE #21 remove her clothing, for no

                  legitimate medical purpose, ROBERT HADDEN proceeded to grope and cup JANE DOE

                  #21’s breasts. During these prolonged, and wholly medically unnecessary “breast




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                   examinations”, ROBERT HADDEN proceeded to pinch, squeeze, and tug on JANE DOE

                   #21’s breasts so as to express breast milk from her nipples. JANE DOE #21 has endured

                   indescribable conflict, confusion, and mental injury due to her inability to comprehend the

                   reasons and level of depravity of the abuse inflicted upon her by ROBERT HADDEN.

                   Despite sharing these accounts with her husband back when they were happening, she was

                   met with the normal and customary responses received by the other women mentioned

                   herein which is a version of ‘he’s the doctor, what’s he’s doing must be ok’.

               156. ROBERT HADDEN was well aware of the cognitive dissonance that his patients - who he

                   was sexually abusing - would experience with regard to their inability to come to grips with

                   the unfathomable idea that their own medical doctor was sexually exploiting and abusing

                   them. ROBERT HADDEN used this knowledge and medical training to his advantage while

                   leveraging his position of status and authority bestowed on him by COLUMBIA

                   UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

                   PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", to his benefit, and in furtherance

                   of his scheme to sexually abuse and exploit as many women as possible under the guise of

                   performing medical procedures. As a result, ROBERT HADDEN was enabled to sexually

                   abuse countless female patients of COLUMBIA UNIVERSITY and NEW YORK-

                   PRESBYTERIAN HOSPITAL, in a serial fashion, while carrying out his sick fantasies

                   surrounding doctor sexual abuse.

               157. These events are not isolated, and they were not done outside the knowledge and awareness

                   of his employers ("CORP. ENTITIES"). ROBERT HADDEN was known as “a shark” - who

                   knew how to outmaneuver chaperones, make quick hits at sexually abusing female patients,

                   and keep going - amongst the medical assistants and chaperones with whom he worked. At




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                  least one nurse who worked with ROBERT HADDEN in 1992-1993 walked in on ROBERT

                  HADDEN sexually abusing a female patient at defendant COLUMBIA UNIVERSITY’s

                  Audubon Clinic. But when the nurse reported the abuse ROBERT HADDEN was

                  committing to her supervisor, the supervisor’s response was for her to just “keep quiet”,

                  “stay with your doctor” and “don’t let him get himself in trouble”. COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

                  PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", have created an environment that

                  was not only conducive to doctor sexual assault, but actually enabled it. By failing to

                  properly educate, train, empower, and support the medical assistants and chaperones,

                  COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW

                  YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES" created an environment

                  where patients were duped into believing that there was someone in the examination room

                  who would keep them safe. But, in reality, the hidden imbalance of power that exists

                  between the chaperones and medical doctors - where nurses are afraid to speak-up for fear of

                  losing their jobs - has the practical effect of making doctor sexual abuse appear to be

                  legitimate medical care.

               158. During her last office visit with ROBERT HADDEN in 2011, JANE DOE #21 observed

                  ROBERT HADDEN acting abnormal - even for ROBERT HADDEN. She had the thought

                  that maybe he was taking drugs. However, to date, COLUMBIA UNIVERSITY, THE

                  TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL,

                  and "CORP. ENTITIES" have failed to inform any of their patients that ROBERT HADDEN

                  is actually a convicted sexual predator. Instead of disclosing to their patients, and the public

                  at large, that they had exposed their female patients to a sexual predator for over 20-years,




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                   the defendants and "CORP. ENTITIES", including COLUMBIA UNIVERSITY and THE

                   TRUSTEES OF COLUMBIA UNIVERSITY, kept ROBERT HADDEN’s profile and

                   photograph on the CUMC.edu website for several years after ROBERT HADDEN was

                   indicted for sexually exploiting and abusing six (6) of their patients. Despite the fact that

                   ROBERT HADDEN’s criminal prosecution included the support of the Manhattan District

                   Attorney -- along with nineteen (19) survivors-witnesses of ROBERT HADDEN’s sexual

                   abuse, including a nurse-witness from defendant’s Audubon Clinic who worked with

                   ROBERT HADDEN and saw him sexually abusing a young female hispanic patient back in

                   1992-1993 -- COLUMBIA UNIVERSITY and THE TRUSTEES OF COLUMBIA

                   UNIVERSITY have held ROBERT HADDEN out as a reputable doctor who had an

                   impeccable record for patient care.

               159. For the sake of completeness, ROBERT HADDEN has pleaded guilty in Criminal Court to

                   sexually abusing both of the two-other patients referenced above. One by licking her vagina

                   during a purported vaginal examination - which was during the second time that the patient

                   stated that ROBERT HADDEN had done it. The other is when ROBERT HADDEN pleaded

                   guilty to sexually abusing another female patient, who ROBERT HADDEN knew to be HIV

                   positive, with his ungloved hand.

               160. Further, as a result of being listed as the physician in attendance at the birth of JANE DOE

                   #21’s children, the name of ROBERT HADDEN - a convicted sexual felon - is currently

                   present on these children’s original birth certificates. Every time JANE DOE #21 registers

                   her children for summer camps, or sends them off to a new school, she is re-traumatized by

                   the sight of this sick sexual predator’s name on their birth certificates. To date, COLUMBIA

                   UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-




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                  PRESBYTERIAN HOSPITAL, and their agents, servants, and/or employees have refused to

                  issue either an apology, or a letter which will allow the removal of ROBERT HADDEN’s

                  name from her children’s birth certificates.

               161. Because Defendant "CORP. ENTITIES"’ Chaperones stood by, silently, as ROBERT

                  HADDEN sexually exploited and abused Plaintiff JANE DOE #21 - and even left the

                  examination room, during the abuse, and before the “examination” was complete - JANE

                  DOE #21 reasonably believed that ROBERT HADDEN was conducting legitimate medical

                  treatment while he was ogling, groping, verbally assaulting, and physically abusing,

                  violating, sexually abusing, and penetrating her, although she now knows that ROBERT

                  HADDEN’s conduct was, in fact, sexual exploitation and abuse. Despite the "CORP.

                  ENTITIES"’ chaperones’ first-hand observation of the abuse, and "CORP. ENTITIES" prior

                  reports about ROBERT HADDEN’s sexual misconduct, Defendant "CORP. ENTITIES" and

                  their agents, servants and employees actively concealed the sexually exploitative behavior

                  and abuse being perpetrated by ROBERT HADDEN, as well as the complaints of

                  HADDEN’s sexually exploitative behavior and abuse, and inexplicably continued to allow

                  ROBERT HADDEN to have unfettered sexual access to COLUMBIA UNIVERSITY

                  MEDICAL CENTER, NEW YORK-PRESBYTERIAN HOSPITAL, and Defendant "CORP.

                  ENTITIES"’ female patient populations. Based on the words and conduct of each of the

                  defendants, their agents, servants, and/or employees, plaintiff was induced to not file a

                  complaint earlier. Further, plaintiff has been emotionally traumatized by the defendants’

                  conduct and abuse, and has lacked the capacity to deal with, and confront, the important

                  legal issues and rights herein until the present.




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                                                     JANE DOE #22

               162. Plaintiff JANE DOE #22 was born in 1978, and currently resides in the State of New York.

                  Plaintiff JANE DOE #22 was an OBGYN patient of defendants COLUMBIA UNIVERSITY,

                  THE NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN

                  MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL CENTER; COLUMBIA-

                  PRESBYTERIAN MEDICAL CENTER, EAST SIDE ASSOCIATES; EAST SIDE

                  ASSOCIATES; THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW

                  YORK; COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND SURGEONS;

                  PRESBYTERIAN         HOSPITAL     PHYSICIAN       SERVICES     ORGANIZATION,        INC.;

                  COLUMBIA-CORNELL            CARE,      LLC;    COLUMBIA        CORNELL        NETWORK

                  PHYSICIANS, INC. (Hereinafter “CORP. ENTITIES”) and their agent, servant, and/or

                  employee ROBERT HADDEN, during which time JANE DOE #22 was serially sexually

                  exploited and abused by ROBERT HADDEN — who was enabled by the acts and omissions

                  of the within named defendants and “CORP. ENTITIES”.

               163. Plaintiff JANE DOE #22 saw ROBERT HADDEN at “CORP. ENTITIES” medical

                  facilities between December 2006 and August 2012 for what was supposed to be

                  gynecological and obstetrical care and treatment. Beginning with JANE DOE #22’s initial

                  office visit, defendant ROBERT HADDEN began subjecting her to a course of predatory

                  grooming, boundary violating, mental, emotional, and physical sexual exploitation and

                  abuse. During the visits, ROBERT HADDEN assailed JANE DOE #22 with a barrage of

                  wily, inappropriate, invasive and exploitive questions and statements about her body, and

                  physical appearance, sexual history, whether her partner satisfied her, whether she

                  experienced orgasms and the use of pornography and sex “toys”. ROBERT HADDEN’s




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                  approach to grooming was a mix of being awkward, authoritative, self-deprecating,

                  disarming, self-pitying, alarming, and overtly offensive. On multiple occasions ROBERT

                  HADDEN made inappropriate, gratuitous remarks about JANE DOE #22’s body and

                  physical appearance.

               164. While ROBERT HADDEN was actively and verbally breaking down JANE DOE #22’s

                  boundaries, he forced JANE DOE #22 to answer questions about the number of sexual

                  partners and sexual acts she had engaged in, whether or not her partner was able “satisfy

                  her”, and peppered her with a series of irrelevant and medically inappropriate questions for

                  long periods while ogling and groping her breasts and unclothed body. At every visit

                  ROBERT HADDEN required JANE DOE #22 to get completely naked - in his presence - as

                  he ogled and exploited her. A Chaperone was present in the room during some of the verbal

                  and physical assaults and witnessed ROBERT HADDEN’s verbal and physical sexual abuse

                  firsthand, yet did nothing to prevent or stop ROBERT HADDEN’s sexual exploitation and

                  abuse of Plaintiff JANE DOE #22. Often times the Chaperone would leave the room before

                  the “examination” was complete at which point ROBERT HADDEN would continue to

                  physically sexually exploit and abuse JANE DOE #22. This included, but is not limited to,

                  performing serial, prolonged, and medically inappropriate breast examinations, and serial,

                  unwarranted,   unnecessary,   and   medically-inappropriate   PAP smears      and   vaginal

                  examinations. All the while, ROBERT HADDEN would engage in idle chatter or begin

                  divulging wholly improper and inappropriate personal information about himself and his

                  family - all in furtherance of his never-ending sexual exploitation and grooming of female

                  patients. During the serial, and medically non-indicated vaginal examinations and PAP-




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                  smears that ROBERT HADDEN performed, ROBERT HADDEN would repeatedly

                  penetrate JANE DOE #22 by inserting his fingers into JANE DOE #22’s vagina.

               165. During the postpartum period, ROBERT HADDEN continued to sexually exploit and abuse

                  JANE DOE #22. During these office visits, while JANE DOE #22’s breasts were engorged,

                  ROBERT HADDEN insisted that breast examinations were necessary - despite the fact that

                  she stated unequivocally that she was not experiencing any problems breastfeeding her

                  babies. After making JANE DOE #22 remove her clothing, for no legitimate medical

                  purpose, ROBERT HADDEN proceeded to grope and cup JANE DOE #22’s breasts. During

                  this prolonged, and wholly medically unnecessary “breast examination”, ROBERT

                  HADDEN began to pinch, squeeze, and tug on JANE DOE #22’s nipples so as to express

                  breast milk from her breasts. JANE DOE #22 has endured indescribable conflict, confusion,

                  and mental injury due to her inability to comprehend the reasons for — and level of

                  depravity of — the abuse inflicted upon her by ROBERT HADDEN, including while she

                  was pregnant and in the postpartum periods. Despite sharing these accounts with her

                  husband back when they were happening, she was met with the normal and customary

                  responses received by the other women mentioned herein which is a version of ‘he’s the

                  doctor, I’m sure he knows what he’s doing’.

               166. ROBERT HADDEN was well aware of the cognitive dissonance that his patients - who he

                  was sexually abusing - would experience with regard to their inability to come to grips with

                  the unfathomable thought that their own medical doctor was sexually exploiting and abusing

                  them. ROBERT HADDEN used this knowledge and medical training to his advantage while

                  leveraging his position of status and authority bestowed on him by COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-




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                   PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", to his benefit, advantage, and in

                   furtherance of his scheme to sexually abuse and exploit as many women as possible under

                   the guise of performing medical procedures. As a result, ROBERT HADDEN was enabled to

                   sexually abuse countless female patients of COLUMBIA UNIVERSITY and NEW YORK-

                   PRESBYTERIAN HOSPITAL, in a serial fashion, while carrying out his sick fantasies

                   surrounding doctor sexual abuse.

               167. These events are not isolated, and they were not done outside the knowledge and awareness

                   of his employers ("CORP. ENTITIES"). ROBERT HADDEN was known as “a shark” - who

                   knew how to outmaneuver chaperones, make quick hits at sexually abusing female patients,

                   and keep going - amongst the medical assistants and chaperones with whom he worked. At

                   least one nurse who worked with ROBERT HADDEN in 1992-1993 walked in on ROBERT

                   HADDEN sexually abusing a female patient at defendant COLUMBIA UNIVERSITY’s

                   Audubon Clinic. But when the nurse reported the abuse ROBERT HADDEN was

                   committing to her supervisor, the supervisor’s response was for her to just “keep quiet”,

                   “stay with your doctor” and “don’t let him get himself in trouble”. COLUMBIA

                   UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

                   PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", have created an environment that

                   was not only conducive to doctor sexual assault, but actually enabled it. By failing to

                   properly educate, train, empower, and support the medical assistants and chaperones,

                   COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW

                   YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES" created an environment

                   where patients were duped into believing that there was someone in the examination room

                   who would keep them safe. But, in reality, the hidden imbalance of power that exists




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                  between the chaperones and medical doctors - where nurses are afraid to speak-up for fear of

                  losing their jobs - has the practical effect of making doctor sexual abuse appear to be

                  legitimate medical care.

               168. For the sake of completeness, ROBERT HADDEN has pleaded guilty in Criminal Court to

                  sexually abusing both of the two-other patients referenced above. One by licking her vagina

                  during a purported vaginal examination - which was during the second time that the patient

                  stated that ROBERT HADDEN had done it. The other is when ROBERT HADDEN pleaded

                  guilty to sexually abusing another female patient, who ROBERT HADDEN knew to be HIV

                  positive, with his ungloved hand.

               169. Because Defendant "CORP. ENTITIES"’ Chaperones stood by, silently, as ROBERT

                  HADDEN sexually exploited and abused Plaintiff JANE DOE #22 - and even left the

                  examination room before the “examination” was complete - JANE DOE #22 reasonably

                  believed that ROBERT HADDEN was conducting legitimate medical treatment while he

                  was ogling, groping, verbally assaulting, and physically abusing, violating, sexually abusing,

                  and penetrating her, although she now knows that ROBERT HADDEN’s conduct was, in

                  fact, sexual exploitation and abuse. Despite the "CORP. ENTITIES"’ chaperones’ first-hand

                  observation of the abuse, and "CORP. ENTITIES" prior reports about ROBERT HADDEN’s

                  sexual misconduct, Defendant "CORP. ENTITIES" and their agents, servants and employees

                  actively concealed the sexually exploitative behavior and abuse being perpetrated by

                  ROBERT HADDEN, as well as the complaints of HADDEN’s sexually exploitative behavior

                  and abuse, and inexplicably continued to allow ROBERT HADDEN to have unfettered

                  sexual access to COLUMBIA UNIVERSITY MEDICAL CENTER, NEW YORK-

                  PRESBYTERIAN HOSPITAL, and Defendant "CORP. ENTITIES"’ female patient




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                  populations. Based on the words and conduct of each of the defendants, their agents,

                  servants, and/or employees, plaintiff was induced to not file a complaint earlier. Further,

                  plaintiff has been emotionally traumatized by the defendants’ conduct and abuse, and has

                  lacked the capacity to deal with, and confront, the important legal issues and rights herein

                  until the present.

                                                     JANE DOE #23

               170. Plaintiff JANE DOE #23 was born in 1983, and currently resides in the State of

                  Washington. JANE DOE #23 was a gynecology patient of defendants COLUMBIA

                  UNIVERSITY, THE NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA

                  PRESBYTERIAN         MEDICAL      CENTER;      COLUMBIA        UNIVERSITY       MEDICAL

                  CENTER;       COLUMBIA-PRESBYTERIAN              MEDICAL       CENTER,       EAST     SIDE

                  ASSOCIATES; EAST SIDE ASSOCIATES; THE TRUSTEES OF COLUMBIA

                  UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA UNIVERSITY COLLEGE

                  OF PHYSICIANS AND SURGEONS; PRESBYTERIAN HOSPITAL PHYSICIAN

                  SERVICES ORGANIZATION, INC.; COLUMBIA-CORNELL CARE, LLC; COLUMBIA

                  CORNELL NETWORK PHYSICIANS, INC., (Hereinafter “CORP. ENTITIES”) and their

                  agent, servant, and/or employee ROBERT HADDEN, during which time JANE DOE #23

                  was serially sexually exploited and abused by ROBERT HADDEN — who was enabled by

                  the acts and omissions of the within named defendants and “CORP. ENTITIES”.

               171. Plaintiff JANE DOE #23 saw ROBERT HADDEN at “CORP. ENTITIES” medical

                  facilities for what was supposed to be gynecologic care and treatment. JANE DOE #23 is a

                  high-end fashion model, who was also a student during the time she was a patient at

                  defendant COLUMBIA UNIVERSITY and "CORP. ENTITIES". Further, JANE DOE #23




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                  was referred to ROBERT HADDEN by a physician who employed JANE DOE #23’s mother

                  on his office staff. ROBERT HADDEN was aware of this referral and used the leverage he

                  had with the referring physician - and the power the referring physician had over JANE DOE

                  #23’s mother - in order to sexually exploit and abuse JANE DOE #23.

               172. Beginning with JANE DOE #23’s initial office visit, defendant ROBERT HADDEN began

                  subjecting her to a course of predatory grooming, boundary violating, mental, emotional, and

                  physical sexual abuse. During the visits, ROBERT HADDEN assailed JANE DOE #23 with

                  a barrage of wily, inappropriate, invasive and exploitive questions and statements about her

                  heritage, appearance, sexual history, and sexual activity. ROBERT HADDEN’s approach to

                  grooming JANE DOE #23 was a mix of being authoritative, awkward, self-deprecating,

                  disarming, self-pitying, alarming, fear mongering, and overtly offensive.

               173. While ROBERT HADDEN was actively and verbally breaking down JANE DOE #23’s

                  boundaries, he forced JANE DOE #23 to answer questions about herself and her partner, and

                  peppered her with a series of irrelevant and medically inappropriate questions for long

                  periods while ogling and groping her breasts and unclothed body. While ogling and groping

                  JANE DOE #23’s unclothed body, ROBERT HADDEN repeatedly told JANE DOE #23

                  “you’re perfection”, “your boyfriend is so lucky to have you” and “he would be crazy to lose

                  you”.

               174. A Chaperone was present in the room during many of the verbal and physical assaults and

                  witnessed ROBERT HADDEN’s verbal and physical sexual abuse firsthand, yet did nothing

                  to prevent or stop ROBERT HADDEN’s sexual exploitation and abuse of Plaintiff JANE

                  DOE #23. Other times, a Chaperone was not present - or would leave the room before the

                  “examination” was complete at which point ROBERT HADDEN would continue to




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                  physically sexually exploit and abuse JANE DOE #23. At one visit, ROBERT HADDEN

                  instructed the Chaperone to leave the room in the middle of the sexually exploitative and

                  abusive “examination” — with JANE DOE #23 laying unclothed on the examination table.

                  The Chaperone became startled, offering JANE DOE #23 only a look of sorrow as if to say

                  “I know I shouldn’t be leaving”, yet still left the room and did absolutely nothing to protect

                  JANE DOE #23 from the sexual exploitation and abuse that the Chaperone knew was taking

                  place during the visit — by both the Chaperone and ROBERT HADDEN.

               175. The abuse perpetrated by ROBERT HADDEN upon JANE DOE #23 includes, but is not

                  limited to, performing serial, prolonged, medically-inappropriate, unnecessary and

                  unwarranted breast examinations, serial, prolonged, medically-inappropriate, unnecessary,

                  and unwarranted PAP Smears, vaginal exams, and “mole-checks” where ROBERT

                  HADDEN would require JANE DOE #23 to lay on the table unclothed while he rubbed his

                  hands up and down her body, groped her breasts, and “examined” her entire body and all

                  private areas. All the while, ROBERT HADDEN would engage in idle chatter about JANE

                  DOE #23, her body, or her boyfriend in furtherance of ROBERT HADDEN’s never-ending

                  sexual exploitation and grooming of female patients. During the serial, prolonged,

                  medically-inappropriate unnecessary and unwarranted vaginal examinations that ROBERT

                  HADDEN performed at practically every single visit, ROBERT HADDEN would repeatedly

                  penetrate JANE DOE #23 by inserting his fingers into JANE DOE #23’s vagina. All of these

                  so-called “examinations” were done in a deviant and sexual manner solely for ROBERT

                  HADDEN’s own prurient, deviant, sexual gratification.

               176. During one of the later visits, ROBERT HADDEN instructed JANE DOE #23 to “be the

                  last patient of the day”. At the time, JANE DOE #23 thought this would enable her to more




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                   easily schedule an appointment to defendant "CORP. ENTITIES"’ busy medical offices.

                   JANE DOE #23, unknowingly exchanged her trust as a patient for the grooming and

                   exploitation being offered by ROBERT HADDEN, and dutifully returned to defendants’

                   offices for her scheduled follow up visits for more “examinations” as the last patient of the

                   day.

               177. Even as the last patient of the day, a Chaperone would still be in the office. But ROBERT

                   HADDEN would tell the Chaperone to leave the room. JANE DOE #23 thought it was

                   strange that ROBERT HADDEN would tell the Chaperone to leave, but she was just grateful

                   to be able to have an appointment. During the exploitative and abusive visits, ROBERT

                   HADDEN would spend a long time doing PAP Smears and vaginal examinations. Since

                   ROBERT HADDEN was one of the first gynecologists that JANE DOE #23 saw, this didn’t

                   seem abnormal at the time because she had very little to compare it to. During her final “last

                   patient of the day” visit, ROBERT HADDEN instructed JANE DOE #23 that she needed yet

                   another vaginal examination. During the so called “examination” , while JANE DOE #23

                   was lying on the examination table, with her legs draped, and her view obstructed, ROBERT

                   HADDEN dipped his head down and surreptitiously touched his mouth to JANE DOE #23’s

                   vagina. Immediately as JANE DOE #23 felt his mouth on her vagina, she thought to herself

                   “that could not have just happened, did it, did that really just happen?” Confused, JANE

                   DOE #23 got dressed and left the office. JANE DOE #23 did not return to defendant

                   ROBERT HADDEN after that final visit during which he put his mouth on her vagina.

               178. ROBERT HADDEN was well aware of the cognitive dissonance that his patients - who he

                   was sexually abusing - would experience with regard to their inability to come to grips with

                   the unfathomable idea that their own medical doctor was sexually exploiting and abusing




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                   them - let alone putting his mouth on their vaginas during what was supposed to be a clinical

                   pelvic examination. ROBERT HADDEN used this knowledge and medical training to his

                   advantage while leveraging his position of status and authority bestowed on him by

                   COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW

                   YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", to his advantage, and in

                   furtherance of his scheme to sexually abuse and exploit as many women as possible under

                   the guise of performing medical procedures. As a result, ROBERT HADDEN was enabled to

                   sexually abuse countless female patients of COLUMBIA UNIVERSITY and NEW YORK-

                   PRESBYTERIAN HOSPITAL, in a serial fashion, while carrying out his sick fantasies

                   surrounding doctor sexual abuse.

               179. These events are not isolated, and they were not done outside the knowledge and awareness

                   of his employers ("CORP. ENTITIES"). ROBERT HADDEN was known as “a shark” - who

                   knew how to outmaneuver chaperones, make quick hits at sexually abusing female patients,

                   and keep going - amongst the medical assistants and chaperones with whom he worked. At

                   least one nurse who worked with ROBERT HADDEN in 1992-1993 walked in on ROBERT

                   HADDEN sexually abusing a female patient at defendant COLUMBIA UNIVERSITY’s

                   Audubon Clinic. However, when the nurse reported the abuse ROBERT HADDEN was

                   committing to her supervisor, the supervisor’s response was for her to just “keep quiet”,

                   “stay with your doctor” and “don’t let him get himself in trouble”. COLUMBIA

                   UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

                   PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", have created an environment that

                   was not only conducive to doctor sexual assaults, but actually enabled it. By failing to

                   properly educate, train, empower, and support the medical assistants and chaperones,




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                  COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW

                  YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES" created an environment

                  where patients were duped into believing that there was someone in the examination room

                  who would keep them safe. But, in reality, the hidden imbalance of power that existed

                  between the chaperones and medical doctors - where the chaperones were afraid to speak-up

                  for fear of losing their jobs - had the practical effect of making doctor sexual abuse appear to

                  be legitimate medical care.

               180. For the sake of completeness, ROBERT HADDEN has pleaded guilty in Criminal Court to

                  sexually abusing two-other patients female patients referenced above. One by licking her

                  vagina during a purported vaginal examination - which was the second time that the patient

                  stated ROBERT HADDEN had done it. And the other is when ROBERT HADDEN pleaded

                  guilty to sexually abusing a separate female patient, who ROBERT HADDEN knew to be

                  HIV positive, with his ungloved hands.

               181. Because Defendant "CORP. ENTITIES"’ Chaperones stood by silently and watched - and

                  also actively participated in the sexual exploitation, abuse, and coverup of ROBERT

                  HADDEN’s serial sexual exploitation and abuse by validating the abuse as a form of

                  legitimate medical treatment, condoning the sexually exploitative and abusive acts,

                  pretending as thought the abuse was legitimate medical treatment, and failing to prevent or

                  stop ROBERT HADDEN - JANE DOE #23 reasonably believed that ROBERT HADDEN

                  must have been conducting legitimate medical treatment while he was ogling, groping,

                  verbally assaulting, and physically abusing, violating, sexually abusing, and penetrating her,

                  although she now knows that ROBERT HADDEN’s conduct was, in fact, sexual exploitation

                  and abuse. Despite the "CORP. ENTITIES"’ chaperones’ first-hand observation of the abuse




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                  and ROBERT HADDEN’s history of evading their observation by telling the Chaperones to

                  leave the room, and "CORP. ENTITIES" prior reports about ROBERT HADDEN’s sexual

                  misconduct, Defendant "CORP. ENTITIES" and their agents, partners, servants and

                  employees actively concealed JANE DOE #23’s abuse and ROBERT HADDEN’s sexually

                  exploitative behavior, and inexplicably continued to allow ROBERT HADDEN to have

                  unfettered sexual access to COLUMBIA UNIVERSITY MEDICAL CENTER, NEW

                  YORK-PRESBYTERIAN HOSPITAL, and Defendant "CORP. ENTITIES"’ female patient

                  populations. Based on the words and conduct of each of the defendants, their agents,

                  servants, and/or employees, plaintiff was induced to not file a complaint earlier. Further,

                  plaintiff has been emotionally traumatized by the defendants’ conduct and abuse, and has

                  lacked the capacity to deal with, and confront, the important legal issues and rights herein

                  until the present.

               182. Finally, plaintiffs have a good-faith reason to believe COLUMBIA UNIVERSITY, THE

                  TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL,

                  and defendant "CORP. ENTITIES" have colluded with ROBERT HADDEN to permit and

                  enable ROBERT HADDEN to apply for, and obtain, certain “disability benefits” which now

                  allow ROBERT HADDEN to receive financial compensation while enjoying what may

                  otherwise be considered a “paid, early retirement” from the practice of medicine.

                  Defendants’ collective complicity - and active fraud - in helping ROBERT HADDEN to

                  support himself financially after sexually, and feloniously, abusing countless female patients

                  over the course of two-decades is worthy of federal criminal prosecution, and intense public

                  scrutiny. Particularly in this day and age, the use of either Corporate, or State and/or Federal




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                  taxpayer-dollars for the financial benefit of a convicted sexual predator seems like the exact

                  kind of thing that would be a notable and newsworthy story.

                                                      JANE DOE #26

               183. Plaintiff JANE DOE #26 was born in 1977, and currently resides in the State of New York.

                  JANE DOE #26 was an OBGYN patient of defendants COLUMBIA UNIVERSITY, THE

                  NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN

                  MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL CENTER; COLUMBIA-

                  PRESBYTERIAN MEDICAL CENTER, EAST SIDE ASSOCIATES; EAST SIDE

                  ASSOCIATES; THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW

                  YORK; COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND SURGEONS;

                  PRESBYTERIAN         HOSPITAL      PHYSICIAN       SERVICES       ORGANIZATION,         INC.;

                  COLUMBIA-CORNELL             CARE,      LLC;     COLUMBIA         CORNELL        NETWORK

                  PHYSICIANS, INC. (Hereinafter “CORP. ENTITIES”) and their agent, servant, and/or

                  employee ROBERT HADDEN, during which time JANE DOE #26 was serially sexually

                  exploited and abused by ROBERT HADDEN — who was enabled by the acts and omissions

                  of the within named defendants and “CORP. ENTITIES”.

               184. Plaintiff JANE DOE #26 saw ROBERT HADDEN at “CORP. ENTITIES” medical

                  facilities between December 2004 and June 2007 for what was supposed to be gynecological

                  and obstetrical care and treatment which included her pregnancy with her first child.

                  Beginning with JANE DOE #26’s initial office visit, defendant ROBERT HADDEN began

                  subjecting her to a course of predatory grooming, boundary violating, mental, emotional, and

                  physical sexual exploitation and abuse. During the visits, ROBERT HADDEN assailed

                  JANE DOE #26 with a barrage of wily, inappropriate, invasive and exploitive questions and




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                  statements about her sexual history, and the use of pornography. ROBERT HADDEN’s

                  approach to his predatory grooming tactics was a mix of being awkward, authoritative, self-

                  deprecating, disarming, self-pitying, alarming, and overtly offensive.

               185. While ROBERT HADDEN was actively and verbally breaking down JANE DOE #26’s

                  boundaries, he forced JANE DOE #26 to answer questions about the number of sexual

                  partners and orgasms she had experienced, whether or not her spouse/partner was able

                  “satisfy her”, and peppered her with a series of irrelevant and medically inappropriate

                  questions for long periods of time about the different kinds of sexual positions she enjoyed

                  while ogling her unclothed body. A Chaperone was rarely present in the room during the

                  verbal and physical assaults being levied by ROBERT HADDEN, and to the extent one was

                  present, nothing was done to prevent or stop ROBERT HADDEN’s sexual exploitation and

                  abuse of Plaintiff JANE DOE #26.

               186. During several of the assaults ROBERT HADDEN performed prolonged breast and vaginal

                  examinations in a rough and domineering manner, with his bare, ungloved hands. While

                  performing the serial, prolonged, and medically inappropriate breast examinations ROBERT

                  HADDEN would continue to groom JANE DOE #26 by disclosing personal and private

                  information about himself and his family. ROBERT HADDEN would routinely perform his

                  invasive and prolonged “examinations” of JANE DOE #26’s breasts while making her both

                  stand-up and lay down on the examining table.

               187. During another assault, ROBERT HADDEN make wholly inappropriate remarks about

                  JANE DOE #26’s breasts while remarking about inappropriate sexual activity, sexual

                  positions, and making unprofessional, offensive “dirty jokes” - all while JANE DOE #26

                  was unclothed and just trying to obtain basic medical care.




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               188. Because Defendant "CORP. ENTITIES"’ failed to provide Chaperones -- and when they did

                  provide Chaperones, the Chaperones stood by silently and/or left the room as ROBERT

                  HADDEN sexually exploited and abused plaintiff JANE DOE #26 -- JANE DOE #26

                  reasonably believed that ROBERT HADDEN was conducting legitimate medical treatment

                  while he was ogling, groping, verbally assaulting, and physically abusing, violating, sexually

                  abusing, and penetrating her, although she now knows that ROBERT HADDEN’s conduct

                  was, in fact, sexual exploitation and abuse. Despite the "CORP. ENTITIES"’ chaperones’

                  first-hand observation of the abuse, and "CORP. ENTITIES" prior reports about ROBERT

                  HADDEN’s sexual misconduct, Defendant "CORP. ENTITIES" and their agents, partners,

                  servants and employees inexplicably continued to allow ROBERT HADDEN to have

                  unfettered sexual access to COLUMBIA UNIVERSITY MEDICAL CENTER, NEW

                  YORK-PRESBYTERIAN HOSPITAL, and Defendant "CORP. ENTITIES"’ female patient

                  populations. Based on the words and conduct of each of the defendants, their agents,

                  servants, and/or employees, plaintiff was induced to not file a complaint earlier. Further,

                  plaintiff has been emotionally traumatized by the defendants’ conduct and abuse, and has

                  lacked the capacity to deal with, and confront, the important legal issues and rights herein

                  until the present.

               189. Further, the sexual abuse and exploitation committed by ROBERT HADDEN, and enabled

                  by "CORP. ENTITIES" including COLUMBIA UNIVERSITY, THE TRUSTEES OF

                  COLUMBIA UNIVERSITY, and NEW YORK PRESBYTERIAN HOSPITAL, continues to

                  profoundly and negatively affect JANE DOE #26 to this date knowing that ROBERT

                  HADDEN has still not been brought to justice, nor have the "CORP. ENTITIES" taken

                  responsibility for enabling the abuse to occur for over 20-years at their facilities.




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               190. Finally, defendants, their agents, servants, and/or employees had a moral, ethical, and legal

                   duty to timely and properly attend to and treat the within named patients in a manner that is

                   consistent with the standards of safe and accepted medical practices, free of sexual

                   exploitation, predatory grooming, sexual harassment and sexual abuse.

               191. Defendants, their agents, servants, and/or employees violated their duties by committing

                   and enabling the sexual exploitation, predatory grooming, sexual harassment and sexual

                   abuse of each of the within named plaintiffs - and countless of other female patients of

                   defendant CORP. ENTITIES.

               192. Defendants’ individual and collective violations of the duties owed to the herein named

                   plaintiffs, and countless other women, have resulted in permanent and severe injuries to the

                   herein named plaintiffs in an amount which exceeds the jurisdiction of all other courts.

                               DEFENDANT ROBERT HADDEN – THE PERPETRATOR

               193. Defendant ROBERT HADDEN, at all times mentioned herein was and is an adult male,

                   who worked at defendant "CORP. ENTITIES", and who plaintiffs are informed and believe

                   lives in the State of New Jersey during the period of time during which the predatory

                   grooming, sexual exploitation, molestation, harassment, and sexual abuse took place.

                   Plaintiffs are informed and believe, and on this basis state, that ROBERT HADDEN received

                   his medical degree from the New York Medical College in 1987 and completed his medical

                   internship and residency in Obstetrics and Gynecology at Columbia University in New York,

                   NY. Upon completion of his residency, ROBERT HADDEN was hired by Defendant "CORP.

                   ENTITIES" including COLUMBIA UNIVERSITY and THE TRUSTEES OF COLUMBIA

                   UNIVERSITY as a full-time gynecologist at COLUMBIA UNIVERSITY’s medical centers,

                   offices, hospitals, and related clinics, and was employed in that capacity until 2012, when




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                  Defendants allowed ROBERT HADDEN to quietly and surreptitiously take an alleged

                  “leave of absence”, with a financial bonus paid by Defendants and/or their related entities to

                  ROBERT HADDEN, in a deliberate and covert attempt to continue concealing ROBERT

                  HADDEN’s decades of sexual exploitation and abuse from Plaintiffs and the countless other

                  female patients that ROBERT HADDEN sexually abused over the course of more than two

                  (2) decades, and also to hide the real facts constituting the abuse from law enforcement, the

                  State of New York Medical Board/OPMC, the public at large, and other competing

                  universities and hospitals.

               194. During his twenty-year tenure at COLUMBIA UNIVERSITY and its related "CORP.

                  ENTITIES", Plaintiffs are informed and believe, and on this basis state, that ROBERT

                  HADDEN sexually exploited, abused and molested hundreds of female patients, including

                  Plaintiffs, through the use of his position, and authority as a full-time gynecologist employed

                  by defendant COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                  UNIVERSITY, and their related "CORP. ENTITIES", as well as their offices, clinics and

                  other entities and locations.

               195. It was only in 2012, when Defendant COLUMBIA UNIVERSITY, THE TRUSTEES OF

                  COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES", paid ROBERT

                  HADDEN a substantial financial bonus-incentive so that HADDEN would quietly resign —

                  such that Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                  UNIVERSITY, and their related "CORP. ENTITIES", could continue to actively conceal the

                  myriad complaints they had received about ROBERT HADDEN’s sexually abusive behavior

                  that had been perpetrated against and upon female patients over the course of the past couple




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                  decades — that the systematic sexual abuse, sexual exploitation, and molestation of female

                  patients being committed upon their premises and in their hospitals, offices and clinics by

                  ROBERT HADDEN was finally halted.

               196. At all times herein stated, ROBERT HADDEN was an agent, servant and/or employee of

                  Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,

                  and their related "CORP. ENTITIES", its medical clinics, facilities and locations, and/or was

                  under their complete control and/or direct supervision.

               197. ROBERT HADDEN was retained and/or contracted by Defendants COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP.

                  ENTITIES", as an Obstetrician-Gynecologist to provide medical care and treatment to

                  women as private patients, service patients, and also as students who were attending

                  COLUMBIA UNIVERSITY as undergraduate and graduate patients, many of whom had

                  never received any previous gynecological or obstetric care or treatment before. It was

                  through this position of access, trust and authority, that ROBERT HADDEN sexually

                  exploited and abused countless women in an effort to feed his insatiable and depraved sexual

                  desires. All of the sexually exploitative, manipulative, abusive and harassing conduct stated

                  herein was done for ROBERT HADDEN’s own sexual gratification, and was rooted in the

                  willingness to put his own deviant sexual desires above the need to provide safe and

                  professional medical services to Plaintiffs MARISSA HOECHSTETTER, JANE DOE #8,

                  JANE DOE #9, JANE DOE #10, JANE DOE #11, JANE DOE #12, JANE DOE #13, JANE

                  DOE #14, JANE DOE #15, JANE DOE #16, JANE DOE #17, JANE DOE #18, JANE DOE

                  #19, JANE DOE #21, JANE DOE #22, JANE DOE #23 and JANE DOE #26.




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               198. Since ROBERT HADDEN has prosecuted and convicted of a felony for the conduct stated

                  herein, Plaintiffs further seek attorneys’ fees against ROBERT HADDEN and CORP.

                  ENTITIES.

               DEFENDANTS COLUMBIA UNIVERSITY; THE NEW YORK AND PRESBYTERIAN
                  HOSPITAL; COLUMBIA PRESBYTERIAN MEDICAL CENTER; COLUMBIA
                  UNIVERSITY MEDICAL CENTER; COLUMBIA-PRESBYTERIAN MEDICAL
               CENTER, EAST SIDE ASSOCIATES; EAST SIDE ASSOCIATES; THE TRUSTEES OF
               COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA UNIVERSITY
                  COLLEGE OF PHYSICIANS AND SURGEONS; PRESBYTERIAN HOSPITAL
                 PHYSICIAN SERVICES ORGANIZATION, INC.; COLUMBIA-CORNELL CARE,
               LLC; and COLUMBIA CORNELL NETWORK PHYSICIANS, INC. (CORP. ENTITIES)
                                         - THE ENABLERS

               199. Defendant COLUMBIA UNIVERSITY at all times mentioned herein was and is a New

                  York Corporation, having its principal place of business in the State of New York, County of
                  New York. Plaintiffs are informed and believe COLUMBIA UNIVERSITY and "CORP.

                  ENTITIES" are part of a private research university, established on July 17, 1754, located in

                  New York, New York. Defendant COLUMBIA UNIVERSITY boasts of being “a world-
                  renowned Ivy League institution”, “a world-class university dedicated to teaching, research,

                  and clinical care”, and of having “an illustrious 250 year history, an impeccable record of

                  academic excellence and an extensive roster of distinguished alumni and faculty”.

                  COLUMBIA UNIVERSITY and its affiliated medical facilities including New York-
                  Presbyterian Hospital boast of having “More Top-Doctors Than Any Other U.S. hospital.”

                  Defendant COLUMBIA UNIVERSITY states as follows: “Columbia University expects all

                  officers of instruction, research, libraries, athletics, and administration; support staff; and
                  students to maintain the highest standards of ethical conduct.” Columbia University set forth

                  a Code of Ethics as follows:

                     Principles
                     The basic principles of Ethical Conduct are:

                     1. Be honest, ethical and truthful.




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                     2. Obey the law.

                     3. Follow University policies and procedures.
                     Procedures

                     1. Report conduct that concerns you. If you believe that an activity may be illegal,

                     unethical or otherwise troubling, you should report it to your supervisor.
                     2. An individual’s failure to live up to these principles may result in disciplinary

                     action, including suspension, termination, and monetary fines consistent with

                     University policy.
                     Respect for Others

                     Respect for others is the central principle that governs interactions between people

                     at Columbia University. Two primary expectations that flow from this principle are

                     to act with civility and to refrain from abuse of power. Respect for others is
                     expected in peer to peer relationships, between service providers and people within

                     and outside of the Columbia community, between people who are clients or

                     customers and service providers at the University, and within a supervisory context
                     (e.g., manager to employee and employee to manager).

                     Where should I go with a Concern?

                     “The first recommended resource for a clarification on a policy, regulation or law
                     is your direct supervisor.”

               200. Upon information and belief, Defendant COLUMBIA UNIVERSITY maintains in excess of

                  a $ 10,900,000,000.00 ($10.9 billion) endowment as of June 30, 2018, and a $
                  345,900,000.00 ($3.459 million) joint budget with New York Presbyterian Hospital for the

                  2018 fiscal year. Defendant COLUMBIA UNIVERSITY holds itself out to be one of the

                  world’s most elite, prestigious and reputable hospitals and higher learning institutions.

                  Defendant COLUMBIA UNIVERSITY deliberately crafted this public image in order to
                  actively conceal the fact that it employs a countless number of sexual predators in all areas

                  of its university - including ROBERT HADDEN - a serial sexual predator, who COLUMBIA




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                  UNIVERSITY, the TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP.

                  ENTITIES" enabled to serially sexual assault its female patients at their medical office and
                  clinics for over twenty (20) years.

               201. Defendant COLUMBIA UNIVERSITY at all times mentioned herein was and is a New

                  York Corporation, having its principal place of business in the State of New York, County of

                  New York.

               202. Each of the plaintiffs herein were patients of COLUMBIA UNIVERSITY, and/or their

                  agents, servants, employees, and CORP. ENTITIES.

               203. Defendant TRUSTEES OF COLUMBIA UNIVERSITY at all times mentioned herein was

                  and is a New York Corporation, having its principal place of business in the State of New

                  York, County of New York. Upon information and belief, THE BOARD OF TRUSTEES OF

                  COLUMBIA UNIVERSITY is the governing body of COLUMBIA UNIVERSITY and

                  exercises the ultimate dominion and control of same. THE BOARD OF TRUSTEES OF

                  COLUMBIA UNIVERSITY is comprised of a collection of well established, politically

                  connected, businesspeople from within, and outside of, the City of New York.

               204. Upon information and belief, Defendant THE TRUSTEES OF COLUMBIA UNIVERSITY

                  IN THE CITY OF NEW YORK (hereinafter "TRUSTEES"), has no parent corporation and

                  has no publicly held corporations that own 10% or more of its stock.

               205. Upon information and belief, Defendant “TRUSTEES” is a domestic not-for-profit

                  corporation organized and existing under and by virtue of the laws of the State of New York

                  with its principal offices located at 622 W. 168th Street, New York, NY 10032.

               206. Upon information and belief, Defendant “TRUSTEES” is a domestic not-for-profit

                  corporation organized and existing under and by virtue of the laws of the State of New York




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                   with its principal offices located at 622 W. 168th Street, New York, NY 10032.

               207. Upon information and belief, Defendant “TRUSTEES” is a domestic not-for-profit

                   corporation organized and existing under and by virtue of the laws of the State of New York

                   with its principal offices located at 16 E. 60th Street, Suite 480, New York, NY 10022.

               208. Upon information and belief, Defendant “TRUSTEES” oversees, operates, manages, and/or

                   controls the obstetrics and gynecological service within COLUMBIA UNIVERSITY, THE

                   NEW YORK AND PRESBYTERIAN HOSPITAL (hereinafter "NYPH"), and the

                   Department of Obstetrics and Gynecology of the COLUMBIA UNIVERSITY COLLEGE

                   OF PHYSICIANS AND SURGEONS (hereinafter "CUCPS"). Upon information and belief,

                   Defendant NYPH and Defendant CUCPS, doing business as SLOANE HOSPITAL FOR

                   WOMEN, is located at 161 Fort Washington Avenue, New York, NY 10032.

               209. Upon information and belief, Defendant “TRUSTEES” oversees, operates, manages, and/or

                   controls the obstetrics and gynecological service within COLUMBIA UNIVERSITY, THE

                   NEW YORK AND PRESBYTERIAN HOSPITAL, and the Department of Obstetrics and

                   Gynecology of the NEW YORK PRESBYTERIAN HOSPITAL. Upon information and

                   belief, Defendant NYPH and Defendant TRUSTEES doing business as COLUMBIA

                   PRESBYTERIAN MEDICAL CENTER, EAST SIDE ASSOCIATES, is located at 16 E.

                   60th Street, Suite 408, New York, NY 10022.

               210. Upon information and belief, Defendant “TRUSTEES” oversees, operates, manages, and/or

                   controls the obstetrics and gynecological service within COLUMBIA UNIVERSITY,

                   COLUMBIA UNIVERSITY MEDICAL CENTER, and the Department of Obstetrics and

                   Gynecology of the COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND

                   SURGEONS. Upon information and belief, Defendant NYPH and Defendant CUCPS, doing




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                  business as EAST SIDE ASSOCIATES, is located at 16 E. 60th Street, Suite 408, New York,

                  NY 10022.

               211. Upon information and belief, Defendant COLUMBIA UNIVERSITY COLLEGE OF

                  PHYSICIANS AND SURGEONS (hereinafter "CUCPS") is a domestic not-for-profit

                  corporation organized and existing under and by virtue of the laws of the State of New York

                  with its principal offices located at 622 W. 168th Street, New York, NY 10032.

               212. Upon information and belief, Defendant THE NEW YORK AND PRESBYTERIAN

                  HOSPITAL (hereinafter "NYPH") is a domestic not-for-profit corporation organized and

                  existing under and by virtue of the laws of the State of New York with its principal offices

                  located at 525 East 68th Street, New York, NY 10065.

               213. Upon information and belief, SLOANE HOSPITAL FOR WOMEN serves as the obstetrics

                  and gynecological service within THE NEW YORK AND PRESBYTERIAN HOSPITAL,

                  and the Department of Obstetrics and Gynecology of the COLUMBIA UNIVERSITY

                  COLLEGE OF PHYSICIANS AND SURGEONS. Upon information and belief, Defendant

                  NYPH and Defendant CUCPS, doing business as SLOANE HOSPITAL FOR WOMEN, is

                  located at 161 Fort Washington Avenue, New York, NY 10032.

               214. Upon information and belief, Defendant COLUMBIA PRESBYTERIAN MEDICAL

                  CENTER (hereinafter "CPMC") is a domestic not-for-profit corporation organized and

                  existing under and by virtue of the laws of the State of New York with its principal offices

                  located at 525 East 68th Street, New York, NY 10065.

               215. Upon information and belief, Defendant COLUMBIA UNIVERSITY MEDICAL CENTER

                  (hereinafter "CUMC") is a domestic not-for-profit corporation organized and existing under

                  and by virtue of the laws of the State of New York with its principal offices located at 630




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                  West 168th St., New York, NY 10032.

               216. Upon information and belief, Defendant PRESBYTERIAN HOSPITAL PHYSICIAN

                  SERVICES ORGANIZATION, INC. (hereinafter "PHPSO") is a domestic not-for-profit

                  corporation organized and existing under and by virtue of the laws of the State of New York

                  with its principal offices located at 1211 Avenue of the Americas, New York, NY 10036.

               217. Upon information and belief, Defendant COLUMBIA-CORNELL CARE, LLC (hereinafter

                  "CCC") is a domestic not-for-profit entity with its principal office located at 16 E. 60th

                  Street, Suite 480, New York, NY 10022.

               218. Upon information and belief, Defendant COLUMBIA CORNELL NETWORK

                  PHYSICIANS, INC. (hereinafter "CCNP") is a domestic not-for-profit corporation

                  organized and existing under and by virtue of the laws of the State of New York with its

                  principal offices located at 900 Third Avenue, Suite 500, New York, NY 10022.

               219. Upon information and belief, COLUMBIA PRESBYTERIAN MEDICAL CENTER, EAST

                  SIDE ASSOCIATES (“CPMC-ESA”) serves as an obstetrics and gynecological service to

                  THE NEW YORK AND PRESBYTERIAN HOSPITAL, and the Department of Obstetrics

                  and Gynecology of the COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND

                  SURGEONS. Upon information and belief, Defendant NYPH and Defendant CUCPS, doing

                  business as COLUMBIA PRESBYTERIAN MEDICAL CENTER, EAST SIDE

                  ASSOCIATES, is located at 16 E. 60th Street, Suite 408, New York, NY 10022.

               220. Upon information and belief, EAST SIDE ASSOCIATES (“ESA”) serves as the obstetrics

                  and gynecological service within THE NEW YORK AND PRESBYTERIAN HOSPITAL,

                  and the Department of Obstetrics and Gynecology of the COLUMBIA UNIVERSITY

                  COLLEGE OF PHYSICIANS AND SURGEONS. Upon information and belief, Defendant




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                  NYPH and Defendant CUCPS, doing business as EAST SIDE ASSOCIATES, is located at

                  16 E. 60th Street, Suite 408, New York, NY 10022.

               221. Upon information and belief, COLUMBIA PRESBYTERIAN MEDICAL CENTER, EAST

                  SIDE ASSOCIATES serves as an obstetrics and gynecological service to THE NEW YORK

                  AND PRESBYTERIAN HOSPITAL, and the Department of Obstetrics and Gynecology of

                  the COLUMBIA UNIVERSITY MEDICAL CENTER. Upon information and belief,

                  Defendant NYPH and Defendant CUMC, doing business as COLUMBIA PRESBYTERIAN

                  MEDICAL CENTER, EAST SIDE ASSOCIATES, is located at 16 E. 60th Street, Suite 408,

                  New York, NY 10022.

               222. Upon information and belief, EAST SIDE ASSOCIATES serves as the obstetrics and

                  gynecological service within THE NEW YORK AND PRESBYTERIAN HOSPITAL, and

                  the Department of Obstetrics and Gynecology of the COLUMBIA UNIVERSITY

                  MEDICAL CENTER. Upon information and belief, Defendant NYPH and Defendant

                  CUMC, doing business as EAST SIDE ASSOCIATES, is located at 16 E. 60th Street, Suite

                  408, New York, NY 10022.

               223. Upon information and belief, Defendant ROBERT HADDEN, is and was a resident of the

                  State of New York, New York.

               224. Upon information and belief, Defendant ROBERT HADDEN, is and was a resident of the

                  State of New Jersey, residing in Tenafly, New Jersey.

               225. At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

                  employee of defendant COLUMBIA.

               226. At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

                  employee of defendant TRUSTEES.




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               227. At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

                  employee of defendant CUCPS.

               228. At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

                  employee of defendant NYPH.

               229. At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

                  employee of defendant CPMC.

               230. At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

                  employee of defendant CUMC.

               231. At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

                  employee of defendant PHPSO.

               232. At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

                  employee of defendant CCC.

               233. At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

                  employee of defendant CCNP.

               234. At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

                  employee of defendant CPMC-ESA.

               235. At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

                  employee of defendant EAST SIDE ASSOCIATES.

               236. At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

                  employee of defendant SLOANE.

               237. At all times herein mentioned, defendant NYPH, was a domestic corporation, duly

                  organized and existing under and by virtue of the laws of the State of New York.




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               238. At all times herein mentioned, defendant NYPH was the owner of a hospital known as

                  NEW YORK PRESBYTERIAN HOSPITAL, located at 525 E. 68th Street, New York, NY

                  10021.

               239. At all times herein mentioned, defendant NYPH operated, managed and controlled the

                  aforesaid hospital.

               240. At all times herein mentioned, defendant Columbia-Presbyterian Medical Center, East Side

                  Associates, was a domestic corporation, duly organized and existing under and by virtue of

                  the laws of the State of New York.

               241. At all times herein mentioned, defendant NYPH was the owner of a medical facility known

                  as Columbia-Presbyterian Medical Center, East Side Associates, located at 16 E. 60th Street,

                  Suite 408, New York, NY 10022.

               242. At all times herein mentioned, defendant NYPH was the owner of a medical facility known

                  as East Side Associates, located at 16 E. 60th Street, Suite 408, New York, NY 10022.

               243. At all times herein mentioned, defendant NYPH operated, managed and controlled CPMC-

                  ESA.

               244. At all times herein mentioned, defendant COLUMBIA operated, managed and controlled

                  ESA.

               245. At all times herein mentioned, defendant NYPH operated, managed and controlled ESA.

               246. At all times herein mentioned, defendant CUMC operated, managed and controlled CPMC-

                  ESA.

               247. At all times herein mentioned, defendant CUMC operated, managed and controlled ESA.

               248. At all times herein mentioned, defendant SLOANE operated, managed and controlled

                  CPMC-ESA.




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               249. At all times herein mentioned, defendant SLOANE operated, managed and controlled ESA.

               250. At all times herein mentioned, defendant PHPSO operated, managed and controlled CPMC-

                  ESA.

               251. At all times herein mentioned, defendant PHPSO operated, managed and controlled ESA.

               252. At all times herein mentioned, defendant CUCPS operated, managed and controlled CPMC-

                  ESA.

               253. At all times herein mentioned, defendant CUCPS operated, managed and controlled ESA.

               254. At all times herein mentioned, defendant CCNP operated, managed and controlled CPMC-

                  ESA.

               255. At all times herein mentioned, defendant CCNP operated, managed and controlled ESA.

               256. At all times herein mentioned, defendant CUMC was the owner of a medical facility known

                  as Columbia-Presbyterian Medical Center, East Side Associates, located at 16 E. 60th Street,

                  Suite 408, New York, NY 10022.

               257. At all times herein mentioned, defendant CUMC was the owner of a medical facility known

                  as East Side Associates, located at 16 E. 60th Street, Suite 408, New York, NY 10022.

               258. At all times herein mentioned, defendant CPMC was the owner of a medical facility known

                  as Columbia-Presbyterian Medical Center, East Side Associates, located at 16 E. 60th Street,

                  Suite 408, New York, NY 10022.

               259. At all times herein mentioned, defendant CPMC was the owner of a medical facility known

                  as East Side Associates, located at 16 E. 60th Street, Suite 408, New York, NY 10022.

               260. At all times herein mentioned, defendant COLUMBIA was the owner of a medical facility

                  known as Columbia-Presbyterian Medical Center, East Side Associates, located at 16 E. 60th

                  Street, Suite 408, New York, NY 10022.




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               261. At all times herein mentioned, defendant PHPSO was the owner of a medical facility known

                   as Columbia-Presbyterian Medical Center, East Side Associates, located at 16 E. 60th Street,

                   Suite 408, New York, NY 10022.

               262. At all times herein mentioned, defendant PHPSO was the owner of a medical facility known

                   as East Side Associates, located at 16 E. 60th Street, Suite 408, New York, NY 10022.

               263. At all times herein mentioned, defendant CCNP was the owner of a medical facility known

                   as Columbia-Presbyterian Medical Center, East Side Associates, located at 16 E. 60th Street,

                   Suite 408, New York, NY 10022.

               264. At all times herein mentioned, defendant CCNP was the owner of a medical facility known

                   as East Side Associates, located at 16 E. 60th Street, Suite 408, New York, NY 10022.

               265. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant COLUMBIA, were agents,

                   servants and/or employees of defendant COLUMBIA.

               266. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendants medical offices, hospitals,

                   and/or clinics, were agents, servants and/or employees of defendant COLUMBIA.

               267. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant NYPH, were agents, servants

                   and/or employees of defendant NYPH.

               268. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant Columbia-Presbyterian

                   Medical Center, East Side Associates, were agents, servants and/or employees of defendant

                   NYPH.




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               269. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant East Side Associates, were

                   agents, servants and/or employees of defendant NYPH.

               270. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant Columbia-Presbyterian

                   Medical Center, East Side Associates, were agents, servants and/or employees of defendant

                   Columbia-Presbyterian Medical Center, East Side Associates.

               271. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant East Side Associates, were

                   agents, servants and/or employees of defendant East Side Associates.

               272. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant Columbia-Presbyterian

                   Medical Center, East Side Associates, were agents, servants and/or employees of defendant

                   CUCPS.

               273. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant East Side Associates, were

                   agents, servants and/or employees of defendant CUCPS.

               274. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant Columbia-Presbyterian

                   Medical Center, East Side Associates, were agents, servants and/or employees of defendant

                   CPMC.




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               275. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant East Side Associates, were

                   agents, servants and/or employees of defendant CPMC.

               276. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant Columbia-Presbyterian

                   Medical Center, East Side Associates, were agents, servants and/or employees of defendant

                   CUMC.

               277. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant East Side Associates, were

                   agents, servants and/or employees of defendant CUMC.

               278. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant Columbia-Presbyterian

                   Medical Center, East Side Associates, were agents, servants and/or employees of defendant

                   PHPSO.

               279. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant East Side Associates, were

                   agents, servants and/or employees of defendant PHPSO.

               280. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant Columbia-Presbyterian

                   Medical Center, East Side Associates, were agents, servants and/or employees of defendant

                   CCNP.




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               281. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant East Side Associates, were

                   agents, servants and/or employees of defendant CCNP.

               282. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant Columbia-Presbyterian

                   Medical Center, East Side Associates, were agents, servants and/or employees of defendant

                   CCC.

               283. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant East Side Associates, were

                   agents, servants and/or employees of defendant CCC.

               284. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant Columbia-Presbyterian

                   Medical Center, East Side Associates, were agents, servants and/or employees of defendant

                   SLOANE.

               285. At all times herein mentioned, all of the physicians, nurses and other personnel involved in

                   the diagnosis, care and treatment of the plaintiffs in defendant East Side Associates, were

                   agents, servants and/or employees of defendant SLOANE.

               286. At all times herein mentioned, defendant ROBERT HADDEN, was a physician duly

                   licensed to practice medicine in the State of New York.

               287. At all times herein mentioned, Defendant ROBERT HADDEN, was an agent, servant or

                   employee of Defendant COLUMBIA, Defendant TRUSTEES, Defendant CUCPS,

                   Defendant NYPH, Defendant CPMC-ESA, Defendant ESA, Defendant CPMC, Defendant

                   CUMC, Defendant PHPSO, Defendant CCNP, Defendant CCC, and/or Defendant SLOANE




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                   (hereinafter collectively "CORP. ENTITIES”).

               288. Prior to January 1993, defendant “CORP. ENTITIES”, their agents, servants and/or

                   employees, hired, employed, credentialed and/or enlisted Defendant ROBERT HADDEN, to

                   render gynecologic and/or obstetric care to their patients.

               289. At all times herein mentioned, defendant ROBERT HADDEN was a sexual predator.

               290. ROBERT HADDEN sexually assaulted patients on the premises of defendant “CORP.

                  ENTITIES”.

               291. ROBERT HADDEN sexually assaulted patients on the premises of defendant “CORP.

                  ENTITIES” under the guise of rendering medical care.

               292. Defendant “CORP. ENTITIES” enabled defendant ROBERT HADDEN to sexually assault

                  patients on their premises.

               293. Defendant “CORP. ENTITIES” failed to timely and properly supervise and/or monitor

                  defendant ROBERT HADDEN.

               294. Defendant “CORP. ENTITIES” knew, or should have known, that defendant ROBERT

                  HADDEN was sexually assaulting patients under the guise of rendering medical care.

               295. Defendant “CORP. ENTITIES” knew, or should have known, that defendant ROBERT

                  HADDEN was sexually assaulting patients on their premises.

               296. Defendant “CORP. ENTITIES” did not have policies or procedures in place to protect

                  patients from being sexually assaulted by defendant ROBERT HADDEN.

               297. Medical personnel, including nurses, administrators and supervisors of defendant “CORP.

                  ENTITIES” knew that defendant ROBERT HADDEN was sexually assaulting patients on

                  their premises.




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               298. Defendant “CORP. ENTITIES” created an environment which caused medical personnel,

                  including nurses and administrators, to not report the sexual assaults being committed by

                  defendant ROBERT HADDEN for fear of reprisals.

               299. Medical personnel, including nurses, administrators and supervisors at defendant “CORP.

                  ENTITIES” have known for 25-years that defendant ROBERT HADDEN is a sexual

                  predator who has sexually assaulted patients on their premises.

               300. Medical personnel, including nurses, administrators and supervisors at defendant “CORP.

                  ENTITIES” facilitated defendant ROBERT HADDEN in the sexual assaults he was

                  committing on the premises of “CORP. ENTITIES”.

               301. Defendant “CORP. ENTITIES” have failed to take action or levy penalties against

                  defendant ROBERT HADDEN for the sexual assaults he has committed on their premises.

               302. Defendant “CORP. ENTITIES” have failed to undertake a meaningful investigation to

                  ascertain the facts and circumstances that allowed the sexual assaults to be committed by

                  defendant ROBERT HADDEN upon their premises.

               303. Defendant “CORP. ENTITIES” have approved disability payments to defendant ROBERT

                  HADDEN for a purported “disability” which he claims caused him to be unable to work -

                  when in reality ROBERT HADDEN’s lack of current employment is the result of decades of

                  sexual predation.

               304. Defendant ROBERT HADDEN was convicted of criminal and felonious sexual assault of

                  patients that he committed on the premises of defendant “CORP. ENTITIES”.

               305. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees, failed to monitor

                  and supervise the actions of Defendant ROBERT HADDEN which enabled the sexual

                  assaults to take place.




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               306. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees, were complicit in

                  the actions of ROBERT HADDEN which enabled the sexual assaults to take place.

               307. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees, failed to act upon

                  information and facts that Defendant ROBERT HADDEN was sexually assaulting patients

                  on their premises.

               308. Defendant “CORP. ENTITIES” have enabled defendant ROBERT HADDEN to collect

                  disability income despite the fact that he is a sexual predator - and is now registered as a

                  convicted sexual felon - as a result of his having sexually assaulted patients on the premises

                  of defendant “CORP. ENTITIES”.

               309. Defendant “CORP. ENTITIES” have enabled defendant ROBERT HADDEN to collect

                  disability income for a purported mental “disability” which he claims is causing him to be

                  unable to work - when in reality ROBERT HADDEN’s lack of current employment is the

                  result of decades of sexual predation.

               310. Defendant “CORP. ENTITIES” have entered into an arrangement with defendant ROBERT

                  HADDEN in exchange for his cooperation with them in the civil lawsuits involving his

                  decades-long sexual assaults and predation of female patients.

               311. There has been no disciplinary action by defendant “CORP. ENTITIES” against defendant

                  ROBERT HADDEN.

               312. There has been no disciplinary action by defendant “CORP. ENTITIES” against any of the

                  nurses and administrators who enabled defendant ROBERT HADDEN to sexually assault

                  patients on their premises.




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               313. Defendant “CORP. ENTITIES” have taken no disciplinary action against defendant

                  ROBERT HADDEN, from the first time that ROBERT HADDEN obtained privileges with

                  the named “CORP. ENTITIES” through the present.

               314. Defendant “CORP. ENTITIES” have taken no disciplinary action against defendant

                  ROBERT HADDEN between January 1993 and the present.

               315. Prior to January 2015, Defendant “CORP. ENTITIES”, their agents, servants, and/or

                  employees, were aware of complaints that defendant ROBERT HADDEN had sexually

                  assaulted patients upon the premises of Defendant “CORP. ENTITIES”.

               316. Prior to January 2014, Defendant “CORP. ENTITIES”, their agents, servants, and/or

                  employees, were aware of complaints that defendant ROBERT HADDEN had sexually

                  assaulted patients upon the premises of Defendant “CORP. ENTITIES”.

               317. Prior to January 2013, Defendant “CORP. ENTITIES”, their agents, servants, and/or

                  employees, were aware of complaints that defendant ROBERT HADDEN had sexually

                  assaulted patients upon the premises of Defendant “CORP. ENTITIES”.

               318. Prior to January 2012, Defendant “CORP. ENTITIES”, their agents, servants, and/or

                  employees, were aware of complaints that defendant ROBERT HADDEN had sexually

                  assaulted patients upon the premises of Defendant “CORP. ENTITIES”.

               319. Prior to January 2011, Defendant “CORP. ENTITIES”, their agents, servants, and/or

                  employees, were aware of complaints that defendant ROBERT HADDEN had sexually

                  assaulted patients upon the premises of Defendant “CORP. ENTITIES”.

               320. Prior to January 2010, Defendant “CORP. ENTITIES”, their agents, servants, and/or

                  employees, were aware of complaints that defendant ROBERT HADDEN had sexually

                  assaulted patients upon the premises of Defendant “CORP. ENTITIES”.




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               321. Prior to January 2009, Defendant “CORP. ENTITIES”, their agents, servants, and/or

                  employees, were aware of complaints that defendant ROBERT HADDEN had sexually

                  assaulted patients upon the premises of Defendant “CORP. ENTITIES”.

               322. Prior to January 2008, Defendant “CORP. ENTITIES”, their agents, servants, and/or

                  employees, were aware of complaints that defendant ROBERT HADDEN had sexually

                  assaulted patients upon the premises of Defendant “CORP. ENTITIES”.

               323. Prior to January 1998, Defendant “CORP. ENTITIES”, their agents, servants, and/or

                  employees, were aware of complaints that defendant ROBERT HADDEN had sexually

                  assaulted patients upon the premises of Defendant “CORP. ENTITIES”.

               324. Prior to January 1993, Defendant “CORP. ENTITIES”, their agents, servants, and/or

                  employees, were aware of complaints that defendant ROBERT HADDEN had sexually

                  assaulted patients upon the premises of Defendant “CORP. ENTITIES”.

               325. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees knew, or should

                  have known, that defendant ROBERT HADDEN had sexually assaulted patients upon their

                  premises as far back as the 1990s.

               326. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees, observed

                  defendant ROBERT HADDEN sexually assaulting patients as far back as the 1990s.

               327. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees witnessed

                  defendant ROBERT HADDEN sexually assaulting patients as far back as the 1990s.

               328. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees, were informed

                  and/or aware of sexual assaults being committed by defendant ROBERT HADDEN and

                  failed to protect patients from further sexual assaults and sexual abuse.




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               329. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees knew, or should

                  have known, of sexual assaults being committed by defendant ROBERT HADDEN and

                  failed to protect patients from further sexual assaults and/or sexual abuse.

               330. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees reported to other

                  defendant “CORP. ENTITIES” personnel that defendant ROBERT HADDEN was sexually

                  assaulting patients as far back as the 1990s.

               331. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees had received

                  complaints by patients who had been sexually assaulted and sexually abused by ROBERT

                  HADDEN prior to ROBERT HADDEN entering a plea of being criminally guilty on

                  February 22, 2016.

               332. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees took no action on

                  the information and knowledge they had concerning patients being sexually abused and

                  sexually assaulted by ROBERT HADDEN prior to ROBERT HADDEN entering a plea of

                  criminal guilt on February 22, 2016.

               333. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees have taken no

                  action on the information and knowledge they have about patients being sexually assaulted

                  and sexually abused by ROBERT HADDEN since Defendant ROBERT HADDEN entered

                  his plea of criminal guilt on February 22, 2016.

               334. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees have taken no

                  action on the information and knowledge they have about patients being sexually assaulted

                  and sexually abused by ROBERT HADDEN since Defendant ROBERT HADDEN was

                  sentenced in the Criminal Case on March 29, 2016.




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               335. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees have a legal,

                  professional and/or ethical duty, responsibility and obligation to report all suspicions of

                  sexual assaults by doctors or other medical personnel to Criminal Authorities.

               336. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees have a legal,

                  professional and/or ethical duty, responsibility and obligation to report all suspicions of

                  sexual assaults by doctors or other medical personnel to Defendant Medical Entity

                  supervisors.

               337. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees have a legal,

                  professional and/or ethical duty, responsibility and obligation to report all suspicions of

                  sexual assaults by doctors or other medical personnel to both Criminal Authorities and

                  Defendant Medical Entity supervisors.

               338. Defendant “CORP. ENTITIES” should encourage all medical personnel, as well as all of

                  their agents, servants, and/or employees, to immediately report all suspected sexual assaults

                  to the Administration as well as to Criminal Authorities.

               339. Defendant “CORP. ENTITIES”, their agents, servants, and/or employee created an

                  environment which discouraged reporting medical doctors to Administrators and Criminal

                  Authorities - even where medical doctor were sexually assaulting patients.

               340. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees never reported

                  ROBERT HADDEN to any Administrators for having sexually assaulted patients.

               341. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees did report

                  ROBERT HADDEN to Administrators for having sexually assaulted patients.

               342. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees never took any

                  disciplinary action against ROBERT HADDEN for having sexually assaulted patients.




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               343.364.      Defendant “CORP. ENTITIES”, their agents, servants, and/or employees

                  continued to grant ROBERT HADDEN privileges despite the fact that they knew, or should

                  have known, that he was sexually assaulting patients.

               344. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees had a duty to

                  timely and properly monitor and/or supervise their medical personnel, including ROBERT

                  HADDEN, to ensure that patients were not being sexually assaulted.

               345. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees failed to timely

                  and properly monitor and/or supervise their medical personnel, including ROBERT

                  HADDEN, to ensure that patients were not being sexually assaulted.

               346. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees never reported

                  ROBERT HADDEN to any Criminal Authorities.

               347. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees allowed ROBERT

                  HADDEN to continue to work as a medical doctor upon their premises after he sexually

                  assaulted patients.

               348. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees allowed ROBERT

                  HADDEN to continue to work as a medical doctor upon their premises after they knew, or

                  should have known, that ROBERT HADDEN sexually assaulted patients.

               349. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees failed to protect

                  their patients from further sexual assaults, sexual exploitation, and sexual abuse by ROBERT

                  HADDEN.

               350. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees failed to conduct

                  timely and proper investigations into the information and reports that ROBERT HADDEN

                  sexually assaulted patients.




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               351. Defendants       COLUMBIA        UNIVERSITY,        THE    TRUSTEES    OF    COLUMBIA

                  UNIVERSITY, and “CORP. ENTITIES” continued judicial and extrajudicial denials that

                  ROBERT HADDEN sexually assaulted patients despite the fact that they possessed

                  conclusive proof that ROBERT HADDEN is guilty of criminal sexual assaults.

               352. Defendants       COLUMBIA        UNIVERSITY,        THE    TRUSTEES    OF    COLUMBIA

                  UNIVERSITY, and “CORP. ENTITIES” have continued their judicial and extrajudicial

                  denials that ROBERT HADDEN sexually assaulted and sexually abused patients despite the

                  fact that they possessed conclusive proof that ROBERT HADDEN is guilty of criminal

                  sexual assaults.

               353. Defendants       COLUMBIA        UNIVERSITY,        THE    TRUSTEES    OF    COLUMBIA

                  UNIVERSITY, and “CORP. ENTITIES”, through their agents, servants, and/or employees

                  are actively and fraudulently misrepresenting, deceiving, and lying to each of the Plaintiffs

                  herein, and the public at large, about the facts surrounding ROBERT HADDEN’s serial

                  sexual assaults and sexual abuses of female patients by telling everyone that ROBERT

                  HADDEN is out on “medical leave”, that they’ve “never heard of anyone else saying this

                  about him”, and that ROBERT HADDEN is just “old school” and not a sexual predator.

               354. Defendant ROBERT HADDEN continues to maintain his own judicial and extrajudicial

                  denials that he sexually assaulted countless patients despite the fact that ROBERT HADDEN

                  is, in fact, guilty of countless criminal sexual assaults.

               355. Defendant ROBERT HADDEN has betrayed a position of respect and trust by committing

                  criminal sexual assaults on medical patients.




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               356. Defendant “CORP. ENTITIES” have betrayed a position of respect and trust by permitting

                  defendant ROBERT HADDEN to criminal sexual assaults on medical patients upon their

                  premises.

               357. Defendant “CORP. ENTITIES” have long known that ROBERT HADDEN was a sexual

                  predator, but instead of terminating ROBERT HADDEN’s medical privileges and reporting

                  him to Criminal Authorities, defendant “CORP. ENTITIES”, their agents, servants, and/or

                  employees instead chose to simply move defendant ROBERT HADDEN to other medical

                  facilities at other locations within Defendant “CORP. ENTITIES”S control where he

                  continued to sexually assault other patients.

               358. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees have violated a

                  sacrosanct relationship of Trust by failing to protect female patients from being sexually

                  assaulted by defendant ROBERT HADDEN.

               359. By tolerating the sexual misconduct of ROBERT HADDEN, Defendant “CORP.

                  ENTITIES”, their agents, servants, and/or employees have completely violated the

                  sacrosanct relationship of Trust by placing their patients in the way of harm and being

                  sexually assaulted by defendant ROBERT HADDEN.

               360. Defendant ROBERT HADDEN has violated a sacrosanct relationship of Trust by sexually

                  assaulting patients.

               361. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees were informed

                  and/or aware of the sexual assaults being committed by ROBERT HADDEN and failed to

                  protect their patients from further sexual assaults and sexual abuse.




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               362. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees were not informed

                  and/or have not become aware of the sexual assaults being committed by ROBERT

                  HADDEN.

               363. Defendant ROBERT HADDEN is guilty of committing a Criminal Sexual Act in the Third

                  Degree upon a patient in violation of P.L. § 130.40(1).

               364. On February 7, 2012 Defendant ROBERT HADDEN engaged in Oral Sexual Contact with

                  an Individual who was incapable of consent by reasons of some factor other than being less

                  than seventeen years old in violation of P.L. § 130.40(1).

               365. On February 7, 2012 Defendant ROBERT HADDEN engaged in Oral Sexual Contact with

                  a patient in violation of P.L. § 130.40(1).

               366. Defendant ROBERT HADDEN is guilty of the Crime of Forcibly Touching "JANE DOE

                  #6" (hereinafter “JANE DOE #6”) in a related action in violation of P.L. § 130.52.

               367. On May 7, 2012, ROBERT HADDEN intentionally and for no legitimate purpose forcibly

                  touched the sexual and other intimate parts of a female patient for the purpose of degrading

                  and abusing her and for the purpose of gratifying his sexual desire.

               368. On May 7, 2012, Defendant ROBERT HADDEN Forcibly Touched a female patient in

                  violation of P.L. § 130.52.

               369. The female patient referenced above was hiv-positive when she was under the care and

                  treatment of defendants, their agents, servants, and/or employees.

               370. Defendant ROBERT HADDEN was fully aware that female patient referenced above was

                  hiv-positive while she was under his care and treatment in May of 2012.

               371. Defendant “CORP. ENTITIES” were fully aware that the patient referenced above was hiv-

                  positive while she was under their care and treatment in May of 2012.




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               372. Defendant ROBERT HADDEN forcibly touched the sexual and other intimate parts of the

                  female patient referenced above for the purpose of degrading and abusing her and for the

                  purpose of gratifying his sexual desire on May 7, 2012, despite his full knowledge and

                  awareness that she was hiv-positive.

               373. Despite defendant ROBERT HADDEN’s full knowledge and awareness that the above

                  referenced patient was hiv-positive, ROBERT HADDEN criminally sexually assaulted her

                  on May 7, 2012, and exposed her and other patients and personnel to an increased risk of

                  harm though his deviant, bottomless conduct, and wanton, careless, and reckless disregard of

                  patient safety.

               374. Defendant ROBERT HADDEN sexually assaulted the above referenced patient on May 7,

                  2012.

               375. Defendant ROBERT HADDEN sexually assaulted the above referenced patient on dates

                  prior to May 7, 2012.

               376. ROBERT HADDEN is a convicted sexual felon.

               377. ROBERT HADDEN is a registered sex offender.

               378. Had plaintiffs not commenced their Civil lawsuits against defendant ROBERT HADDEN

                  and Defendant “CORP. ENTITIES”, defendant “CORP. ENTITIES” would have continued

                  to allow ROBERT HADDEN to retain his medical privileges and sexually abuse and

                  sexually assault obstetric & gynecologic patients upon the premises of defendant “CORP.

                  ENTITIES”.

               379. ROBERT HADDEN has sexually abused and sexually assaulted countless patients over the

                  course of his career as a medical doctor upon the premises of defendant “CORP.

                  ENTITIES”.




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               380. ROBERT HADDEN has sexually abused and sexually assaulted patients going back as far

                   as the 1990’s, all while under the employment and supervision of defendant “CORP.

                   ENTITIES”.

               381. Defendant “CORP. ENTITIES” were aware of defendant ROBERT HADDEN’s criminal

                   and outrageous behavior prior to August 2012.

               382. Defendant “CORP. ENTITIES” have chosen to turn their backs on the patients who have

                   been sexually abused and sexually assaulted by defendant ROBERT HADDEN.

               383. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees have failed to

                   report instances of sexual misconduct and sexual abuse committed by defendant ROBERT

                   HADDEN.

               384. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees have failed to act

                   on instances of sexual misconduct and sexual abuse committed by defendant ROBERT

                   HADDEN.

               385. Defendant “CORP. ENTITIES” deny responsibility for the sexual abuse their patients have

                   endured at the hands of defendant ROBERT HADDEN.

               386. The answering defendant feels it is not responsible for the sexual abuse that its patients have

                   endured at the hands of defendant ROBERT HADDEN.

               387. Defendant “CORP. ENTITIES” have taken no disciplinary action against defendant

                   ROBERT HADDEN as a result of the sexual assaults and sexual abuse he has committed on

                   their premises.

               388. Defendant “CORP. ENTITIES” have made no effort to right the wrongs that have been

                   committed upon their premises with regard to the within individually named survivors.




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               389. Defendant “CORP. ENTITIES” refuse to take responsibility for the sexual abuse their

                  patients have endured as a result of the complicity of their agents, servants and/or employees

                  who failed to report, terminate and/or take any disciplinary or legal action against ROBERT

                  HADDEN.

               390. Defendant ROBERT HADDEN denies violating the standard of care with regard to the care

                  and treatment rendered to the above referenced patient on May 7, 2012.

               391. Defendant TRUSTEES denies that ROBERT HADDEN violated the standard of care with

                  regard to the care and treatment rendered to the above referenced patient on May 7, 2012.

               392. Defendant CUCPS denies that ROBERT HADDEN violated the standard of care with

                  regard to the care and treatment rendered to the above referenced patient on May 7, 2012.

               393. Defendant NYPH denies that ROBERT HADDEN violated the standard of care with regard

                  to the care and treatment rendered to the above referenced patient on May 7, 2012.

               394. Defendant CPMC denies that ROBERT HADDEN violated the standard of care with regard

                  to the care and treatment rendered to the above referenced patient on May 7, 2012.

               395. Defendant CUMC denies that ROBERT HADDEN violated the standard of care with regard

                  to the care and treatment rendered to the above referenced patient on May 7, 2012.

               396. Defendant PHPSO denies that ROBERT HADDEN violated the standard of care with

                  regard to the care and treatment rendered to the above referenced patient on May 7, 2012.

               397. Defendant CCC denies that ROBERT HADDEN violated the standard of care with regard to

                  the care and treatment rendered to the above referenced patient on May 7, 2012.

               398. Defendant CCNP denies that ROBERT HADDEN violated the standard of care with regard

                  to the care and treatment rendered to the above referenced patient on May 7, 2012.




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               399. Defendant   COLUMBIA        PRESBYTERIAN         MEDICAL       CENTER,      EAST        SIDE

                  ASSOCIATES denies that ROBERT HADDEN violated the standard of care with regard to

                  the care and treatment rendered to the above referenced patient on May 7, 2012.

               400. Defendant EAST SIDE ASSOCIATES denies that ROBERT HADDEN violated the

                  standard of care with regard to the care and treatment rendered to the above referenced

                  patient on May 7, 2012.

               401. Defendant SLOANE denies that ROBERT HADDEN violated the standard of care with

                  regard to the care and treatment rendered to the above referenced patient on May 7, 2012.

               402. Defendant ROBERT HADDEN denies violating the standard of care with regard to the care

                  and treatment rendered to the patient he sexually assaulted in another related action

                  (hereinafter “JANE DOE #1”) on February 7, 2012.

               403. Defendant COLUMBIA denies that ROBERT HADDEN violated the standard of care with

                  regard to the care and treatment rendered to "JANE DOE #1" on February 7, 2012.

               404. Defendant TRUSTEES denies that ROBERT HADDEN violated the standard of care with

                  regard to the care and treatment rendered to the above referenced patient on February 7,

                  2012.

               405. Defendant CUCPS denies that ROBERT HADDEN violated the standard of care with

                  regard to the care and treatment rendered to the above referenced patient on February 7,

                  2012.

               406. Defendant NYPH denies that ROBERT HADDEN violated the standard of care with regard

                  to the care and treatment rendered to the above referenced patient on February 7, 2012.

               407. Defendant CPMC denies that ROBERT HADDEN violated the standard of care with regard

                  to the care and treatment rendered to the above referenced patient on February 7, 2012.




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               408. Defendant CUMC denies that ROBERT HADDEN violated the standard of care with regard

                  to the care and treatment rendered to the above referenced patient on February 7, 2012.

               409. Defendant PHPSO denies that ROBERT HADDEN violated the standard of care with

                  regard to the care and treatment rendered to the above referenced patient on February 7,

                  2012.

               410. Defendant CCC denies that ROBERT HADDEN violated the standard of care with regard to

                  the care and treatment rendered to the above referenced patient on February 7, 2012.

               411. Defendant CCNP denies that ROBERT HADDEN violated the standard of care with regard

                  to the care and treatment rendered to the above referenced patient on February 7, 2012.

               412. Defendant   COLUMBIA         PRESBYTERIAN        MEDICAL       CENTER,      EAST        SIDE

                  ASSOCIATES. denies that ROBERT HADDEN violated the standard of care with regard to

                  the care and treatment rendered to the above referenced patient on February 7, 2012.

               413. Defendant EAST SIDE ASSOCIATES denies that ROBERT HADDEN violated the

                  standard of care with regard to the care and treatment rendered to the above referenced

                  patient on February 7, 2012.

               414. Defendant SLOANE denies that ROBERT HADDEN violated the standard of care with

                  regard to the care and treatment rendered to the above referenced patient on February 7,

                  2012.

               415. Plaintiffs are informed, and believe, and on this basis state, that Defendant COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES
                  benefitted financially from retaining ROBERT HADDEN as an OBGYN at "CORP.

                  ENTITIES"’ hospitals, offices, and clinics by offering his services to COLUMBIA

                  UNIVERSITY female patients, at those patients’ expense. Plaintiffs are further informed and
                  believe, and on this basis state, that Defendant COLUMBIA UNIVERSITY, THE




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                   TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES benefitted financially

                   from actively concealing the myriad complaints of sexual exploitation and abuse made by its
                   female patients against ROBERT HADDEN by protecting its own reputation and financial

                   coffers. Defendant COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                   UNIVERSITY, and CORP. ENTITIES’ deliberate and fraudulent concealment included, but
                   was not limited to: paying ROBERT HADDEN a significant financial bonus which enabled

                   him to quietly resign in 2012 after a criminal investigation revealed that ROBERT HADDEN

                   routinely made lurid and sexually inappropriate remarks to female patients; kept a collection
                   of pornography at his offices, had pornographic images and videos on his work computer

                   system, hard drive, and internet browser cache; and had documented complaints against him

                   lodged to Defendant COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                   UNIVERSITY, and CORP. ENTITIES dating back over the course of more than two (2)
                   decades. Defendant COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                   UNIVERSITY, and CORP. ENTITIES paid ROBERT HADDEN this financial bonus and

                   facilitated and enabled him to collect “disability benefits” in a deliberate attempt to conceal
                   from the Plaintiffs, and the public at large, that ROBERT HADDEN is a serial sexual

                   predator who the Defendants allowed to run rampant amongst female patients in need of

                   basic gynecologic and obstetric care, and in order for COLUMBIA UNIVERSITY, THE
                   TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES to try and avoid

                   criminal consequences, civil liability and damage to its reputation.

               416. At all times relevant hereto, agents, servants, medical staff members, and/or employees of
                   COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and CORP.

                   ENTITIES including Defendant ROBERT HADDEN, were acting in the course and scope of

                   their authority, agency, service and/or employment for COLUMBIA UNIVERSITY, THE

                   TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES.
               417. Beginning in the early 1990’s, COLUMBIA UNIVERSITY, THE TRUSTEES OF

                   COLUMBIA UNIVERSITY, and CORP. ENTITIES began receiving reports from OBGYN




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                  patients and COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                  UNIVERSITY, and CORP. ENTITIES’ own agents, servants, and/or employees regarding
                  concerns about Defendant ROBERT HADDEN’s conduct and purported gynecologic and

                  obstetric “treatment” of his patients; nonetheless COLUMBIA UNIVERSITY, THE

                  TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES failed to take any
                  action in response to such complaints. COLUMBIA UNIVERSITY, THE TRUSTEES OF

                  COLUMBIA UNIVERSITY, and CORP. ENTITIES received numerous complaints of

                  serious misconduct, including sexual misconduct by ROBERT HADDEN made to nursing
                  supervisors and ROBERT HADDEN’s supervisors and other Administrators employed by

                  COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and CORP.

                  ENTITIES.

               418. Rather than addressing and properly investigating the complaints, including taking
                  appropriate disciplinary action, reporting ROBERT HADDEN to criminal prosecutors,

                  reporting ROBERT HADDEN to the State Medical Authorities, and/or terminating the

                  employment of HADDEN, Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF
                  COLUMBIA UNIVERSITY, and CORP. ENTITIES, their agents, servants, and/or

                  employees, kept the complaints secret to avoid negative publicity, despite their actual

                  knowledge of such misconduct, so that for over twenty (20) years, defendant ROBERT
                  HADDEN had unfettered access to female patients – many of them as young as 15 or 16

                  years of age.

               419. COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and
                  CORP. ENTITIES, as well as their agents, servants and/or employees, hid the complaints

                  despite the fact that many of the complaints came directly from their own employees,

                  medical personnel and staff, including nurses and medical assistants, who were physically

                  present during the examinations as “chaperones,” and witnessed the sexual misconduct
                  firsthand. Despite receiving years of serious complaints of significant misconduct about

                  ROBERT HADDEN, including sexual misconduct, COLUMBIA UNIVERSITY, THE




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                   TRUSTEES OF COLUMBIA UNIVERSITY, CORP. ENTITIES and their agents, servants

                   and/or employees failed to take any meaningful action to address the complaints until they
                   were finally forced to do so in August 2012.

               420. Upon information and belief, the complaints made to COLUMBIA UNIVERSITY, THE

                   TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES and their agents,
                   servants and/or employees included, but are not limited to: ROBERT HADDEN making

                   gratuitous, suggestive comments about patients’ bodies during gynecological examinations;

                   touching patients’ bodies in a manner that had no medical purpose; requiring patients to lie
                   fully nude on the table during gynecological examinations; and making improper,

                   inappropriate and sexual comments about their bodies and other comments of a sexual and/or

                   prurient nature; performing prolonged and non-medically indicated breast examinations;

                   performing serial and medically unnecessary vaginal examinations; performing serial and
                   medially unnecessary PAP Smears; requiring patients to expose their naked bodies in non-

                   medical, sexual, and compromising ways; posing patents by instructing patients strip naked

                   and position themselves in non-medical, sexually deviant, and compromising ways; digitally
                   penetrating patients in a non-medical manner for his own sexual gratification; sexually

                   exploiting and abusing female patients; sexually exploiting and abusing female co-workers;

                   and sexually exploiting and abusing female former co-workers.
               421. COLUMBIA UNIVERSITY’s “Patient Bill of Rights” provides, inter alia, that patients

                   have the right to:

                      “Receive considerate and respectful care in a clean and safe environment”.
                  It further provides that patients have the right to:

                      “Receive treatment without discrimination as to race, color, religion, sex [gender]”.

               422. At all times relevant hereto, Plaintiffs are, or were, female patients who sought medical,

                   gynecologic and/or obstetric care through COLUMBIA UNIVERSITY, THE TRUSTEES
                   OF COLUMBIA UNIVERSITY, and CORP. ENTITIES health system and were patients of

                   defendant ROBERT HADDEN during his tenure at COLUMBIA UNIVERSITY, THE




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                  TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES. Plaintiffs had no

                  reason to suspect Defendant ROBERT HADDEN was anything other than a competent and
                  ethical physician.

               423. Knowing that Plaintiffs were trusting and vulnerable – and in many cases pregnant –

                  Defendant ROBERT HADDEN used his position of authority to require Plaintiffs to fully
                  disrobe for no reasonable medical purpose, engage in touching, fondling and groping of

                  Plaintiffs’ breasts, and other parts of their bodies, while making suggestive, inappropriate

                  and improper comments, engage in nonconsensual vaginal penetration, nonconsensual sexual
                  touching and fondling of the vaginal and genital region for the purpose of ROBERT

                  HADDEN’s own sexual arousal, sexual exploitation, sexual gratification, and/or sexual

                  abuse. Defendant ROBERT HADDEN also made sexist, misogynistic, pejorative and

                  sexually harassing comments to female patients at COLUMBIA UNIVERSITY, THE
                  TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES.

               424. Through his employment with COLUMBIA UNIVERSITY, THE TRUSTEES OF

                  COLUMBIA UNIVERSITY, and CORP. ENTITIES, Defendant ROBERT HADDEN used
                  his position of authority as a medical professional, and access granted by CORP. ENTITIES,

                  to perform countless nonconsensual, sexually exploitative and abusive “examinations” of

                  female patients, their bodies, breasts, and genitalia under the guise of “medical treatment.”
               425. Virtually none of the women ROBERT HADDEN targeted knew that what he was doing

                  during the examinations was not proper protocol, and did not realize he was engaging in

                  sexual misconduct, sexually violating them, and/or taking advantage of them.
               426. Defendant ROBERT HADDEN carried out these acts without fully explaining

                  the “treatment” or obtaining informed consent of Plaintiffs.

               427. All of Defendant ROBERT HADDEN’s acts were conducted under the guise of providing

                  medical care at COLUMBIA UNIVERSITY and CORP. ENTITIES’ hospitals, offices and
                  medical clinics.




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               428. The failure to give proper notice or to obtain consent for the purported “treatment” from

                   Plaintiffs negated their ability to reject the “treatment.”
               429. Defendant ROBERT HADDEN used his position of trust and authority in an abusive

                   manner causing Plaintiffs to suffer a variety of injuries including, but not limited to, sexual

                   exploitation, sexual abuse, shame, mortification, shock, humiliation, emotional distress and
                   related physical manifestations thereof, embarrassment, loss of self-esteem, loss of trust in

                   the medical profession and in medical care providers, self-doubt, disgrace, loss of enjoyment

                   of life and negative impacts on their ultimate career, professional prospects and interpersonal
                   relationships.

               430. COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and

                   CORP. ENTITIES and their agents, servants, and/or employees, gave ROBERT HADDEN

                   access and authority to sexually abuse and exploit Plaintiffs and other patients of the within
                   named defendants; but for the access and authority provided by Defendants, ROBERT

                   HADDEN could not have abused Plaintiffs and countless other female patients. To wit,

                   defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,
                   and CORP. ENTITIES, their agents, servants, and/or employees enabled ROBERT

                   HADDEN to serially sexually abuse female patients for a period of two (2) decades upon the

                   premises and clinics of defendant COLUMBIA UNIVERSITY, THE TRUSTEES OF
                   COLUMBIA UNIVERSITY, and CORP. ENTITIES.

               431. Defendants were put on notice of ROBERT HADDEN’s actions after receiving complaints

                   from COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and
                   CORP. ENTITIES employees, including nurses, chaperones, medical staff, and survivors

                   concerning both the inappropriate commentary ROBERT HADDEN made and the disturbing

                   sexual behavior toward patients as far back as the 1990’s, and yet defendants took no action

                   to protect their female patients for a period of over twenty (20) years.
               432. Upon information and belief, despite complaints to COLUMBIA UNIVERSITY, THE

                   TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES, and their agents,




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                  servants, employees and/or representatives, the complaints, reports, concerns and allegations

                  went unaddressed in violation of reporting policies and procedures and in a manner that was
                  wholly reckless, deliberately indifferent, and grossly negligent.

               433. Upon information and belief, because Defendants COLUMBIA UNIVERSITY, THE

                  TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES, their agents, servants
                  and/or employees all failed to take action to investigate the complaints, or to take corrective

                  action regarding ROBERT HADDEN’s actions, Plaintiffs and other female patients were

                  sexually assaulted, exploited, harassed, abused, and molested by Defendant ROBERT
                  HADDEN through predatory grooming, unnecessary vaginal digital examinations, vaginal

                  penetration, unnecessary and non-medical touching and groping of their breasts and other

                  areas of their body, verbal sexual exploitation, physical sexual exploitation, psychological

                  manipulation and abuse, and through sexually-suggestive, inappropriate, and gratuitous
                  comments and statements about them, their lifestyles, their bodies, and their anatomies.

               434. Upon information and belief, in or around 1992 or 1993, complaints about ROBERT

                  HADDEN were made to supervisors at COLUMBIA UNIVERSITY, THE TRUSTEES OF
                  COLUMBIA UNIVERSITY, and CORP. ENTITIES, about ROBERT HADDEN’s sexual

                  abuse of a young female patient who he began digitally penetrating after a nurse chaperone

                  left the examining room.
               435. In response to the report by the Chaperone, the Chaperone’s supervisor directed the

                  Chaperone to keep her mouth shut and just stay with her doctor and not let him get himself

                  into trouble.
               436. Further, it became well known throughout COLUMBIA UNIVERSITY, CORP. ENTITIES,

                  and their offices, hospitals, clinics and medical centers that ROBERT HADDEN had a

                  proclivity for sexually exploiting and abusing female patients when the chaperones would

                  leave the room. This information was so widely discussed that it became a topic of
                  conversation among employees of other departments including, but not limited to,

                  Defendants’ employee lunchrooms.




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               437. At no time did Defendant COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                  UNIVERSITY, and CORP. ENTITIES or their agents, servants and/or employees inform
                  Plaintiffs, the public or any other patients of the concerns that led to Defendant ROBERT

                  HADDEN being relieved from his duties at COLUMBIA UNIVERSITY, THE TRUSTEES

                  OF COLUMBIA UNIVERSITY, and CORP. ENTITIES and his subsequent “retirement.”
               438. Further, in an effort to “manage risk” COLUMBIA UNIVERSITY, THE TRUSTEES OF

                  COLUMBIA UNIVERSITY, and CORP. ENTITIES, their agents, servants and/or

                  employees, have contracted with lawyers and legal consultants in a surreptitious effort to
                  obtain statements from witnesses and survivors of the sexual assaults committed by

                  ROBERT HADDEN.

               439. Through this effort, COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                  UNIVERSITY, and CORP. ENTITIES, their agents, servants and/or employees have
                  accessed, viewed, shared and illegally disclosed the names, identities, private contact

                  information, and protected HIPAA information about the survivors - not with health

                  providers and specialists in clinical crisis intervention - but with their lawyers, and their
                  lawyers’ legal staff, in order to try and obtain a tactical advantage over the sexual assault

                  survivors in the courts and possibly the media.

               440. Further, defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA
                  UNIVERSITY, and CORP. ENTITIES have actively and intentionally lied to the plaintiffs

                  herein, as well as all the other patients of COLUMBIA UNIVERSITY, THE TRUSTEES OF

                  COLUMBIA UNIVERSITY, and CORP. ENTITIES, and the public at large, by affirmatively
                  stating to the patients and the Press that ROBERT HADDEN was on some kind of “medical

                  leave”. The truth of the matter is that ROBERT HADDEN is a perverted sexual predator who

                  has serially sexually assaulted female patients on a daily basis for a period of twenty (20)

                  years upon the premises of COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA
                  UNIVERSITY, and CORP. ENTITIES, as well as their related hospitals, clinics, offices, and

                  medical centers.




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               441. ROBERT HADDEN, COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                   UNIVERSITY, and their related "CORP. ENTITIES", inclusive, are sometimes collectively
                   referred to herein as "Defendants" and/or as "All Defendants"; such collective reference

                   refers to all specifically named Defendants as well as their related entities, clinics, offices,

                   hospitals, and medical centers.
               442. Plaintiffs are informed and believe, and on that basis state that at all times mentioned herein,

                   each Defendant was responsible, in some manner or capacity, for the occurrences herein

                   stated, and that Plaintiffs’ damages, as herein set-forth, were proximately caused by each and
                   all of said Defendants.

               443. At all times mentioned herein, each and every Defendant was an agent, servant and/or

                   employee of Defendant COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                   UNIVERSITY, and their related "CORP. ENTITIES", inclusive, and/or was under their
                   complete control and/or supervision. Defendants and each of them are individuals,

                   corporations, partnerships and/or other entities that engaged in, joined in, and conspired with

                   other Defendants and wrongdoers in carrying out the tortuous and unlawful activities
                   described in this Complaint.

               444. Plaintiffs are informed and believe, and on that basis state that at all times mentioned herein,

                   there existed a unity of interest and ownership among Defendants and each of them such that
                   any individuality and separateness between Defendants, and each of them, ceased to exist.

                   Defendants and each of them were the successors-in-interest and/or alter egos of the other

                   Defendants, and each of them, in that they purchased, controlled, dominated and operated
                   each other without any separate identity, observation of formalities, or other manner of

                   division. To continue maintaining the facade of a separate and individual existence between

                   and among Defendants, and each of them, would serve to perpetrate a fraud and injustice.

               445. Plaintiffs are informed and believe, and on that basis state that at all times mentioned herein,
                   Defendants ROBERT HADDEN, COLUMBIA UNIVERSITY, THE TRUSTEES OF

                   COLUMBIA UNIVERSITY, and CORP. ENTITIES were the agents, servants and/or




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                   employees of each and every other Defendant. In doing the things hereinafter stated,

                   Defendants and each of them, were acting within the course and scope of said work and
                   alternative personality, capacity, identity, agency, representation and/or employment and

                   were within the scope of their authority, whether actual or apparent.

               446. Plaintiffs are informed and believe, and on that basis state that at all times mentioned herein,
                   Defendants ROBERT HADDEN, COLUMBIA UNIVERSITY, THE TRUSTEES OF

                   COLUMBIA UNIVERSITY, and CORP. ENTITIES were the TRUSTEES, Partners,

                   Servants, joint venturers, shareholders, contractors, and/or employees of each and every
                   other Defendant, and the acts and omissions herein stated were done by them, acting

                   individually, through such capacity and within the scope of their authority, and with the

                   permission and consent of each and every other Defendant and that said conduct was

                   thereafter ratified by each and every other Defendant, and that each of them is jointly and
                   severally liable to Plaintiffs.

                 FACTUAL ALLEGATIONS APPLICABLE TO ALL CLAIMS BY ALL PLAINTIFFS

               447. Plaintiffs are informed and believe, and on that basis state, that while Plaintiffs were female
                   patients of Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                   UNIVERSITY, and CORP. ENTITIES, that Defendants engaged in a pattern and practice of

                   ignoring complaints, failing to investigate sexual harassment and abuse complaints about
                   ROBERT HADDEN, deliberately concealing information from abuse victims and survivors,

                   and contributed to a sexually hostile and exploitative environment on campus at Defendant

                   COLUMBA UNIVERSITY, which is now known to have a culture of pervasive sexual
                   misconduct and sexual abuse throughout its campus, schools, hospitals, medical clinics,

                   academic departments, Administration, and Administrators including the Dean of Students.

               448. It is upon information, and therefore belief, that Defendants COLUMBIA UNIVERSITY,

                   THE TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES",
                   have a long history and a systemic problem in failing to properly handle sexual harassment

                   and sexual abuse allegations, contrary to their Federal mandates under Title IX. This pattern




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                   and practice was evidenced by, inter alia, the previous U.S. Department of Education

                   investigations of Defendant COLUMBIA UNIVERSITY’s handling of numerous sexual
                   assault and rape cases, during which students and patients came forward to complain of

                   Defendant COLUMBIA UNIVERSITY’s gross mishandling of those cases.

               449. Furthermore, Plaintiffs are informed and believe, and on that basis state, that the numerous
                   complaints lodged against defendant COLUMBIA UNIVERSITY, its related CORP.

                   ENTITIES, and their agents, servants and employees, including but not limited to ROBERT

                   HADDEN, that were actively concealed by Defendants COLUMBIA UNIVERSITY, THE
                   TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES",

                   illustrate that Defendants had – and continues to have – a culture of ignoring, minimizing

                   and sanitizing complaints about their sexual predator ROBERT HADDEN. Yet, Defendants

                   COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their
                   related "CORP. ENTITIES", have inexplicably allowed ROBERT HADDEN to sexually

                   abuse women at their offices and premises, and since 2012 have enabled ROBERT

                   HADDEN to obtain “disability coverage” and retain his retirement benefits.
               450. Notwithstanding the tone-deaf, if not obtuse, silence on these issues, defendants

                   COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their

                   related "CORP. ENTITIES” continued to put female Patients directly in harms’ way by
                   enabling their resident-predator ROBERT HADDEN to sexually exploit and abuse female

                   patients for over 20 years.

               451. Plaintiffs are informed and believe, and on that basis state, that Defendants knew, or should
                   have known, of ROBERT HADDEN’s propensity, disposition and proclivity to engage in

                   sexual exploitation and misconduct with female patients as he sexually abused and molested

                   Plaintiffs (and hundreds of other female COLUMBIA UNIVERSITY and their related

                   "CORP. ENTITIES” patients), and knew of the probability that ROBERT HADDEN would
                   assault, exploit and molest other patients with whom he came into contact, including but not

                   limited to Plaintiffs. Moreover, Plaintiffs are informed and believe that, the majority of the




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                  times that ROBERT HADDEN sexually abused a female patient at Defendant COLUMBIA

                  UNIVERSITY, and their related "CORP. ENTITIES", an agent, servant and/or employee
                  Chaperone of the defendants was present — witnessing the predatory grooming and sexual

                  abuse — yet did nothing to intervene. Instead, before the patient was clothed, the Chaperone

                  would just walk out of the room.
               452. Defendants failed to act in any kind of reasonable manner, and failed to implement

                  reasonable and necessary safeguards to avoid acts of unlawful sexual conduct and abuse by

                  ROBERT HADDEN in the future, including avoiding placement of HADDEN in a position
                  where contact and interaction with vulnerable patients was an inherent part of his work.

                  Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,

                  and their related "CORP. ENTITIES" ignored, hid and suppressed all of the sexual

                  misconduct that ROBERT HADDEN had engaged in.
               453. Plaintiffs are informed and believe, and on that basis state, that Defendants COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP.

                  ENTITIES” were apprised, knew, or should have known, and/or were put on notice of
                  ROBERT HADDEN’s past sexual abuse and rampant sexual exploitation of female patients,

                  past complaints and/or investigations, and Defendant ROBERT HADDEN’s propensity,

                  proclivity and disposition to engage in such unlawful sexual exploitation and abuse of female
                  patients, such that Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF

                  COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES" knew, or should have

                  known, that ROBERT HADDEN would commit wrongful sexual acts with female patients,
                  including Plaintiffs.

               454. Plaintiffs are informed and believe, and on that basis state, that personnel and/or

                  employment records and other records of Defendants COLUMBIA UNIVERSITY, THE

                  TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES”, reflect
                  numerous incidents of inappropriate sexual contact and conduct with patients by ROBERT

                  HADDEN, and other professionals, employees, assistants, agents, supervisors and others, on




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                   the physical premises of such Defendants. Based on these records, Defendants COLUMBIA

                   UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP.
                   ENTITIES”, knew and/or should have known of ROBERT HADDEN’s history of sexual

                   abuse, past claims and/or past investigations, and his propensity and disposition to engage in

                   unlawful activity and unlawful sexual activity with patients, such that Defendants knew, or
                   should have known, that ROBERT HADDEN would commit wrongful sexual acts with those

                   patients, including Plaintiffs.

               455. The sexual exploitation and abuse of female patients is a foreseeable act which was known
                   to Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                   UNIVERSITY, and their related "CORP. ENTITIES”. It is also a foreseeable act which is

                   known in medicine and by medical practitioners worldwide. Because of how well known the

                   risk of sexual abuse is, the governing bodies in general, and COLUMBIA UNIVERSITY,
                   THE TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES” in

                   particular, have enacted Rules concerning the provision of Chaperones at their hospitals,

                   offices, and clinics which provide gynecologic and obstetric services. Thus, foreseeability is
                   not an issue. The risk to be perceived, does indeed, define the duty to obey. The duty that

                   COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their

                   related "CORP. ENTITIES”, have are to provide a safe, professional, medical environment
                   where female patients can receive gynecologic and obstetric care and treatment. Any

                   suggestion by Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                   UNIVERSITY, and their related "CORP. ENTITIES” that they didn’t know of ROBERT
                   HADDEN’s abuse has not only proven to be untrue, it is also an admission that Defendants

                   COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their

                   related "CORP. ENTITIES” failed in their duty to take the steps necessary to ensure that a

                   safe, professional, medical environment for female gynecology and obstetrical patients was
                   being provided.




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               456. Because of the relationship between Plaintiffs and Defendants, Defendants had an

                   obligation, responsibility and duty, under the law, not to hide material facts and information
                   about ROBERT HADDEN’s past, and his deviant sexual behavior and propensities.

                   Additionally, Defendants had an affirmative duty to inform, warn, and institute appropriate

                   protective measures to safeguard patients who were reasonably likely to come in contact
                   with ROBERT HADDEN — including, at a minimum, terminating ROBERT HADDEN’s

                   employment and reporting him to the Police and the New York State Medical Board.

                   Defendants willfully refused to notify, give adequate warning and implement appropriate
                   safeguards, thereby creating the peril that ultimately damaged Plaintiffs and hundreds of

                   other female COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                   UNIVERSITY, and their related "CORP. ENTITIES” Patients.

               457. Pursuant to New York Social Services Law, Article 6, Title 6, and Section 413, Defendants
                   COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their

                   related "CORP. ENTITIES”, ROBERT HADDEN, and their agents, servants, and/or

                   employees are “mandated reporters” of childhood sexual abuse. As such, any healthcare
                   practitioner employed in a healthcare facility, clinic, physician’s office, hospital local or state

                   public health department, or a clinic or other type of facility, operated by a local or state

                   public health department who, in his/her professional capacity or within the scope of his/her
                   employment, provides medical services to a minor who he/she knows, or reasonably

                   suspects, has been sexually exploited, or sexually abused by an adult perpetrator, must report

                   to a local law enforcement agency by telephone, immediately or as soon as is practicable,
                   and also by written report after receiving the information regarding the perpetrator of the

                   abuse. By and through its health practitioner agents, servants, and/or employees - and

                   Defendant ROBERT HADDEN himself - Defendants COLUMBIA UNIVERSITY, THE

                   TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP. ENTITIES”, ROBERT
                   HADDEN, and their agents, servants, and/or employees violated the foregoing laws of the

                   State of New York by failing to report the sexual exploitation and sexual abuse committed by




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                   ROBERT HADDEN upon a minor to local law enforcement each time it witnessed,

                   perpetrated, and/or reports were received of ROBERT HADDEN committing a sexual
                   assault or battery upon a minor female patient. Furthermore, Defendants COLUMBIA

                   UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP.

                   ENTITIES”, ROBERT HADDEN, and their agents, servants, and/or employees have
                   deliberately attempted to conceal their recurring failures to comply with State and Federal

                   Law by publicly and falsely claiming that it had no legal duty to report ROBERT

                   HADDEN’s sexually abusive behavior to law enforcement, that ROBERT HADDEN had/
                   has acted in a medically appropriate manner at times, and that ROBERT HADDEN was out

                   on “medical leave” beginning in or around August 2012.

               458. Plaintiffs are informed and believe, and on that basis state, that as part of Defendants'

                   conspiratorial and fraudulent attempt to hide ROBERT HADDEN’s propensity to sexually
                   abuse and molest female patients, and minor female patients, from public scrutiny and

                   criminal investigation, that Defendants implemented various measures designed to make

                   ROBERT HADDEN’s conduct harder to detect and served to ensure that other patients and
                   minors with whom he came into contact, such as Plaintiffs, would be sexually abused,

                   including:

                      •   Permitting ROBERT HADDEN to remain in a position of authority and trust after
                          Defendants knew or should have known that he sexually exploited and abused female

                          patients;

                      •   Placing ROBERT HADDEN in a separate and secluded environment at Defendant
                          COLUMBIA UNIVERSITY, their related "CORP. ENTITIES”, and their offices,

                          hospitals, and clinics, which granted him unfettered access and authority over patients

                          as purported to conduct extremely sensitive obstetric and gynecologic treatment,

                          thereby allowing ROBERT HADDEN to physically and sexually interact with and
                          exploit the female patients, including each of the Plaintiffs herein;




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                     •   Moving ROBERT HADDEN from one clinic to another every few years as

                         complaints of his sexual exploitation and abuse mounted during each new move;
                     •   Failing to disclose and actively concealing ROBERT HADDEN’s prior record of

                         misconduct, sexual abuse, sexual exploitation, harassment and molestation and his

                         propensity to commit such acts towards patients, from plaintiffs herein, defendants’
                         other patients, the public at large, and law enforcement;

                     •   Enabling a known predator such as ROBERT HADDEN to have unfettered and un-

                         controlled access to female patients, including the Plaintiffs herein;
                     •   Enabling pedophilia and sexual abuse of minors;

                     •   Holding out ROBERT HADDEN to Plaintiffs, other patients of Defendants

                         COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,

                         their related "CORP. ENTITIES”, the alumni members of COLUMBIA
                         UNIVERSITY, and the public at large as a trustworthy and honest person of high

                         ethical and moral standards who was capable and worthy of being granted

                         unsupervised access to female patients of Defendants COLUMBIA UNIVERSITY,
                         THE TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP.

                         ENTITIES”.

                     •   Failing to investigate and otherwise confirm or deny such facts about ROBERT
                         HADDEN, including prior complaints, and/or claims and investigations of sexual

                         exploitation and abuse;

                     •   Falsely, and fraudulently, denying the truth surrounding ROBERT HADDEN’s known
                         sexual exploitation and abuse of female patients in a concerted and well scripted

                         effort to actively dissuade women from filing lawsuits against COLUMBIA

                         UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related

                         "CORP. ENTITIES”, ROBERT HADDEN, and their agents, servants, and/or
                         employees.




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                      •   Failing to inform, and actively concealing from Plaintiffs, other patients, the State of

                          New York Office of Professional Medical Conduct, and law enforcement officials,
                          the fact that Plaintiffs and other patients were or may have been sexually abused,

                          exploited, harassed and/or molested, after Defendants knew or should have known

                          that ROBERT HADDEN may have/and had sexually exploited and abused Plaintiffs
                          or others, thereby enabling Plaintiffs to continue to be endangered and sexually

                          exploited, abused, harassed, molested, and/or creating the circumstance where

                          Plaintiffs and others were less likely to receive proper medical and psychological
                          treatment, thus exacerbating the harm to Plaintiffs;

                      •   Holding out ROBERT HADDEN to Plaintiffs and to the community as being a person

                          in good standing, trustworthy, knowledgeable and authoritative;

                      •   Cloaking ROBERT HADDEN’s sexual misconduct with patients within the facade of
                          normalcy, thereby disguising the nature of his sexual exploitation and abuse;

                      •   Failing to take reasonable steps and to implement safeguards to avoid acts of

                          unlawful sexual conduct by ROBERT HADDEN such as avoiding placement of
                          ROBERT HADDEN in functions and/or environments in which his intimate contact

                          with female patients was inherent;

                      •   Failing to put in place a system, or procedure, to supervise or monitor physicians
                          (and specifically ROBERT HADDEN), chaperones, and agents to ensure they do not

                          molest and/or abuse patients in Defendants' care, and that they further report all

                          reasonable suspicions of sexual assault and battery to law enforcement pursuant to the
                          mandatory reporter laws.

               459. By his association and professional relationship within the Defendants' Corp. Entities,

                  Defendant ROBERT HADDEN attained a position of authority and influence over Plaintiffs

                  and others. Defendants' conduct created a situation of peril that was not, and could not, be
                  appreciated by Plaintiffs. By virtue of Defendants' exploitative, conspiratorial and fraudulent

                  conduct, and in keeping with their intent to fail to disclose and hide ROBERT HADDEN’s




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                  past and present conduct from the COLUMBIA UNIVERSITY community, the Patients of

                  Defendants and their Corp. Entities, the public at large, the State Medical Board, and law
                  enforcement, Defendants allowed ROBERT HADDEN to remain in a position of influence

                  and authority where his unsupervised, and/or negligently supervised, conduct with patients

                  made the exploitation, molestation and abuse of female patients, including the Plaintiffs
                  herein, possible.

               460. Through his position within the Defendants' institutions and clinics, Defendants and

                  ROBERT HADDEN demanded and required that Plaintiffs respect ROBERT HADDEN in
                  his position as a OBGYN physician for Defendant COLUMBIA UNIVERSITY, THE

                  TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES”.

               461. The sexual harassment, exploitation and abuse of Plaintiffs by HADDEN, outlined herein,

                  took place while ROBERT HADDEN was an OBGYN physician employed, retained,
                  managed, and supervised by Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF

                  COLUMBIA UNIVERSITY, their related "CORP. ENTITIES”, and Plaintiffs were patients

                  of Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA
                  UNIVERSITY, their related "CORP. ENTITIES”, offices, hospitals, and clinics while

                  ROBERT HADDEN was serving as an agent, servant, and employee of Defendants in his

                  capacity as a physician and faculty member.
                      a.     In his capacity as a physician and faculty member with Defendants COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP.

                  ENTITIES”, ROBERT HADDEN was given custody, control, supervision, and authority
                  over patients, including Plaintiffs. ROBERT HADDEN used this position of authority to

                  groom and exploit female patients, to concede to his prurient sexual demands, using his

                  authority and position of trust to exploit and manipulate them physically, sexually, and

                  emotionally;
                      b.     Plaintiffs were patients of COLUMBIA UNIVERSITY, THE TRUSTEES OF

                  COLUMBIA UNIVERSITY, their related "CORP. ENTITIES” in or around the early 1990’s




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                  through 2012, during which time, Plaintiffs came into contact with ROBERT HADDEN at

                  the premises, hospitals, offices, and clinics, of defendant COLUMBIA UNIVERSITY, THE
                  TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP. ENTITIES”. Plaintiffs

                  are informed and believe ROBERT HADDEN would use the guise of obstetric and

                  gynecologic care and treatment to groom female patients, and normalize intimate,
                  inappropriate, exploitative and sexually abusive contact with Plaintiffs. During this period,

                  Plaintiffs were patients under ROBERT HADDEN’s direct supervision and control.

                     c.      Plaintiffs are informed and believe ROBERT HADDEN’s physical and sexual
                  abuse of Plaintiffs commenced in or around 1992 and continued through in or around 2012.

                  During this period, Plaintiffs were patients under ROBERT HADDEN’s, and Defendant

                  COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their

                  related "CORP. ENTITIES”'s direct supervision and control. Using his position as a
                  physician, ROBERT HADDEN would interact with Plaintiffs under the guise of providing

                  them care and treatments necessary for their health and well-being. Under these

                  circumstances, ROBERT HADDEN would, among other abusive acts, force Plaintiffs to strip
                  naked, grope their bare breasts and digitally penetrate their vaginas, in the presence of other

                  medical professional staff, for non-medical reasons. ROBERT HADDEN’s sexual abuse,

                  exploitation, molestation, and harassment of Plaintiffs occurred on the premises of
                  Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,

                  and their related "CORP. ENTITIES” offices, clinics and hospitals.

                     d.      During these occurrences, ROBERT HADDEN groped, penetrated, verbally
                  violated, manipulated, groomed and otherwise sexually abused and exploited Plaintiffs -

                  under the guise of performing medical procedures - for ROBERT HADDEN’s own sexual

                  gratification and prurient interests. ROBERT HADDEN would have the Plaintiffs remove all

                  of their clothes and lay on the treatment table naked. ROBERT HADDEN would then
                  perform his acts of sexual abuse upon Plaintiffs, in front of another medical professionals




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                  employed as chaperones by defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF

                  COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES”.
                     e.      ROBERT HADDEN’s sexual abuse and harassment of Plaintiffs was done for

                  ROBERT HADDEN’s personal sexual gratification, and it annoyed, disturbed, exploited,

                  irritated, and offended Plaintiffs as it would have any reasonable person. Plaintiffs did not,
                  and could not, consent to the sexual abuse, exploitation and harassment by ROBERT

                  HADDEN.

               462. As set forth more fully herein above, ROBERT HADDEN did sexually abuse, exploit,
                  harass and molest Plaintiffs, who were students and patients at the time of the acts at issue.

                  Plaintiffs are informed and believe, and on that basis state, that such conduct by ROBERT

                  HADDEN was based upon Plaintiffs’ gender, and was done for ROBERT HADDEN’s own

                  sexual gratification. These actions upon Plaintiffs were performed by ROBERT HADDEN
                  without the free consent of Plaintiffs.

               463. During the period Plaintiffs were being sexually exploited, abused and harassed by

                  ROBERT HADDEN, Defendants had the authority and ability to prevent such abuse by
                  removing ROBERT HADDEN from his position as an obstetrical and gynecological

                  physician at Defendant COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                  UNIVERSITY, and their related "CORP. ENTITIES”. They failed to do so, allowing the
                  abuse to occur and to continue unabated. Plaintiffs are informed and believe, and on that

                  basis state, that this failure was a part of Defendants' conspiratorial plan and arrangement to

                  conceal ROBERT HADDEN’s wrongful acts, to avoid and inhibit detection, to block public
                  disclosure, to avoid scandal, to avoid the disclosure of their tolerance of doctor-sexual-abuse,

                  to preserve a false appearance of propriety, and to avoid investigation and action by public

                  authorities including law enforcement and the New York State Medical Board, Office of

                  Professional Medical Conduct. Such actions were motivated by a desire to protect the
                  reputation of Defendants and protect the monetary support of Defendants provided by




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                   alumni and other donors, while fostering an environment where such abuse could, would,

                   and has continued to occur.
               464. As a direct result of the sexual harassment and abuse of Plaintiffs by ROBERT HADDEN,

                   Plaintiffs have had difficulty in meaningfully interacting with others, including those in

                   positions of authority over Plaintiffs including other physicians, gynecologists, athletic
                   supervisors, professors, superiors at work, and other men in general. Plaintiffs have been

                   limited in their ability to meaningfully interact with others due to the trauma of this sexual

                   exploitation and abuse. This inability to interact creates a conflict with Plaintiffs’ values of
                   trust and confidence in others, and has caused Plaintiffs substantial emotional distress,

                   anxiety, nervousness and fear. As a direct result of the sexual abuse, exploitation and

                   molestation by ROBERT HADDEN, Plaintiffs suffered immensely, including, but not

                   limited to, encountering issues with a lack of trust, various negative psychological and
                   emotional sequelae, depressive symptoms, eating disorders, anxiety, and nervousness.

               465. As a direct and proximate result of Defendants' tortious acts, omissions, fraudulent

                   concealment, wrongful conduct and breaches of their duties, Plaintiffs’ employment and
                   professional development have been adversely affected. Plaintiffs have lost wages and will

                   continue to lose wages in an amount to be determined at trial. Plaintiffs have suffered

                   substantial economic injury, all to Plaintiffs’ general, special and consequential damage in an
                   amount to be proven at trial, but in no event less than the minimum jurisdictional amount of

                   this Court.

               466. As a further direct and proximate result of Defendants' wrongful actions, as herein stated,
                   Plaintiffs have been injured and/or damaged in their health, strength and activity. Plaintiffs

                   have sustained permanent and continuing injury to their nervous systems and persons, which

                   has caused and continues to cause great mental, physical, emotional and nervous pain,

                   suffering, fright, upset, grief, worry and shock in an amount according to proof at trial but in
                   no event less than the jurisdictional minimum requirements of this Court.




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               467. As is set forth herein, defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF

                  COLUMBIA UNIVERSITY, their related "CORP. ENTITIES” and ROBERT HADDEN
                  have failed to uphold numerous mandatory duties required of them by State and Federal

                  Law, as well as their own internal written policies and procedures, including but not limited

                  to:
                        •   Duty of health care professionals to report reasonable suspicions of sexual abuse to

                            law enforcement;

                        •   Duty to use reasonable care to protect participants and members from known or
                            foreseeable dangers;

                        •   Duty to enact policies and procedures that are not in contravention of the Federal

                            Civil Rights Act, Section 1983, Title IX, and the 14th Amendment of the United

                            States Constitution;
                        •   Duty to enforce policies and procedures that are not in contravention of the Federal

                            Civil Rights Act, Section 1983, Title IX, and the 14th Amendment of the United

                            States Constitution;
                        •   Duty to protect participants and patients and members and staff, and provide adequate

                            supervision;

                        •   Duty to ensure that any direction given to participants and members is lawful, and
                            that adults act fairly, responsibly and respectfully towards participants and members;

                        •   Duty to properly train staff so that they are aware of their individual responsibilities

                            for creating and maintaining a safe environment;
                        •   Duty to review the criminal history of applicants and current employees;

                        •   Duty to provide diligent supervision over patients;

                        •   Duty to act promptly and diligently and not ignore or minimize problems;

                        •   Duty to report suspected incidents of sexual abuse;
                        •   Duty to report and log crimes on or near campus pursuant to The Cleary Act;




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                      •   Duty to maintain, publish and disclose crimes on or near campus pursuant to The

                          Cleary Act; and
                      •   Duty to check, monitor, and review the Police records at precincts on or near their

                          campus, offices, and clinics pursuant to The Cleary Act.

               468. Defendants and each of them had and have a duty to protect patients, including Plaintiffs.
                   Defendants were required to, and failed, to provide adequate supervision, and failed to be

                   properly vigilant in ensuring that supervision was sufficient at defendants COLUMBIA

                   UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP.
                   ENTITIES” offices, hospitals, and clinics to protect the safety of Plaintiffs and others.

               469. Despite having a duty to do so, Defendants failed to adequately train and supervise all staff

                   to create a positive and safe environment, specifically including training to perceive, report

                   prevent and/or stop inappropriate sexual exploitation and conduct by other members of the
                   staff, specifically including ROBERT HADDEN and female patients.

               470. Defendants failed to enforce their own rules and regulations designed to protect the health

                   and safety of its patients and Plaintiffs. Further, they failed to adopt and implement safety
                   rules, policies and procedures designed to protect patients, such as Plaintiffs, from the

                   sexually exploitive and abusive acts of their agents, servants, and employees such as

                   ROBERT HADDEN and the chaperones who continued to leave the rooms knowing full
                   well of the sexual exploitation and abuse that was being perpetrated by ROBERT HADDEN.

               471. In subjecting Plaintiffs to the wrongful treatment herein described, Defendants ROBERT

                   HADDEN, COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,
                   their related "CORP. ENTITIES” acted willfully and maliciously with the intent to harm

                   Plaintiffs, and in conscious disregard of Plaintiffs’ Rights, so as to constitute malice and/or

                   oppression. Plaintiffs are informed, and on that basis state, that specifically, the Defendants

                   acted in concert, and under their authority both as an educational institution and medical
                   provider, with reckless disregard for the concern of the students and patients in their charge,

                   in order to further financially benefit its businesses’s growth. The Defendants’ action are




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                  intentional and create an environment that harbors molesters, puts its vulnerable patients at

                  risk of harm, ignores clear warning signs and their duties to report sexual abusers and
                  molesters in their ranks, to maintain a facade of normalcy, in order to maintain its funding,

                  and donations, and provide further financial growth of defendants COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP.
                  ENTITIES”, on the International level. The safety of the patients that were entrusted to

                  defendants ROBERT HADDEN, COLUMBIA UNIVERSITY, THE TRUSTEES OF

                  COLUMBIA UNIVERSITY, their related "CORP. ENTITIES” and was compromised due to
                  Defendants’ collective desire to maintain the status quo of the defendants COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP.

                  ENTITIES” organizations, to continue to enjoy the financial support of their alumni, and

                  avoid any public scrutiny of their long-standing and pervasive misconduct. Plaintiffs are
                  informed, and on that basis state, that these willful, exploitative, malicious, and/or oppressive

                  acts, as stated herein above, were ratified by COLUMBIA UNIVERSITY, THE TRUSTEES

                  OF COLUMBIA UNIVERSITY, their related "CORP. ENTITIES”, and the Officers,
                  Directors, Administrators, and/or managing agents of the Defendants. Plaintiffs are,

                  therefore, entitled to recover punitive damages, in an amount to be determined by the court,

                  against Defendants ROBERT HADDEN, COLUMBIA UNIVERSITY, THE TRUSTEES OF
                  COLUMBIA UNIVERSITY, their related "CORP. ENTITIES”.

                                     STATUTES OF LIMITATIONS ARE TOLLED

               472. The conduct underlying the various causes of action set forth herein were committed at

                  different times.

               473. Upon information and belief, Defendants and their attorneys have violated each of the

                  Plaintiffs’ privacy and HIPPA protections by illegally accessing Plaintiff’s private and

                  protected medical records without their authorization or consent. Further, Defendants have

                  caused, and are continuing to cause, Plaintiffs to endure mental and emotional pain,




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                   suffering, and duress as a result of Defendants’ refusal to issue letters permitting the removal

                   of ROBERT HADDEN’s name form the birth certificates of their children. The presence of

                   the name of sexual felon ROBERT HADDEN - who sexually assaulted each of the women

                   herein - on the birth certificates of Plaintiffs’ minor children is repugnant to the senses and

                   must be removed. Defendants abject refusal to issue a letter which would permit Plaintiffs’ to

                   remove ROBERT HADDEN’s name from the birth certificates is an act of intimidation,

                   malice, and intentional wrongdoing which is ongoing. Thus Plaintiffs’ claims for damages as

                   to all these acts and omissions are timely.

               474. Further, Plaintiffs were each sexually abused by ROBERT HADDEN upon Defendant

                   COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their

                   related CORP. ENTITIES’ campuses, hospitals, offices, and medical clinics from in or

                   around 1992 to in or about August 2012, while Plaintiffs were patients of the within named

                   Defendants, their agents, servants, and/or employees.

               475. The sexual abuse that each Plaintiff endured which was committed by ROBERT HADDEN,

                   was wholly enabled by COLUMBIA UNIVERSITY, THE TRUSTEES ODF COLUMBIA

                   UNIVERSITY, CORP. ENTITIES, and their agents, servants, and/or employees. In each of

                   these cases, a chaperone employed by Defendant COLUMBIA UNIVERSITY, THE

                   TRUSTEES OF COLUMBIA UNIVERSITY, and their related CORP. ENTITIES”

                   witnessed the abuse and did nothing to intervene.

               476. In a concerted and well orchestrated effort, Defendants actively set out to coach and train its

                   employees on the importance of concealing and suppressing the multitude of complaints

                   about ROBERT HADDEN’s sexually abusive behavior. Such efforts were specifically




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                  designed to deceive Plaintiffs into believing that ROBERT HADDEN’s sexual exploitation

                  and abuse was a form of “legitimate medical treatment”.

               477. Indeed, each of the Plaintiffs, and countless other patients of COLUMBIA UNIVERSITY,

                  THE TRUSTEES OF COLUMBIA UNIVERSITY, and their related CORP. ENTITIES’ have

                  tried to report, and have actually reported, ROBERT HADDEN’s misconduct to defendants

                  and their agents. Yet, each plaintiff was induced to believe that their complaints were without

                  merit. In essence, Plaintiffs’ were duped, lied to, and told various false stories by Defendants

                  such as ROBERT HADDEN is “just old-school”, “didn’t mean it that way”, is “out on

                  medical leave right now”, “You’re the only person who has ever said anything like that, so

                  I’m sure it’s not true” and “that’s just his way of doing things”. Even within COLUMBIA

                  UNIVERSITY and CORP. ENTITIES, the Chaperones who tried to report were told “Just

                  stay with your doctor and don’t let him get himself in trouble.” Defendants’ massive

                  coverups and overt efforts to convince Plaintiffs that ROBERT HADDEN’s conduct was

                  somehow acceptable was intentionally designed to confuse and mislead plaintiffs who were

                  sexually abused by ROBERT HADDEN.

               478. All of said statement, and more, which were made by Defendants were knowingly false and

                  cleverly designed to get the Plaintiffs to forbear in filing a formal Complaint against

                  defendants. In furtherance of the coverups, no one from Defendant COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP.

                  ENTITIES” has ever - to this day - contacted Plaintiffs, or any other patients of ROBERT

                  HADDEN, to inform them that ROBERT HADDEN’s actions were inappropriate, illegal,

                  and abusive.




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               479. Upon information and belief, in or around August of 2012, Defendant COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP.

                  ENTITIES” began paying defendant ROBERT HADDEN financial compensation in

                  exchange for his quiet resignation or medical leave, in order to continue to conceal ROBERT

                  HADDEN’s sexually abusive nature from the public, other patients, and specifically the

                  Plaintiffs herein. Defendants actions are intentionally designed to insulate itself from both

                  civil liability and a criminal investigation.

               480. Based on the words and conduct of each of the defendants, their agents, servants, and/or

                  employees, plaintiffs were induced to not file a complaint earlier. Because defendants have

                  fraudulently induced Plaintiffs to forbear in filing a formal complaint, each of Plaintiff’s

                  statute of limitations has been tolled, and Defendants ROBERT HADDEN, COLUMBIA

                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP.

                  ENTITIES” are each equitably estopped from asserting the statute of limitations as a

                  defense.

               481. Defendants ROBERT HADDEN, COLUMBIA UNIVERSITY, THE TRUSTEES OF

                  COLUMBIA UNIVERSITY, their related "CORP. ENTITIES” acted wrongfully in ignoring

                  and actively concealing the myriad of complaints of sexual misconduct lodged against

                  ROBERT HADDEN, and further breached numerous mandatory duties owed to Plaintiffs by

                  holding ROBERT HADDEN out as a trusted, safe, and legitimate medical professional, and

                  failing to warn Plaintiffs of ROBERT HADDEN’s proclivity to sexually abuse young female

                  patients. Moreover, Plaintiffs were coerced into not talking about the abusive acts they

                  endured by the threatening and intimidating actions of ROBERT HADDEN and CORP.




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                   ENTITIES’ nurse Chaperones — who placed them under duress and also in imminent fear

                   — and only came forward once the coercive nature of his acts subsided, due to the media’s

                   revelation of ROBERT HADDEN’s pattern of misconduct and the subsequent police

                   investigation allowing such women, including Plaintiffs, to come forward without fear of

                   retribution by Defendants ROBERT HADDEN, COLUMBIA UNIVERSITY, THE

                   TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES”.

               482. Furthermore, Plaintiffs were led to believe that ROBERT HADDEN’s sexual abuse was not,

                   in fact, sexual abuse, but rather was legitimate obstetrical and gynecological treatment, due

                   to the fact that ROBERT HADDEN, COLUMBIA UNIVERSITY, THE TRUSTEES OF

                   COLUMBIA UNIVERSITY, and their related CORP. ENTITIES’s Chaperones witnessed the

                   sexual exploitation and abuse yet did nothing to intervene. Many of the Plaintiffs were young

                   women at the time they were sexually abused by ROBERT HADDEN, and for some of

                   Plaintiffs, their appointments with ROBERT HADDEN were their first visits to a

                   gynecologist or obstetrician, such that they had no prior experiences of legitimate OBGYN

                   examinations to compare ROBERT HADDEN’s purported treatments to.

               483. Plaintiffs herein were not, and are not, clinical medical professionals and had no specialized

                   or relevant medical training, and thus did not, and could not, have reasonably discovered

                   their abuse at an earlier date than they did. As such, they were blamelessly ignorant of the

                   true facts related to their abuse until it was revealed many years later after ROBERT

                   HADDEN entered his guilty pleas in Criminal Court, when the allegations of sexual

                   misconduct against ROBERT HADDEN received some media attention, that Plaintiffs knew,

                   or had reason to know, that their claims against Defendants ROBERT HADDEN,




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                   COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their

                   related CORP. ENTITIES had accrued. Thus, the Plaintiffs’ claims have not accrued as

                   defendants ROBERT HADDEN, COLUMBIA UNIVERSITY, THE TRUSTEES OF

                   COLUMBIA UNIVERSITY, and their related CORP. ENTITIES continue to fraudulently

                   deny any kind of wrongdoing as to any of women that ROBERT HADDEN sexually

                   exploited and abused - including those who ROBERT HADDEN pled guilty to abusing.

               484. For several months Defendant COLUMBIA UNIVERSITY, THE TRUSTEES OF

                   COLUMBIA UNIVERSITY, CORP. ENTITIES, and ROBERT HADDEN have been

                   affirmatively and directly asking plaintiffs to forbear in filing this complaint and have

                   offered to try to negotiate a private settlement in lieu of filing a formal legal action.

               485. Instead of making a good-faith, bona fide effort to compensate the Plaintiffs herein, enact

                   and implement the necessary changes to protect other female patients going forward, and

                   resolve these cases without filing a formal action, COLUMBIA, its TRUSTEES, and CORP.

                   ENTITIES have only compounded the injuries inflicted upon these women by continuing to

                   lie to them in an ongoing effort to prevent the women from filing a formal complaint. Only

                   now has it now become clear that COLUMBIA’s false representations - and direct

                   instructions to forbear in filing the additional complaints - were an intentional and

                   premeditated act by Columbia in its ongoing campaign to induce plaintiffs to not file their

                   formal complaints in court.

               486. Because of the affirmative and intentionally false statements by CORP. ENTITIES about the

                   propriety of the “medical treatment” being rendered by ROBERT HADDEN; the knowingly

                   false statements to Plaintiffs that what ROBERT HADDEN was doing to Plaintiffs wasn’t an




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                  act of doctor sexual abuse; the knowingly false statements that what ROBERT HADDEN

                  was doing was some form of legitimate medical treatment — or on account of ROBERT

                  HADDEN simply being an “old-school” doctor; the knowingly false statements to Plaintiffs

                  that ROBERT HADDEN was no longer at defendants offices because he was out on

                  “medical disability”; the nurse Chaperones’ active and continuing approval of the

                  exploitative and abusive conduct being committed by ROBERT HADDEN; CORP.

                  ENTITIES’ ongoing, direct solicitations of Plaintiffs for financial donations to their

                  institution — both during and following ROBERT HADDEN’s criminal prosecution and

                  conviction for doctor-sexual; COLUMBIA UNIVERSITY Law School’s (CAPI)

                  propagandized audit of the Manhattan District Attorney’s campaign finances, which wholly

                  failed to reference the fact that COLUMBIA’s own doctor was part of the public outrage over

                  the District Attorney’s failure to prosecute affluent white-men whose lawyers donate money

                  to the District Attorney’s re-election campaign; Co-Defendant THE NEW YORK AND

                  PRESBYTERIAN HOSPITAL’s award-winning advertising campaign that blanketed the

                  City of New York while ROBERT HADDEN was under criminal investigation for doctor-

                  sexual abuse — that touted the “Amazing Things” happening at their institutions — which

                  was designed to create subterfuge and further convince up to 30,000 women that they were

                  not sexually abused by ROBERT HADDEN; and Defendants’ most recent efforts to get

                  plaintiffs to continue to forbear in filing a formal Complaint by encouraging a meeting to

                  discuss both financial remuneration and the enactment of institution-wide policy changes to

                  help prevent doctor-sexual abuse; defendants should therefore be legally estopped from

                  asserting the statute of limitations as a defense.




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               487. Further, under CPLR § 215(8) the civil statute of limitations is tolled and doesn’t start to run

                   until the conclusion of a criminal action that results in a conviction of a defendant. The

                   resolution of the criminal proceedings which resulted in ROBERT HADDEN’s conviction

                   occurred in the Spring of 2016. The State’s successful conviction was based upon the same

                   pattern of abuse, and institutional enabling, that each of the women herein endured. Further,

                   nearly all of the survivor’s herein participated in the State’s criminal prosecution of

                   ROBERT HADDEN. While there is no specific time stated in CPLR § 215(8), the statute

                   states that there is “at least” one year to file a criminal case, but it is longer based on a

                   variety of other factors including the actual, prevailing, civil statute of limitations such as

                   negligence which is 3-years. Accordingly, the actions for each of the survivors herein are

                   timely.

               488. Further, plaintiffs have been physically, mentally and emotionally traumatized by

                   defendants’ conduct, sexual exploitation and abuse, and have lacked the capacity to deal

                   with, and confront, the important legal issues and rights herein until the present.

               489. As such, the statute of limitations is tolled, and defendants are estopped from asserting the

                   defense of a statute of limitation.

                                                  FIRST CAUSE OF ACTION
                                                    Title IX 20 U.S.C. § 1681

               490. Plaintiffs re-state and incorporate by reference each and every allegation contained herein
                   above as though fully set forth and brought in this cause of action.

               491. Title IX of the Education Amendments Act of 1972 states, “No person in the United States

                   shall on the basis of sex, be ... subject to discrimination under any education program

                   or activity receiving Federal financial assistance ...” 20 U.S.C. § 1681, et seq.




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               492. Plaintiffs and members of the Class are “persons” under Title IX. 80.            COLUMBIA

                   UNIVERSITY and/or its related CORP. ENTITIES receive federal financial assistance for its
                   education program and is therefore subject to the provisions of Title IX of the Education Act

                   of 1972, 20 U.S.C. §1681(a), et seq.

               493. COLUMBIA UNIVERSITY and CORP. ENTITIES are required under Title IX to
                   investigate allegations of sexual assault, sexual abuse, and sexual harassment.

               494. ROBERT HADDEN’s conduct described above constitutes sexual harassment, sexual

                   abuse, and sexual assault, and constitutes sex discrimination under Title IX.
               495. The COLUMBIA UNIVERSITY and CORP. ENTITIES Defendants were on notice of

                   ROBERT HADDEN’s conduct as described above. The COLUMBIA UNIVERSITY and

                   CORP. ENTITIES Defendants nonetheless failed to carry out their duties, responsibilities

                   and/or obligations to investigate and take corrective and mandatory action under Title IX.
               496. Defendants’ actions, as stated herein, have and will continue to interfere with Plaintiffs’

                   right to be free from gender discrimination in the form of sexual harassment in the

                   educational and collegiate athletic setting, codified under Title IX 20 U.S.C. §1681.
                   Furthermore, the Plaintiffs had a right to have Defendant COLUMBIA UNIVERSITY and

                   CORP. ENTITIES respond immediately and investigate their sexual assaults, sexual

                   exploitations, molestations and harassment perpetrated by ROBERT HADDEN.
               497. During Plaintiffs’ time as patients at Defendant COLUMBIA UNIVERSITY and CORP.

                   ENTITIES, Defendants engaged in oppressive and unlawful tactics in ignoring, concealing,

                   and ultimately suppressing the Plaintiffs’ complaints of being sexually exploited and abused
                   by ROBERT HADDEN. Plaintiffs were threatened, intimidated, lied to, and coerced for

                   reporting ROBERT HADDEN’s sexually abusive conduct, by ROBERT HADDEN’s own

                   intimidating and humiliating conduct, as well as the conspiratorial silence, and actively

                   fraudulent statements, of Defendant COLUMBIA UNIVERSITY and CORP. ENTITIES
                   administrators, supervisors, and chaperones. These intentional acts of concealment of




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                   ROBERT HADDEN’s abusive behavior violated the Plaintiffs’ right to be free from

                   discrimination on the basis of their gender, under Title IX 20 U.S.C. §1681.
               498. Furthermore, the Plaintiffs were deprived of Due Process of law, when various complaints

                   to Defendant COLUMBIA UNIVERSITY and CORP. ENTITIES employees failed to trigger

                   any report, investigation, or other action by Defendant COLUMBIA UNIVERSITY and
                   CORP. ENTITIES, who were required to do so, both under their own policies and

                   procedures, as well as under Federal mandate by Title IX, and the Fourteenth Amendment. In

                   addition, these actions were contrary to Plaintiffs’ civil rights guaranteed under the
                   Constitution of the State of New York.

               499. Defendants’ wrongful conduct was intended to, and did successfully interfere with

                   Plaintiffs’ Constitutional Rights to be free from gender discrimination and harassment, as

                   well as interfered with their rights of Due Process under the United States’ Constitution,
                   specifically the Fifth and Fourteenth Amendments.

               500. Defendants unlawfully and wrongfully used, or employed others to wrongfully use, threats,

                   intimidation, harassment, violence, and coercion over Plaintiffs’ person, to which Plaintiffs
                   had no relief except to submit to the Defendants’ wrongful threats, intimidation, harassment,

                   violence, and coercion, which rendered Plaintiffs’ submission involuntary.

               501. Defendants’ above-noted actions were the legal and proximate causes of physical,
                   psychological, emotional, and economic damages, and damage to the Plaintiffs, who have

                   suffered and continue to suffer to this day. The actions of Defendants have also resulted in

                   Plaintiffs incurring, and will require them to incur into the future, expenses for medical and
                   psychological treatment, therapy, and counseling.

               502. As a result of the above-described conduct, Plaintiffs suffered and continue to suffer great

                   pain of mind and body, shock, emotional distress, physical manifestations of emotional

                   distress, embarrassment, loss of self-esteem, disgrace, humiliation, and loss of enjoyment of
                   life; have suffered and will continue to suffer and were prevented and will continue to be

                   prevented from performing daily activities and obtaining the full enjoyment of life; have and




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                   will continue to sustain loss of earning capacity; and have incurred and will continue to incur

                   expenses for medical and psychological treatment, therapy, and counseling. Plaintiffs have
                   also suffered economic, vocational and employment losses, as well.

               503. In subjecting Plaintiffs to the wrongful treatment described herein, Defendants acted

                   willfully and maliciously with the intent to harm Plaintiffs, and in conscious disregard of
                   Plaintiffs’ rights, entitling Plaintiffs to compensatory damages in a sum to be shown

                   according to proof, emotional distress damages in a sum to be shown according to proof,

                   punitive and/or exemplary damages, attorney’s fees, other damages.
               504. In subjecting the Plaintiffs to the wrongful treatment herein described, Defendants

                   COLUMBIA UNIVERSITY and CORP. ENTITIES, acted willfully and maliciously with the

                   intent to harm Plaintiffs, and in conscious disregard of Plaintiffs’ Rights, so as to constitute

                   malice and oppression. Plaintiffs are therefore entitled to the recovery of punitive damages,
                   in an amount to be determined by the court, against Defendants ROBERT HADDEN,

                   COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY and CORP.

                   ENTITIES, in a sum to be shown according to proof. Furthermore, the Plaintiffs request the
                   award of attorneys’ fees pursuant to 42 U.S.C. § 1988.

               505. Accordingly Compensatory and Punitive damages are necessary under these facts as to all

                   defendants.
                                         SECOND CAUSE OF ACTION
                                 COMMITTING AND ENABLING GENDER VIOLENCE

               506. Plaintiffs re-state and incorporate by reference each and every allegation contained herein

                   above as though fully set forth and brought in this cause of action.

               507. ROBERT HADDEN’s acts of misconduct committed against Plaintiffs, as set-forth herein,
                   including the sexual harassment, exploitation, molestation and abuse of the Plaintiffs

                   constitutes gender-violence and a form of sex discrimination in that one or more of ROBERT

                   HADDEN’s acts would constitute a criminal offense under both Federal and New York State

                   Law that has as an element of the use, attempted use, or threatened use of physical force




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                  against the person of another, committed at least in part based on the gender of the victim,

                  whether or not those acts have resulted in criminal complaints, charges, prosecution, or
                  conviction.

               508. ROBERT HADDEN’s acts committed against Plaintiffs, as set-forth herein, including the

                  sexual harassment, exploitation, molestation and abuse of the Plaintiffs constitutes gender-
                  violence and a form of sex discrimination, and racial discrimination, in that ROBERT

                  HADDEN’s conduct caused a physical intrusion or physical invasion of a sexual nature upon

                  Plaintiffs under coercive conditions, whether or not those acts have resulted in criminal
                  complaints, charges, prosecution, or conviction.

               509. Defendants COLUMBIA UNIVERSITY, THE NEW YORK AND PRESBYTERIAN

                  HOSPITAL; COLUMBIA PRESBYTERIAN MEDICAL CENTER; COLUMBIA

                  UNIVERSITY MEDICAL CENTER; COLUMBIA-PRESBYTERIAN MEDICAL
                  CENTER, EAST SIDE ASSOCIATES; EAST SIDE ASSOCIATES; THE TRUSTEES OF

                  COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA UNIVERSITY

                  COLLEGE OF PHYSICIANS AND SURGEONS; PRESBYTERIAN HOSPITAL
                  PHYSICIAN SERVICES ORGANIZATION, INC.; COLUMBIA-CORNELL CARE, LLC;

                  and COLUMBIA CORNELL NETWORK PHYSICIANS, INC., knew not only of ROBERT

                  HADDEN’s propensity to commit such acts, but also enabled ROBERT HADDEN to
                  commit those act by providing ROBERT HADDEN with access to the COLUMBIA and

                  CORP. ENTITIES’ female students and patients, as well bestowing upon him authority over

                  those patients. By ignoring, dismissing, and failing to take any action against ROBERT
                  HADDEN such as firing him, reporting him to the police, and/or reporting him to the New

                  York State Medical Board, Defendants COLUMBIA UNIVERSITY, THE NEW YORK

                  AND PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN MEDICAL

                  CENTER; COLUMBIA UNIVERSITY MEDICAL CENTER; COLUMBIA-
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                   YORK; COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND SURGEONS;

                   PRESBYTERIAN HOSPITAL PHYSICIAN SERVICES ORGANIZATION, INC.;
                   COLUMBIA-CORNELL CARE, LLC; and COLUMBIA CORNELL NETWORK

                   PHYSICIANS, INC., enabled the abuse of hundreds of female COLUMBIA UNIVERSITY

                   and CORP. ENTITIES’ patients, including the Plaintiffs herein.
               510. As a proximate result of ROBERT HADDEN’s acts, as well as Defendants’ enabling of

                   those acts over a period of greater than 20-years, Plaintiffs are entitled to actual damages,

                   compensatory damages, punitive damages, injunctive relief, any combination of those, or
                   any other appropriate relief against all Defendants. Plaintiffs are also entitled to an award of

                   attorney's fees and costs against all Defendants.

               511. Accordingly Compensatory and Punitive damages are necessary under these facts as to all

                   defendants.
                                      THIRD CAUSE OF ACTION
                      COMMITTING AND ENABLING SEXUAL HARASSMENT, PREDATORY
                         GROOMING, SEXUAL EXPLOITATION AND SEXUAL ABUSE

               512. Plaintiffs re-state and incorporate by reference each and every allegation contained herein

                   above as though fully set forth and brought in this cause of action.

               513. ROBERT HADDEN, in sexually harassing, grooming, exploiting and abusing the Plaintiffs
                   and others as herein set-forth, including intending to subject Plaintiffs to numerous instances

                   of sexual exploitation, abuse and molestation during Plaintiffs’ time with Defendants at

                   Defendants’ COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA
                   UNIVERSITY, their related "CORP. ENTITIES”, beginning in or around 1992, and lasting

                   for the duration of Plaintiffs’ tenures with these Defendants through in or around August of

                   2012 including, but not limited to, instances of ROBERT HADDEN groping and fondling
                   the Plaintiffs’ vaginas and breasts, all while ROBERT HADDEN acted in the course and

                   scope of his agency/employment with Defendants, and each of them and were intended to

                   cause harmful or offensive contact with Plaintiffs’ persons, or intended to put Plaintiffs in

                   imminent apprehension of such contact.




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               514. In doing the things herein stated, Plaintiffs were put in imminent apprehension of a harmful

                   or offensive contact by ROBERT HADDEN and actually believed ROBERT HADDEN had
                   the ability to make harmful or offensive contact with Plaintiffs’ persons.

               515. Plaintiffs did not, and could not, consent to ROBERT HADDEN’s intended harmful or

                   offensive contact with Plaintiffs’ persons, or intent to put Plaintiffs in imminent apprehension
                   of such contact.

               516. In doing the things herein stated, ROBERT HADDEN and Defendants violated Plaintiffs’

                   Rights of protection from bodily restraint or harm, and from personal insult. In doing the
                   things herein stated, ROBERT HADDEN violated his duty to abstain from injuring the

                   person of Plaintiffs or infringing upon their rights.

               517. As a result of the above-described conduct, Plaintiffs have suffered and continue to suffer

                   great pain of mind and body, shock, emotional distress, physical manifestations of emotional
                   distress including embarrassment, loss of self-esteem, disgrace, humiliation, and loss of

                   enjoyment of life; have suffered and continue to suffer and were prevented and will continue

                   to be prevented from performing daily activities and obtaining the full enjoyment of life; will
                   sustain loss of earnings and earning capacity, and/or have incurred and will continue to incur

                   expenses for medical and psychological treatment, therapy, and counseling.

               518. Plaintiffs are informed and based thereon state that the conduct of Defendants was
                   oppressive, malicious and despicable in that it was intentional and done in conscious

                   disregard for the rights and safety of others, and were carried out with a conscious disregard

                   of their right to be free from such tortious behavior, such as to constitute oppression, fraud or
                   malice, entitling Plaintiffs to punitive damages against Defendants in an amount appropriate

                   to punish and set an example of Defendants.

               519. Accordingly Compensatory and Punitive damages are necessary under these facts as to all

                   defendants.
                                    FOURTH CAUSE OF ACTION
                    COMMITTING AND ENABLING CRIMINAL and CIVIL SEXUAL BATTERY




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               520. Plaintiffs re-state and incorporate by reference each and every allegation contained herein

                   above as though fully set forth and brought in this cause of action.
               521. During Plaintiffs’ time as patients with Defendants COLUMBIA UNIVERSITY,

                   TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES, ROBERT HADDEN

                   intentionally, recklessly and wantonly did acts which were intended to, and did result in
                   harmful and offensive contact with intimate parts of Plaintiffs’ persons, including but not

                   limited to being subjected to numerous instances of sexual abuse and sexual exploitation by

                   ROBERT HADDEN, during Plaintiffs’ time with Defendants COLUMBIA UNIVERSITY,
                   THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP. ENTITIES”,

                   beginning on or around 1992, and lasting for the duration of his tenure with Defendants

                   COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their

                   related "CORP. ENTITIES” to in or around 2012, including but not limited to instances of
                   ROBERT HADDEN groping and fondling the Plaintiffs’ vaginas, buttocks, and breasts, all

                   while HADDEN acted in the course and scope of his agency/employment with Defendants,

                   and each of them.
               522. ROBERT HADDEN did the aforementioned acts with the intent to cause harmful or

                   offensive contact with intimate parts of Plaintiffs’ persons, and would offend a reasonable

                   sense of personal dignity. Further, said acts did cause a harmful or offensive contact with
                   intimate parts of Plaintiffs’ persons that would offend a reasonable sense of personal dignity.

               523. Because of ROBERT HADDEN’s position of status and authority over Plaintiffs, and

                   Plaintiffs’ mental and emotional states, and Plaintiffs’ ages, Plaintiffs did not give
                   meaningful consent, and could not consent, to such acts.

               524. As a direct, legal and proximate result of the acts of HADDEN, Plaintiffs sustained serious

                   and permanent injuries to their persons, all of his damage in an amount to be shown

                   according to proof and within the jurisdiction of the Court.
               525. As a direct result of the sexual abuse by ROBERT HADDEN, Plaintiffs have difficulty in

                   reasonably or meaningfully interacting with others, including those in positions of authority




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                   over Plaintiffs including teachers, and supervisors, and in intimate, confidential and familial

                   relationships, due to the trauma of the sexual abuse inflicted upon them by Defendants. This
                   inability to interact creates conflict with Plaintiffs’ values of trust and confidence in others,

                   and has caused Plaintiffs substantial emotional distress, anxiety, nervousness and fear. As a

                   direct result of the sexual exploitation, abuse and molestation by ROBERT HADDEN,
                   Plaintiffs suffered immensely, including, but not limited to, encountering issues with a lack

                   of trust, various psychological sequelae, depressive symptoms, anxiety, nervousness, and

                   self-medicating behavior.
               526. Plaintiffs are informed and based thereon state that the conduct of ROBERT HADDEN was

                   oppressive, malicious and despicable in that it was intentional and done in conscious

                   disregard for the rights and safety of others, and were carried out with a conscious disregard

                   of Plaintiffs’ right to be free from such tortious behavior, such as to constitute oppression,
                   fraud or malice, entitling Plaintiffs to punitive damages against ROBERT HADDEN in an

                   amount appropriate to punish and set an example of ROBERT HADDEN and send a

                   message to others similarly situated that they must avoid doing similar things.
               527. Further, defendant ROBERT HADDEN was permitted and enabled to commit these

                   criminal acts as a direct and proximate result of the negligence, carelessness, and wanton

                   recklessness of Defendant CORP. ENTITIES and that of their agents, servants and/or
                   employees through their failure to timely and properly train, supervise, monitor, discipline,

                   terminate, and report ROBERT HADDEN to the Criminal Authorities and the New York

                   State Office of Professional Medical Conduct — as well as their failure to take any
                   disciplinary action against ROBERT HADDEN internally.

               528. As a direct and proximate result of the aforementioned sexual batteries, Plaintiffs sustained

                   in the past, and will sustain in the future, physical injury, pain and suffering, serious

                   psychological and emotional distress, mental anguish, embarrassment and humiliation.
               529. Accordingly Compensatory and Punitive damages are necessary under these facts as to all

                   defendants.




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                                                FIFTH CAUSE OF ACTION
                                              VIOLATION OF CLEARY ACT
                                          (20 U.S.C. § 1092(f) and 34 C.F.R. 668.46)

               530. Plaintiffs re-state and incorporate by reference each and every allegation contained herein

                   above as though fully set forth and brought in this cause of action.
               531. Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                   UNIVERSITY, and CORP. ENTITIES were mandated under 20 U.S.C. § 1092(f) and 34

                   C.F.R. 668.46 to record, keep, and disclose a public log containing information about sexual
                   assaults and other crimes on and near campus.

               532. Plaintiffs are informed and believe that Defendants failed to comply with the mandatory

                   recording, disclosing, and keeping of a public log which contains details about sexual
                   assaults (and other crimes) committed on and near its campuses in general, and at their

                   hospitals, offices, and medical clinics by ROBERT HADDEN in particular, in violation of

                   the Cleary Act under 20 U.S.C. § 1092(f) and 34 C.F.R. 668.46.

               533. For a period of more than 20-years COLUMBIA UNIVERSITY, THE TRUSTEES OF
                   COLUMBIA UNIVERSITY and CORP. ENTITIES had received countless verbal reports,

                   written reports, “patient satisfaction surveys”, and direct observations by CORP. ENTITIES’

                   agents, servants and/or employees, that ROBERT HADDEN was sexually exploiting and
                   abusing female Patients on campus and at defendants hospitals, offices, and medical clinics,

                   every single one of which should have triggered the creation of a recorded event under the

                   mandates of the Cleary Act.
               534. Had defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                   UNIVERSITY and CORP. ENTITIES created and disclosed these events - as required by

                   Federal Law - Plaintiffs and hundreds of other female students and Patients could have, and
                   would have, avoided the abuse that occurred at COLUMBIA UNIVERSITY, THE

                   TRUSTEES OF COLUMBIA UNIVERSITY and CORP. ENTITIES, and their hospitals,

                   offices, and medical clinics at the hands of serial predator ROBERT HADDEN.




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               535. By failing to meet its mandatory duties under the Cleary Act, defendants COLUMBIA

                   UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP.
                   ENTITIES” enabled the sexual exploitation and abuse of the Plaintiffs and hundreds of other

                   female patients, at the hands of COLUMBIA UNIVERSITY’s resident sexual predator

                   ROBERT HADDEN, for a period of more than 20-years.
               536. Further, on June 29, 2012 a female patient who was being seen by ROBERT HADDEN at

                   Defendants’ medical facility located at 16 E. 60th Street was sexually assaulted by ROBERT

                   HADDEN who attempted, and did, place his tongue on the patient’s vagina during a phony
                   “vaginal examination”. The patient, JANE DOE #1 jumped up and fled defendants’ medical

                   offices. After placing a call to the Police, two New York City Police Detectives entered the

                   same medical clinic where the patient was assaulted, located at 16 East 60th Street, sought

                   out ROBERT HADDEN, and apprehended and questioned defendant ROBERT HADDEN
                   about the assault. During questioning, defendant ROBERT HADDEN admitted to calling

                   JANE DOE #1 “to straighten out a situation” after she ran out of the office. ROBERT

                   HADDEN was later prosecuted and admitted guilt to the sexual assault of JANE DOE #1 by
                   licking her vagina during a phony examination. Despite these event being witnessed and

                   observed by Defendants’ own office and staff, no report, follow up investigation, inquiries or

                   disciplinary action was taken by CORP. ENTITIES against ROBERT HADDEN in violation
                   of The Cleary Act and other Federal and State mandated duties of care. Further, ROBERT

                   HADDEN was permitted to return to his duties at defendants’ offices the very next week as

                   if nothing had ever happened. Upon his return, ROBERT HADDEN continued his campaign
                   of serially sexually assaulting female patients under the guise of “medical care" upon

                   Defendants’ premises.

               537. Under the mandates of The Cleary Act, Defendants are required to monitor the local police

                   blotter near the vicinity of their campuses, offices, hospitals and medical clinics, in order to
                   ensure the safety of their students and patients. Had Defendants made any of these mandated

                   inquiries, they would have been required to suspend and/or terminate Defendant ROBERT




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                   HADDEN’s medical privileges and avoid the abuse of countless other female patients,

                   including some of the Plaintiffs named in the cases herein. Independent of The Cleary Act,
                   the Defendants, their agents, servants, and/or employees witnessed a female patient run out

                   of their facility after being sexually assaulted by defendant ROBERT HADDEN, witnessed

                   two New York City Police Officers enter the facility, question and apprehend ROBERT
                   HADDEN, and witnessed the Police Officers remove ROBERT HADDEN from the facility.

                   Despite these first hand observations by defendants’ agents, servants and employees, no

                   action was taken against defendant ROBERT HADDEN. Instead ROBERT HADDEN was
                   permitted to return to defendants’ facilities where he continued to sexually exploit, assault

                   and abuse more unsuspecting female patients.

               538. Plaintiffs seek COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                   UNIVERSITY and CORP. ENTITIES compliance with the Cleary Act, imposition of civil
                   penalties up to $54,789.00 per violation through the United States Department of Education,

                   and suspension of COLUMBIA UNIVERSITY's participation in all federal student financial

                   aid programs.
               539. Plaintiffs further seek Compensatory and Punitive damages which are necessary under these

                   facts as to all defendants.

                                                   SIXTH CAUSE OF ACTION
                                                 UNFAIR BUSINESS PRACTICES

               540. Plaintiffs re-state and incorporate by reference each and every allegation contained herein
                   above as though fully set forth and brought in this cause of action.

               541. Plaintiffs are informed and believe and on that basis state that Defendants COLUMBIA

                   UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, COR. ENTITIES, and
                   ROBERT HADDEN have engaged in unlawful, unfair and deceptive business practices

                   including allowing and enabling ROBERT HADDEN to engage in repeated harassment of

                   female students and patients, including Plaintiffs, and failing to take all reasonable steps to

                   prevent harassment and abuse from occurring. The unlawful, unfair and deceptive business




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                  practices also included failing to adequately investigate, vet, and evaluate individuals for

                  employment with defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF
                  COLUMBIA UNIVERSITY, their related "CORP. ENTITIES” and ROBERT HADDEN,

                  refusing to design, implement, and oversee policies regarding sexual harassment and abuse

                  of patients in a reasonable manner that is customary in similar medical and educational
                  environments. Plaintiffs are informed and believe and on that basis state that ROBERT

                  HADDEN and Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                  UNIVERSITY, their related "CORP. ENTITIES”, have engaged in unlawful, unfair and
                  deceptive business practices including concealing sexual harassment, abuse and/or

                  molestation claims by students and patients, such as Plaintiffs, so as to retain other similarly

                  situated individuals within Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF

                  COLUMBIA UNIVERSITY, their related "CORP. ENTITIES” who were not apprised of
                  such illicit sexual misconduct by HADDEN.

               542. Plaintiffs are informed and believe that Defendants engaged in a common scheme,

                  arrangement or plan to actively conceal allegations against sexual abusers who were
                  employees, agents, members, and/or participants at Defendants COLUMBIA UNIVERSITY,

                  THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP. ENTITIES”,

                  including ROBERT HADDEN, such that Defendants could maintain their public image, and
                  avoid revelation and detection of such abuse and abusers. Plaintiffs are informed and believe

                  and thereon state that Defendants actively concealed these allegations, such that Defendants

                  would be insulated from public scrutiny, State and Federal governmental oversight, State
                  Medical Board Investigations, and/or investigation from various law enforcement agencies,

                  all done in order to maintain the false sense of safety for unsuspecting patients and their

                  families and to perpetuate the program financially.

               543. By engaging in unlawful, unfair and deceptive business practices, Defendants COLUMBIA
                  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP.




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                   ENTITIES” and ROBERT HADDEN benefitted financially to the detriment of their

                   competitors, who had to comply with the law.
               544. Unless restrained, Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF

                   COLUMBIA UNIVERSITY, their related "CORP. ENTITIES” will continue to engage in the

                   unfair acts and business practices described above, resulting in great and irreparable harm to
                   Plaintiffs and/or other similarly situated participants and members.

               545. Plaintiffs seek restitution for all amounts improperly obtained by ROBERT HADDEN and

                   Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,
                   their related "CORP. ENTITIES” through the use of the above-mentioned unlawful business

                   practices, as well as the disgorgement of all ill-gotten gains and restitution on behalf of

                   Plaintiffs and all other similarly situated patients who were also subjected to ROBERT

                   HADDEN and Co-Defendants’ illegal and unfair business practices.
               546. Pursuant to New York’s Unfair Business Practices Act and available equitable powers,

                   Plaintiffs are entitled to a preliminary and permanent injunction, enjoining Defendants

                   COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their
                   related "CORP. ENTITIES” and ROBERT HADDEN from continuing the unlawful and

                   unfair business practices described above. Further, Plaintiffs seek the appointment of a court

                   monitor to enforce its orders regarding client safety. In addition, Plaintiffs are entitled to
                   recover reasonable attorneys' fees.

               547. Accordingly Compensatory and Punitive damages are necessary under these facts as to all

                   defendants.
                                          SEVENTH CAUSE OF ACTION
                                     COMMITTING AND ENABLING NEGLIGENT
                                      INFLICTION OF EMOTIONAL DISTRESS

               548. Plaintiffs re-state and incorporate by reference each and every allegation contained herein

                   above as though fully set forth and brought in this cause of action.

               549. Defendants ROBERT HADDEN and “CORP. ENTITIES” owed a duty to Plaintiffs to not




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                   cause them emotional distress, the initiation of post-traumatic stress disorder, or other harm

                   during the course of gynecological and/or obstetric examinations and other related treatment,

                   which were and are of a very personal nature to the patients.

               550. Defendant ROBERT HADDEN, was negligent as to the effect of his conduct in performing

                   unwanted sexual acts without the consent of Plaintiffs during the course and scope of his

                   purported medical treatment of the Plaintiffs.

               551. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees were negligent as

                   to the effect of their conduct in allowing and enabling defendant ROBERT HADDEN to

                   perform unwanted sexual acts on the Plaintiffs herein, as well as countless other patients,

                   during the course and scope of his purported medical treatment of their patients.

               552. Defendant “CORP. ENTITIES,” as well as their agents, servants, and/or employees were

                   further negligent and careless in failing to attend to Plaintiffs in a timely and proper manner

                   after they were sexually assaulted by ROBERT HADDEN, and after these facts were brought

                   to the attention of the medical personnel upon the premises of defendant “CORP.

                   ENTITIES”.

               553. Defendants ROBERT HADDEN and “CORP. ENTITIES”, as well as their agents, servants,

                   employees and/or legal teams were further negligent and careless in failing to timely and

                   properly investigate the reports, claims and legal filings about the sexual assaults upon

                   patients being committed by ROBERT HADDEN, and made false, disparaging and

                   degrading oral and written statements about the lack of veracity of plaintiffs and countless

                   other women.

               554. As a direct and proximate consequence of Defendants’s negligence, Plaintiffs have suffered

                   physical, emotional, and psychological injuries, along with pain and suffering.




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               555. Accordingly Compensatory damages are necessary under these facts as to all defendants.

                                           EIGHTH CAUSE OF ACTION
                                    COMMITTING AND ENABLING INTENTIONAL
                                      INFLICTION OF EMOTIONAL DISTRESS

               556. Plaintiffs re-state and incorporate by reference each and every allegation contained herein

                   above as though fully set forth and brought in this cause of action.
               557. Defendants COLUMBIA UNIVERSITY, THE NEW YORK AND PRESBYTERIAN

                   HOSPITAL; COLUMBIA PRESBYTERIAN MEDICAL CENTER; COLUMBIA

                   UNIVERSITY MEDICAL CENTER; COLUMBIA-PRESBYTERIAN MEDICAL
                   CENTER, EAST SIDE ASSOCIATES; EAST SIDE ASSOCIATES; THE TRUSTEES OF

                   COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA UNIVERSITY

                   COLLEGE OF PHYSICIANS AND SURGEONS; PRESBYTERIAN HOSPITAL
                   PHYSICIAN SERVICES ORGANIZATION, INC.; COLUMBIA-CORNELL CARE, LLC;

                   and COLUMBIA CORNELL NETWORK PHYSICIANS, INC., ROBERT HADDEN, and

                   their agents, servants, and/or employees’ conduct toward Plaintiffs, as described herein, was

                   outrageous and extreme.
               558. A reasonable person would not expect or tolerate the sexual harassment, exploitation,

                   molestation and abuse of Plaintiffs by ROBERT HADDEN, and Defendants’ knowledge and

                   callous indifference thereof. Plaintiffs had placed their trust, faith and confidence in
                   Defendants, which, by virtue of ROBERT HADDEN and Co-Defendants’ wrongful conduct,

                   turned to fear, shame and humiliation.

               559. A reasonable person would not expect or tolerate Defendants placing ROBERT HADDEN -
                   who was known to Defendants to have physically and sexually abused other female-patients

                   - in a position of care of Plaintiffs and other patients, which enabled ROBERT HADDEN to

                   have access to other patients so that he could commit wrongful sexual acts, including the
                   conduct described herein, with young female patients, including Plaintiffs. Plaintiffs had

                   placed great trust, faith and confidence in Defendants, which, by virtue of Defendants'

                   wrongful conduct, turned to fear, shame and humiliation.




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               560. A reasonable person would not expect or tolerate the Defendants, their agents, servants, and/

                   or employees to be incapable of supervising, preventing and/or stopping ROBERT
                   HADDEN from committing wrongful sexual acts with patients, including Plaintiffs, or to be

                   incapable or unwilling to supervise ROBERT HADDEN. Plaintiffs had placed great trust,

                   faith and confidence in Defendants, which, by virtue of Defendants' wrongful conduct,
                   turned to fear, shame and humiliation.

               561. Defendants’ conduct described herein was deliberately indifferent, wanton, grossly reckless,

                   premeditated, intentionally deceitful, reckless, intentional and malicious and done for the
                   purpose of causing or with the substantial certainty that Plaintiffs would suffer humiliation,

                   mental anguish, and emotional and physical distress.

               562. As a result of the above-described conduct, Plaintiffs have suffered and continue to suffer

                   great pain of mind and body, shock, emotional distress, physical manifestations of emotional
                   distress including embarrassment, loss of self-esteem, disgrace, shame, humiliation, and loss

                   of enjoyment of life; have suffered and continue to suffer and were prevented and will

                   continue to be prevented from performing daily activities and obtaining the full enjoyment of
                   life; will sustain loss of earnings and earning capacity, and/or have incurred and will

                   continue to incur expenses for medical and psychological treatment, therapy, and counseling.

               563. In subjecting Plaintiffs to the wrongful treatment herein described, Defendants COLUMBIA
                   UNIVERSITY, THE NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA

                   PRESBYTERIAN MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL

                   CENTER; COLUMBIA-PRESBYTERIAN MEDICAL CENTER, EAST SIDE
                   ASSOCIATES; EAST SIDE ASSOCIATES; THE TRUSTEES OF COLUMBIA

                   UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA UNIVERSITY COLLEGE

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                   SERVICES ORGANIZATION, INC.; COLUMBIA-CORNELL CARE, LLC; and
                   COLUMBIA CORNELL NETWORK PHYSICIANS, INC., and ROBERT HADDEN acted

                   willfully and maliciously with the intent to harm Plaintiffs, and in conscious disregard of




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                   Plaintiffs’ rights, so as to constitute malice and/or oppression. Plaintiffs are informed, and on

                   that basis state, that these willful, malicious, and/or oppressive acts, as stated herein above,
                   were ratified by the officers, directors, and/or managing agents of the Defendants. Plaintiffs

                   are therefore entitled to recover punitive damages, in an amount to be determined by the

                   Court, against Defendants COLUMBIA UNIVERSITY, THE NEW YORK AND
                   PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN MEDICAL CENTER;

                   COLUMBIA UNIVERSITY MEDICAL CENTER; COLUMBIA-PRESBYTERIAN

                   MEDICAL CENTER, EAST SIDE ASSOCIATES; EAST SIDE ASSOCIATES; THE
                   TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA

                   UNIVERSITY COLLEGE OF PHYSICIANS AND SURGEONS; PRESBYTERIAN

                   HOSPITAL PHYSICIAN SERVICES ORGANIZATION, INC.; COLUMBIA-CORNELL

                   CARE, LLC; and COLUMBIA CORNELL NETWORK PHYSICIANS, INC., and ROBERT
                   HADDEN.

               564. Accordingly Compensatory and Punitive damages are necessary under these facts as to all

                   defendants.
                                                 NINTH CAUSE OF ACTION
                                                  CONSTRUCTIVE FRAUD

               565. Plaintiffs re-state and incorporate by reference each and every allegation contained herein

                   above as though fully set forth and brought in this cause of action.

               566. By holding ROBERT HADDEN out as an agent of Defendants, and by allowing him to
                   undertake the medical care of female patients such as Plaintiffs, Defendants entered into a

                   confidential, fiduciary, and special relationship with Plaintiffs.

               567. By holding themselves out as a pre-eminent university medical center, thereby enticing
                   Plaintiffs to seek medial care and treatment through Defendants’ hospitals, medical centers,

                   and clinics, Defendants entered into a confidential, fiduciary and special relationship with

                   Plaintiffs.




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               568. Defendants breached their confidential, fiduciary duty and special duties to Plaintiffs by the

                     wrongful and negligent conduct described above and incorporated into this cause of action,
                     and in so doing, gained an advantage over Plaintiffs in matters relating to Plaintiffs’ safety,

                     security and health. In particular, in breaching such duties as stated, Defendants were able to

                     sustain their status as an institution of high moral repute, and preserve their reputation, all at
                     the expense of Plaintiffs’ further injury and in violation of Defendants' mandatory duties.

               569. By virtue of their confidential, fiduciary and special relationship with Plaintiffs, Defendants

                     owed Plaintiffs a duty to:

                 •      Investigate or otherwise confirm or deny such claims of sexual abuse;

                 •      Reveal such facts to Plaintiffs, the community at large, and law enforcement agencies;

                 •      Refuse to place ROBERT HADDEN and other molesters, sexual predators, and enablers

                        in positions of trust and authority within Defendants' institutions;

                 •      Refuse to hold out ROBERT HADDEN and other molesters to the public, the community,

                        parents and law enforcement agencies as being in good standing, reputable and,

                        trustworthy in keeping him and his position as a physician, faculty member and authority
                        figure;

                 •      Refuse to assign ROBERT HADDEN and other molesters, sexual predators and enablers

                        to positions of power within Defendants COLUMBIA UNIVERSITY, THE TRUSTEES
                        OF COLUMBIA UNIVERSITY, their related "CORP. ENTITIES”, and over female

                        patients; and

                 •      Disclose to Plaintiffs, the public, the school community, the state medical board, and law
                        enforcement agencies the wrongful, tortious, and sexually exploitive acts that ROBERT

                        HADDEN and his enablers had engaged in with patients.

               570. Defendants’ breach of their respective duties included:

                 •      Not making reasonable investigations of ROBERT HADDEN;

                 •      Issuing no warnings about ROBERT HADDEN;

                 •      Not making reasonable investigations of ROBERT HADDEN’s enablers;




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                 •      Issuing no warnings about ROBERT HADDEN’s enablers;

                 •      Enabling ROBERT HADDEN to routinely be supervised only by untrained chaperones,
                        who were consistently derelict in their duty to report ROBERT HADDEN’s sexual abuse

                        to law enforcement;

                 •      Not adopting a policy to prevent ROBERT HADDEN from routinely having patients and
                        patients in his unsupervised control;

                 •      Making no reports of any allegations of ROBERT HADDEN’s abuse of patients prior to

                        or during his employment and/or agency at Defendants COLUMBIA UNIVERSITY,
                        THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP. ENTITIES”;

                 •      Assigning and continuing to assign ROBERT HADDEN to duties which placed him in

                        positions of authority and trust over female patients, positions in which ROBERT

                        HADDEN could easily isolate, sexually exploit, and sexually abuse other students and
                        patients; and

                 •      Enabling ROBERT HADDEN to serially sexually assault female patients for a period of

                        over twenty (20) years upon Defendants’ medical facilities, clinics and/or premises.
               571. At the time that Defendants engaged in such suppression and concealment of ROBERT

                     HADDEN’s tortious, exploitative and despicable acts, such acts were done for the purpose of

                     causing Plaintiffs to forbear on their rights.
               572. Defendants’ misconduct did reasonably cause Plaintiffs to forbear on Plaintiffs’ Rights.

               573. The misrepresentations, suppressions and concealment of facts by Defendants were

                     intended to, and were likely to, mislead Plaintiffs and others to believe that Defendants had
                     no knowledge of any charges against ROBERT HADDEN, or that there were no other

                     charges of unlawful or sexual misconduct against ROBERT HADDEN or others and that

                     there was no need for them to take further action or precaution.

               574. The concerted misrepresentations, suppressions and concealment of facts by Defendants
                     was likely to mislead Plaintiffs, and others, to believe that Defendants had no knowledge of




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                   the fact that ROBERT HADDEN was a molester, sexual predator, and was known to commit

                   wrongful and exploitative sexual acts with students and patients, including Plaintiffs.
               575. Defendants knew or should have known at the time they suppressed and concealed the true

                   facts regarding others' sexual molestations, that the resulting impressions were misleading.

               576. Defendants suppressed and concealed the true facts regarding ROBERT HADDEN with the
                   purpose of: preventing Plaintiffs and others, from learning that ROBERT HADDEN and

                   others had been and were continuing to sexually harass, sexually exploit, molest and abuse

                   patients, ROBERT HADDEN and Defendants' control, direction, and guidance, with
                   complete impunity; inducing people, including Plaintiffs and other benefactors and donors to

                   participate and financially support Defendants' program and other enterprises of Defendants;

                   preventing further reports and outside investigations into ROBERT HADDEN and

                   Defendants' conduct; preventing discovery of Defendants' own conduct; avoiding damage to
                   the reputations of Defendants; protecting Defendants' power and status in the community;

                   avoiding damage to the reputation of Defendants, or Defendants' institutions; and avoiding

                   the civil and criminal liability of Defendants, of ROBERT HADDEN, of ROBERT
                   HADDEN’s enablers, and of others.

               577. At all times mentioned herein, Defendants, and in particular Defendants COLUMBIA

                   UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and ROBERT HADDEN
                   with knowledge of the tortious and exploitative nature of their own, and ROBERT

                   HADDEN’s conduct, knowingly and collectively conspired and provided each other

                   substantial assistance to perpetrate the misrepresentations, fraud and deceit stated herein—
                   covering up the past allegations of sexual misconduct lodged against ROBERT HADDEN,

                   and allowing and enabling ROBERT HADDEN to remain in his position as a physician,

                   faculty member and doctor, so they could maintain their reputations and continue with their

                   positions within the organization.
               578. Plaintiffs and others were misled by Defendants' suppressions and concealment of facts, and

                   in reliance thereon, were induced to act or induced not to act, exactly as intended by




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                  Defendants. Specifically, Plaintiffs were induced to believe that there were no allegations of

                  criminal or sexual abuse against ROBERT HADDEN, and that he posed no danger to his
                  patients. This inducement was caused by intentionally and knowingly false statements about

                  the cause of ROBERT HADDEN’s abrupt, but silent departure as a physician at the

                  hospitals, offices, and medical clinics of CORP. ENTITIES. Had Plaintiffs, and others,
                  known the true facts about ROBERT HADDEN, they would have not participated further in

                  activities of Defendants, or continued to financially support Defendants' activities. They

                  would have reported the matters to the proper authorities, to other patients so as to prevent
                  future recurrences; they would not have allowed themselves, and their children, including

                  Plaintiffs, to be alone with, or have any relationship with ROBERT HADDEN; they would

                  not have allowed female patients, including Plaintiffs, to attend or be under the control of

                  Defendants; they would have undertaken their own investigations which would have led to
                  discovery of the true facts; and they would have sought psychological counseling for

                  Plaintiffs, and for other students and patients, who had been abused by ROBERT HADDEN.

               579. By giving ROBERT HADDEN the position of physician and faculty member, Defendants
                  both impliedly and affirmatively represented that ROBERT HADDEN was safe and morally

                  fit to give medical care and provide gynecologic and obstetric treatment.

               580. When Defendants made these affirmative or implied representations and non-disclosures of
                  material facts, Defendants knew, or should have known, that the facts were otherwise.

                  Defendants knowingly and intentionally suppressed the material facts that ROBERT

                  HADDEN, had on numerous, prior occasions sexually, physically, and mentally abused
                  patients of Defendants, including Plaintiffs, and knew of, or learned of conduct, or should

                  have known of conduct by ROBERT HADDEN which placed Defendants on notice that

                  ROBERT HADDEN had previously been suspected of, and committed, felonies, including

                  unlawful sexual conduct with patients, and was sexually exploiting and abusing students and
                  patients under his care.




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               581. Because of the status of ROBERT HADDEN with CORP. ENTITIES as a trusted, authority

                   figure to Plaintiffs, Plaintiffs were vulnerable to ROBERT HADDEN. ROBERT HADDEN
                   sought Plaintiffs out, and was empowered by and accepted Plaintiffs’ vulnerability. Plaintiffs’

                   vulnerability also prevented Plaintiffs from effectively protecting themselves from the sexual

                   advances of ROBERT HADDEN.
               582. Defendants had the duty to obtain and disclose information relating to sexual misconduct of

                   ROBERT HADDEN.

               583. Defendants affirmatively misrepresented, actively concealed and failed to disclose
                   information relating to sexual misconduct of ROBERT HADDEN.

               584. Defendants knew that they had misrepresented, concealed and failed to disclose information

                   related to sexual misconduct of ROBERT HADDEN.

               585. Plaintiffs justifiably relied upon Defendants for information relating to sexual misconduct
                   of ROBERT HADDEN.

               586. Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                   UNIVERSITY, CORP. ENTITIES and ROBERT HADDEN, in concert with each other and
                   with the intent to conceal and defraud, conspired and came to a meeting of the minds

                   whereby they would misrepresent, conceal or fail to disclose information relating to the

                   sexual misconduct of ROBERT HADDEN, the inability of Defendants to supervise or stop
                   ROBERT HADDEN from sexually harassing, exploiting, molesting and abusing Plaintiffs,

                   and their own failure to properly investigate, supervise and monitor his conduct with

                   patients.
               587. By so concealing, Defendants committed at least one act in furtherance of the conspiracy.

               588. As a result of the above-described conduct, Plaintiffs have suffered and continue to suffer

                   great pain of mind and body, shock, emotional distress, shame, physical manifestations of

                   emotional distress including embarrassment, loss of self-esteem, disgrace, humiliation, and
                   loss of enjoyment of life; have suffered and continue to suffer and were prevented and will

                   continue to be prevented from performing daily activities and obtaining the full enjoyment of




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                   life; will sustain loss of earnings and earning capacity, and/or have incurred and will

                   continue to incur expenses for medical and psychological treatment, therapy, and counseling.
               589. In addition, when Plaintiffs finally discovered the fraud of Defendants, and continuing

                   thereafter, Plaintiffs experienced recurrences of the above-described injuries. Plaintiffs

                   experienced extreme and severe mental anguish and emotional distress that Plaintiffs had
                   been the victim of Defendants' fraud; that Plaintiffs had not been able to help other young

                   female patients to avoid being molested because of the fraud, and that Plaintiffs had not been

                   able because of the fraud to receive timely medical treatment needed to deal with the
                   problems Plaintiffs had suffered and continue to suffer as a result of the sexual harassment,

                   molestation and abuse.

               590. In subjecting Plaintiffs to the wrongful treatment herein described, Defendants COLUMBIA

                   UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, CORP. ENTITIES and
                   ROBERT HADDEN acted willfully and maliciously with the intent to harm Plaintiffs, and in

                   conscious disregard of Plaintiffs’ rights, so as to constitute malice, gross recklessness and/or

                   oppression. Plaintiffs are informed, and on that basis state, that these willful, wanton,
                   malicious, and/or oppressive acts, as stated herein above, were ratified by the officers,

                   directors, trustees and/or managing agents of the Defendants. Plaintiffs are therefore entitled

                   to recover punitive damages, in an amount to be determined by the Court, against
                   Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,

                   CORP. ENTITIES and ROBERT HADDEN.

               591. Accordingly Compensatory and Punitive damages are necessary under these facts as to all
                   defendants.

                                          TENTH CAUSE OF ACTION
                                    COMMITTING AND ENABLING NEGLIGENCE
                                       AND PROFESSIONAL NEGLIGENCE

               592. Plaintiffs re-state and incorporate by reference each and every allegation contained herein

                   above as though fully set forth and brought in this cause of action.




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               593. Prior to, and after the first incident of ROBERT HADDEN’s sexual harassment,

                   exploitation, molestation and abuse of Plaintiffs herein, through the present, Defendants,
                   knew and/or should have known that ROBERT HADDEN had, and was capable of, sexually,

                   physically, and mentally abusing, exploiting and harassing Plaintiffs and others.

               594. Defendants and each of them had special duties to protect the Plaintiffs and other female
                   patients, when such individuals were entrusted to Defendants' care. Plaintiffs’ care, welfare

                   and physical custody was entrusted to Defendants. Defendants voluntarily accepted the

                   entrusted care of Plaintiffs. As such, Defendants owed Plaintiffs as women, students, minors,
                   as well as pregnant and non-pregnant female patients, a special duty of care that ethical

                   adults and medical professionals dealing with vulnerable medical patients owe to protect

                   them from harm. The duty to protect and warn arose from the special, trusting, confidential,

                   and fiduciary relationship between Defendants and Plaintiffs.
               595. Further, Defendant ROBERT HADDEN and defendant “CORP. ENTITIES” owed a duty to

                   Plaintiffs herein to not cause them emotional distress, the initiation of post-traumatic stress

                   disorder, the trigger of past sexual abuse, or other harm during the course of gynecological
                   and/or obstetric examinations and other related treatment, which are of a very personal

                   nature to these patients.

               596. Defendant ROBERT HADDEN, was negligent as to the effect of his conduct in performing
                   unwanted sexual acts without the consent of Plaintiffs herein during the course and scope of

                   his purported medical treatment of the Plaintiffs and other women.

               597. Defendant CORP. ENTITIES, their agents, servants, and/or employees were negligent as to
                   the effect of their conduct in allowing and enabling defendant ROBERT HADDEN to

                   perform unwanted sexual acts on Plaintiffs herein, as well as other patients, during the course

                   and scope of his purported medical treatment of their patients.

               598. Defendant CORP. ENTITIES, as well as their agents, servants, and/or employees were
                   further negligent and careless in failing to attend to Plaintiffs in a timely and proper manner




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                   after they were sexually assaulted by ROBERT HADDEN, and after these facts were brought

                   to the attention of the medical personnel upon the premises of defendant CORP. ENTITIES.
               599. Defendants ROBERT HADDEN and CORP. ENTITIES, as well as their agents, servants,

                   employees, administrators and/or legal teams were further negligent and careless in failing to

                   timely and properly investigate the reports, claims and legal filings about the sexual assaults
                   upon patients being committed by ROBERT HADDEN, and made false, disparaging and

                   degrading oral and written statements about the lack of veracity of plaintiffs and other

                   women.
               600. Defendants breached their duty of care to the Plaintiffs by allowing ROBERT HADDEN to

                   come into contact with the Plaintiffs and other female students and patients without effective

                   supervision; by failing to adequately hire, train and supervise ROBERT HADDEN whom

                   they permitted and enabled to have access to Plaintiffs; by concealing from Plaintiffs, the
                   public and law enforcement that ROBERT HADDEN was sexually harassing, molesting and

                   abusing patients; and by holding ROBERT HADDEN out to Plaintiffs as being of high moral

                   and ethical repute, in good standing and trustworthy.
               601. Defendants breached their duties to Plaintiffs by failing to investigate or otherwise confirm

                   or deny such facts of sexual abuse by ROBERT HADDEN, failing to reveal such facts to

                   Plaintiffs, the community and law enforcement agencies, and by placing ROBERT
                   HADDEN into a position of trust and authority, holding him out to Plaintiffs and the public

                   as being in good standing and trustworthy.

               602. Defendants breached their duty to Plaintiffs by failing to adequately monitor and supervise
                   ROBERT HADDEN and failing to prevent ROBERT HADDEN from committing wrongful

                   sexual acts with medical patients, including Plaintiffs. Defendants’ past observations, reports,

                   and records of sexual misconduct by ROBERT HADDEN caused Defendants to know, or

                   gave them information where they should have known, of ROBERT HADDEN’s incapacity
                   to serve as a physician, and faculty member at Defendants’ institutions, providing for the

                   physical care of pregnant and non-pregnant, adult and minor, female patients.




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               603. As a result of the above-described conduct, Plaintiffs have suffered and continue to suffer

                   great pain of mind and body, shock, emotional distress, shame, physical manifestations of
                   emotional distress including embarrassment, loss of self-esteem, disgrace, humiliation, and

                   loss of enjoyment of life; have suffered and continue to suffer and were prevented and will

                   continue to be prevented from performing daily activities and obtaining the full enjoyment of
                   life; will sustain loss of earnings and earning capacity, and have incurred and will continue to

                   incur expenses for medical and psychological treatment, therapy, and counseling.

               604. Accordingly Compensatory damages are necessary under these facts as to all defendants.
                                             ELEVENTH CAUSE OF ACTION
                                              NEGLIGENT SUPERVISION

               605. Plaintiffs re-state and incorporate by reference each and every allegation contained herein

                   above as though fully set forth and brought in this cause of action.

               606. By virtue of Plaintiffs’ special relationships with Defendants, and Defendants' relation to

                   ROBERT HADDEN, Defendants owed Plaintiffs a duty to provide reasonable supervision of
                   ROBERT HADDEN, to use reasonable care in investigating ROBERT HADDEN’s

                   background, and to provide adequate warning to Plaintiffs and other patients of ROBERT

                   HADDEN’s dangerous propensities and unfitness. As organizations and individuals
                   responsible for, and entrusted with, the welfare of patients, Defendants COLUMBIA

                   UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES

                   had a duty to protect, supervise, monitor, and prevent the Plaintiffs from being preyed upon
                   by sexual predators, and to supervise and monitor ROBERT HADDEN such that he would

                   not be placed in seclusion with vulnerable medical patients, including the Plaintiffs.

               607. As representatives of Defendants COLUMBIA UNIVERSITY, THE BOARD OF
                   TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES, Defendants’ agents

                   servants and/or employees expressly and implicitly represented that physicians, faculty and

                   staff, including ROBERT HADDEN, were not a sexual threat to those individuals and others

                   who would fall under ROBERT HADDEN’s influence, control, direction, and care.




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               608. Defendants, by and through their respective agents, servants and employees, knew or should

                   have known, of ROBERT HADDEN’s dangerous and exploitive propensities and that
                   ROBERT HADDEN was an unfit agent and practitioner. Despite such knowledge,

                   Defendants negligently failed to supervise ROBERT HADDEN in his position of trust and

                   authority as a physician, gynecologist, faculty member and authority figure over female
                   patients and young women, where he was able to commit wrongful acts of sexual

                   misconduct against Plaintiffs. Defendants failed to provide reasonable supervision of

                   ROBERT HADDEN, failed to use reasonable care in investigating ROBERT HADDEN, and
                   failed to provide adequate warning to Plaintiffs of ROBERT HADDEN’s dangerous

                   propensities and unfitness. Defendants further failed to take reasonable steps to ensure the

                   safety of patients, including Plaintiffs, from sexual harassment, sexual assault, sexual battery,

                   molestation, and abuse.
               609. At no time during the periods of time set-forth herein did Defendants have in place a

                   reasonable system or procedure to investigate, supervise and monitor ROBERT HADDEN,

                   to prevent pre-sexual grooming and sexual harassment, sexual exploitation, molestation and
                   abuse of those individuals, nor did they implement a system or procedure to oversee or

                   monitor conduct toward patients and others in Defendants' care.

               610. Defendants were aware, or should have been aware, of how vulnerable these patients were
                   to sexual grooming, harassment, exploitation, molestation and abuse by physicians, male-

                   gynecologists in particular, faculty members and other persons of authority within

                   Defendants’ entities. Recent news reports about the Dean of Students having sexually
                   exploited and abused an incoming female freshman shows that the exploitation and abuse of

                   women at Columbia University and its affiliated offices, clinics, hospitals, and entities is a

                   systemic problem which Defendants’ are not capable of handling or managing.

               611. Defendants were put on notice, knew and/or should have known that ROBERT HADDEN
                   had previously engaged in, and was continuing to engage in, unlawful sexual conduct with

                   female patients, minors, and other pregnant and non-pregnant patients, and that he had




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                   committed and perpetrated sexual felonies against those patients, for his own personal sexual

                   gratification, and that it was foreseeable that he was engaging, or would engage, in illicit
                   sexual activities with Plaintiffs, and others, under the cloak of the authority, confidence, and

                   trust, bestowed upon him by Defendants.

               612. Defendants were placed on actual or constructive notice that ROBERT HADDEN had
                   molested, groomed, abused, and exploited other student and non-student female patients

                   during his employment with Defendants. Defendants were informed of molestations of

                   patients committed by ROBERT HADDEN prior to Plaintiffs’ sexual abuse, and of conduct
                   by ROBERT HADDEN that would put a reasonable person on notice of such propensity to

                   molest, groom, exploit and abuse young female patients.

               613. Even though Defendants knew, or should have known, of the illicit and exploitative sexual

                   activities being perpetrated by ROBERT HADDEN, Defendants failed to reasonably
                   investigate, supervise, monitor, and end ROBERT HADDEN’s access to female patients.

                   Instead, Defendants simply enabled ROBERT HADDEN to keep exploiting and sexually

                   abusing more and more female patients.
               614. Defendants’ conduct was a breach of their duties to Plaintiffs and all female patients, as well

                   as their family members.

               615. Defendants, and each of them, have breached their duty to Plaintiffs by, inter alia, failing to
                   adequately monitor and supervise ROBERT HADDEN and stop ROBERT HADDEN from

                   committing wrongful sexual acts with female patients, including Plaintiffs.

               616. As a result of the above-described conduct, Plaintiffs have suffered and continue to suffer
                   great pain of mind and body, shock, emotional distress, shame, physical manifestations of

                   emotional distress including embarrassment, loss of self-esteem, disgrace, humiliation, and

                   loss of enjoyment of life; have suffered and continue to suffer and were prevented and will

                   continue to be prevented from performing daily activities and obtaining the full enjoyment of
                   life; will sustain loss of earnings and earning capacity, and/or have incurred and will

                   continue to incur expenses for medical and psychological treatment, therapy, and counseling.




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               617. Accordingly Compensatory damages are necessary under these facts as to all defendants.

                                         TWELFTH CAUSE OF ACTION
                                 NEGLIGENCE PER SE CONDUCT IN VIOLATION OF
                                        MANDATORY REPORTING LAWS

               618. Plaintiffs re-state and incorporate by reference each and every allegation contained herein
                   above as though fully set forth and brought in this cause of action.

               619. Under applicable law, Defendants, by and through their employees and agents, were

                   medical care providers and were under a statutory duty to report known or suspected
                   incidents of sexual molestation or abuse of patients, or any individuals in their care, to the

                   appropriate authorities, and not to impede the filing or investigation of any such report.

               620. Defendants knew, and should have known, that their gynecological physician, ROBERT
                   HADDEN, had sexually molested, abused, exploited, or caused touching, battery, harm, and/

                   or other injuries to female patients including Plaintiffs, giving rise to a duty to report such

                   conduct.

               621. Defendants knew, and should have known, in the exercise of reasonable diligence, that an
                   undue risk to patients, including Plaintiffs, existed because Defendants did not comply with

                   mandatory reporting requirements.

               622. By failing to report the continuing sexual molestations and abuse by ROBERT HADDEN,
                   which Defendants knew and should have known about, and by ignoring the fulfillment of the

                   mandated compliance with the reporting requirements, Defendants created the risk and

                   danger contemplated by the applicable mandated reporting laws, and as a result,
                   unreasonably and wrongfully exposed Plaintiffs and other patients to sexual molestation and

                   abuse.

               623. Further, defendant COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA
                   UNIVERSITY, and CORP. ENTITIES actively and intentionally impeded the criminal

                   indictment and investigation of ROBERT HADDEN through the intimidation of Assistant

                   District Attorneys, as well as the intimidation of Defendants’ own agents, servants, and/or

                   employees, all in an effort to dissuade them from reporting the exploitation and abuse to the




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                   authorities and others. In doing so, defendants illegally interjected themselves into the

                   criminal prosecution of ROBERT HADDEN, used force and coercion in an effort to derail
                   the criminal investigation, and sent high-ranking risk-managers and corporate personnel to

                   accompany and intimidate its nurses and medical chaperones before, during, and after their

                   interviews with the Manhattan District Attorneys office relative to the criminal indictment
                   and prosecution of ROBERT HADDEN.

               624. Plaintiffs were members of the class of persons for whose protection the applicable

                   mandated reporting laws were specifically designed and adopted to protect.
               625. Had Defendants adequately reported the molestation of female patients, including Plaintiffs,

                   as required by applicable mandated reporting laws, further harm to Plaintiffs and other

                   individuals would have been avoided.

               626. As a proximate result of Defendants' failure to follow the mandatory reporting requirements,
                   Defendants wrongfully denied Plaintiffs, and other women, the intervention of law

                   enforcement and the appropriate authorities. Such public agencies would have changed the

                   then-existing arrangements and conditions which provided the necessary access and
                   opportunities for the molestation of Plaintiffs by ROBERT HADDEN.

               627. The physical, mental, and emotional damages and injuries resulting from the sexual

                   molestation of Plaintiffs by ROBERT HADDEN were the type of occurrence and injuries
                   that the applicable mandated reporting laws were designed to prevent.

               628. As a result, Defendants' failure to comply with the mandatory reporting requirements

                   constituted a per se breach of Defendants' duties to Plaintiffs.
               629. Defendants, and each of them, breached their duty to Plaintiffs by, inter alia, failing to

                   adequately monitor and supervise ROBERT HADDEN and stop ROBERT HADDEN from

                   committing wrongful sexual acts with patients, including Plaintiffs.

               630. As a result of the above-described conduct, Plaintiffs have suffered and continue to suffer
                   great pain of mind and body, shock, emotional distress, shame, physical manifestations of

                   emotional distress including embarrassment, loss of self-esteem, disgrace, humiliation, and




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                   loss of enjoyment of life; have suffered and continue to suffer and were prevented and will

                   continue to be prevented from performing daily activities and obtaining the full enjoyment of
                   life; will sustain loss of earnings and earning capacity, and/or have incurred and will

                   continue to incur expenses for medical and psychological treatment, therapy, and counseling.

               631. Accordingly Compensatory and Punitive damages are necessary under these facts as to all
                   defendants.

                                        THIRTEENTH CAUSE OF ACTION
                                 NEGLIGENT HIRING, RETENTION and RATIFICATION

               632. Plaintiffs re-state and incorporate by reference each and every allegation contained herein
                   above as though fully set forth and brought in this cause of action.

               633. By virtue of Plaintiffs’ special relationship with Defendants, and Defendants' relation to

                   ROBERT HADDEN, Defendants owed Plaintiffs a duty to not hire and/or retain HADDEN,
                   given his dangerous and exploitive propensities, which Defendants knew, or should have

                   known, about had they engaged in a reasonable, meaningful and adequate investigation of

                   his background prior to his hiring or retaining him.

               634. Defendants expressly and implicitly represented that ROBERT HADDEN was a legitimate
                   gynecologist and obstetrician, and not a sexual threat to female patients.

               635. At no time during the periods of time stated herein did Defendants have in place a

                   reasonable system or procedure to timely and properly investigate, supervise and monitor its
                   hospitals, offices, medical clinics, physicians and healthcare personnel, including ROBERT

                   HADDEN, to prevent sexual grooming, sexual harassment, sexual exploitation, molestation

                   and abuse of female patients, nor did they implement a system or procedure to oversee or
                   monitor conduct toward female patients and/or others in Defendants' care.

               636. Defendants were aware, or should have been aware, and understood how vulnerable female

                   patients were to sexual grooming, sexual harassment, sexual exploitation, molestation and

                   abuse by faculty members, physicians, and other persons of authority within the control of
                   Defendants prior to Plaintiffs’ sexual abuse and exploitation by ROBERT HADDEN.




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               637. Defendant “CORP. ENTITIES”, their agents, servants, and/or employees, failed to timely

                   and properly investigate complaints made by the sexual assault survivors of ROBERT
                   HADDEN, as well as suspicious circumstances wherein ROBERT HADDEN and other

                   medical staff, agents, servants, and/or employees placed patients in compromised and

                   unprotected situations which either led, or should have led, to an investigation of defendant
                   ROBERT HADDEN and other medical staff, agents, servants, and/or employees’ negligence,

                   carelessness, recklessness, and/or criminal and wanton misconduct.

               638. Defendants were put on notice, and should have known that ROBERT HADDEN had
                   previously engaged, and continued to engage, in unlawful sexual conduct with female

                   patients, and was committing other felonies, for his own deviant sexual gratification, and that

                   it was foreseeable, or should have been foreseeable, that ROBERT HADDEN was engaging

                   in, or would engage in, illicit deviant sexual activities with Plaintiffs, and others, under the
                   cloak of his authority, confidence, and trust, bestowed upon him through Defendants, their

                   agents, servants and/or employees.

               639. Defendants were placed on actual or constructive notice that ROBERT HADDEN had
                   molested or was molesting female patients, both before his employment with the within

                   named Defendants, and during that employment. Defendants had knowledge of inappropriate

                   conduct, exploitation and serial molestations committed by ROBERT HADDEN before and
                   during his employment, yet chose to allow him to remain unsupervised where he serially

                   sexually abused Plaintiffs herein.

               640. Despite the fact that Defendants knew, or should have known, of these sexually exploitive
                   activities being perpetrated by ROBERT HADDEN, Defendants failed to use reasonable care

                   in investigating ROBERT HADDEN and did nothing to reasonably investigate, supervise or

                   monitor and/or terminate ROBERT HADDEN to ensure the safety of patients.

               641. Defendants’ conduct in enabling ROBERT HADDEN to serially sexually assault countless
                   female Patients upon its premises was a long-standing, gross, and inexcusable violation of

                   the duty of care owed to Plaintiffs herein.




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               642. Because Defendants:

                      (a)      had actual knowledge of the sexual exploitation, abuse and harassment being
               committed by HADDEN;

                      (b)      failed to take action such as terminating their employment of ROBERT

               HADDEN, reporting ROBERT HADDEN to the police, and/or reporting ROBERT HADDEN to
               the New York State Medical Board as mandated by State Laws;

                      (c)      failed to take action such as terminating their employment of ROBERT

               HADDEN, reporting ROBERT HADDEN to the police, and/or reporting ROBERT HADDEN to
               the New York State Medical Board as mandated by Federal Laws;

                      (d)      failed to take action such as terminating their employment of ROBERT

               HADDEN, reporting ROBERT HADDEN to the police, and/or reporting ROBERT HADDEN to

               the New York State Medical Board as mandated by medical and academic standards of care;
                      (e)      failed to take action such as terminating their employment of ROBERT

               HADDEN, reporting ROBERT HADDEN to the police, and/or reporting ROBERT HADDEN to

               the New York State Medical Board as mandated by basic standards of ethics and decency;
                      (f)      consciously and intentionally enabled ROBERT HADDEN to continue to sexually

               exploit, abuse, and harass female patients by failing to take any of the above actions; and

                      (g)      consciously and intentionally concealed all of ROBERT HADDEN’s exploitative,
               abusive, and harassing behaviors from female patients, the Plaintiffs herein, and the public at

               large, Defendants have enabled, permitted, and ratified the conduct of ROBERT HADDEN as set

               forth herein.
               643. Defendants, their agents, servants, and/or employees knew ROBERT HADDEN was

                   sexually exploiting, abusing and harassing female patients and refused to take any action to

                   stop him. Moreover, Defendants, their agents, servants, and/or employees hid this

                   information so ROBERT HADDEN could continue to work for COLUMBIA UNIVERSITY,
                   its hospital, offices, medical clinics and facilities. With knowledge of ROBERT HADDEN’s

                   sexual misconduct, no disciplinary action was taken by Defendants and he was inexplicably




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                  allowed to be alone with female patients. Defendants, their agents, servants, and/or

                  employees are thus responsible for ROBERT HADDEN’s acts of sexual exploitation, sexual
                  assault, sexual abuse, sexual battery, discrimination, and harassment.

               644. Further, defendant “CORP. ENTITIES” prior to the granting or renewing of privileges or

                  employment of defendants, residents, nurses and others medical personnel involved in
                  plaintiffs’ care, failed to investigate the qualifications, competence, capacity, abilities and

                  capabilities of said defendants, residents, nurses and other employees, including but not

                  limited to obtaining the following information: patient grievances, criminal investigations,
                  governmental inquiries, negative health care outcomes, incidents injurious to patients,

                  medical malpractice actions commenced against said persons, including the outcomes

                  thereof, any history of association, privilege and/or practice at other institutions, and

                  discontinuation of said association, employment, privilege and/or practice at said institution,
                  and any pending professional misconduct proceedings in this State or another State, the

                  substance of the allegations in such proceedings and any additional information concerning

                  such proceedings and the findings of the proceedings and defendant “CORP. ENTITIES”
                  failed to make sufficient inquiry of the physicians, nurses, employees other personnel and

                  institutions which should and did have information relevant to the capacity, capability, ability

                  and competence of said persons rendering treatment, including defendant ROBERT
                  HADDEN - as well as the medical staff with which he was associated - upon Defendants’

                  premises.

               645. Defendant “CORP. ENTITIES” failed to timely and properly educate, train, supervise and/
                  or monitor its agents, servants, and/or employees with regard to the policies and procedures

                  that must be followed when sexual abuse by a physician is suspected or observed, and

                  instead created an environment where sexual misconduct by physicians was tolerated.

               646. Defendant “CORP. ENTITIES” created an environment where its agents, servants and/or
                  employees who suspected - or even witnessed - sexual misconduct by a physician, were




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                   more fearful about their prospects for future employment if they said something, than they

                   were about the safety and well-being of the patients who were being sexually abused.
               647. Had defendant “CORP. ENTITIES” made the above stated inquiry, or in the alternative, had

                   it reviewed and analyzed the information obtained and available to it in a timely and proper

                   manner, privileges and/or employment would not have been granted and/or renewed.
               648. Defendant “CORP. ENTITIES” were additionally negligent, grossly reckless, wanton and

                   willful, in failing to supervise, monitor, chaperone and/or investigate defendant ROBERT

                   HADDEN, and/or failed to create, institute and/or enforce rules, policies, procedures and/or
                   regulations for defendant ROBERT HADDEN’s treatment of Plaintiffs and countless other

                   women.

               649. By reason of defendant “CORP. ENTITIES” failures to meet the aforementioned

                   obligations, Plaintiffs were treated by physicians, nurses, medical personnel and other
                   employees who were lacking the requisite skills, abilities, competence, capacity and

                   supervision, as a result of which Plaintiffs sustained significant injuries and complications.

               650. The aforesaid injuries resulting therefrom were caused wholly and solely as a result of the
                   defendant “CORP. ENTITIES”'s negligent and reckless supervision of its agents, servants,

                   and/or employees, and created a foreseeable risk of harm to its patients.

               651. Specifically, on Friday, June 29, 2012 a female patient known as JANE DOE #1 was
                   sexually abused by ROBERT HADDEN who touched his tongue to her vagina during a

                   vaginal examination. JANE DOE #1, in shock and fear, hurriedly dressed and ran out of

                   Defendants’ offices. A short while later, two (2) members of the New York City Police
                   Department presented to the medical office, located at 16 East 60th Street, seeking ROBERT

                   HADDEN. Defendants’ staff informed ROBERT HADDEN of the police officers’ desire to

                   speak with him. The police officers then proceeded to question ROBERT HADDEN about

                   sexual assault he committed and escorted ROBERT HADDEN out of the main office area.
                   ROBERT HADDEN informed the police that he had called JANE DOE #1 on her cell phone

                   after the assault “to straighten out a situation”. The police and the District Attorneys Office




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                   then proceeded to engage in a verbal altercation over the telephone - the Police Officers

                   wanted to arrest ROBERT HADDEN but the District Attorney’s Office insisted that
                   ROBERT HADDEN be let go. The District Attorney then overrode the Police and mandated

                   that ROBERT HADDEN be released from their custody. The following week ROBERT

                   HADDEN returned to Defendants’ medical offices, and continued to sexually exploit and
                   abuse female patients as if nothing had happened. Despite the knowledge of a female patient

                   running out of the office - and the Police Officers’ arrival at Defendants’ offices a short-time

                   later in an effort to apprehend ROBERT HADDEN - Defendants took no action against
                   ROBERT HADDEN, wholly failed to investigate the matter, failed to suspend ROBERT

                   HADDEN, failed to report the incident to other people of authority at COLUMBIA and its

                   related CORP. ENTITIES, failed to terminate ROBERT HADDEN, and utterly failed to

                   protect the sanctity of the relationship of trust which is supposed to exist between the
                   Defendants through their agents, servants, employees, and the patients who they are

                   supposed to serve.

               652. Defendant “CORP. ENTITIES”'s negligence and recklessness further lies in having placed
                   Defendant ROBERT HADDEN in a position to cause foreseeable harm, of which Plaintiffs

                   would have been spared, had the defendant “CORP. ENTITIES” taken reasonable care in the

                   supervision and investigation of its employees - including, but not limited to, defendant
                   ROBERT HADDEN, himself.

               653. In a claim for negligent hiring and/or retention, an employer is held liable and responsible

                   for its negligence or recklessness in hiring, retaining and/or supervising an employee,
                   whereas under respondeat superior, the employer is vicariously liable for the torts of the

                   agent, servant or employee. Thus, while Defendant “CORP. ENTITIES” may or may not be

                   vicariously liable under respondeat superior for an act of an employee that was committed

                   outside the scope of the employee's employment, Defendant “CORP. ENTITIES” are
                   nevertheless liable for their failure to exercise reasonable care in hiring, retention and/or

                   supervising their agents, servants and/or employees - including, but not limited to, defendant




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                   ROBERT HADDEN, himself, as well as its useless and complicit chaperones who failed to

                   report ROBERT HADDEN’s conduct.
               654. In a claim for negligent supervision, the employer is held liable and responsible for its

                   negligence or recklessness in failing to timely and properly supervise an agent, servant, and/

                   or employee, whereas under respondeat superior, the employer is vicariously liable for the
                   torts of the employee. Thus, while Defendant “CORP. ENTITIES” may or may not be

                   vicariously liable under respondeat superior for an act of an agent, servant, or employee that

                   was committed outside the scope of the employee's employment, Defendant “CORP.
                   ENTITIES” are nevertheless liable for their own failure to exercise reasonable care in hiring,

                   retaining, monitoring, investigating, and/or supervising their agents, servants and/or

                   employees - including, but not limited to, defendant ROBERT HADDEN, himself.

               655. As a result of the above referenced conduct, Plaintiffs have suffered and continue to suffer
                   great pain of mind and body, shock, emotional distress, shame, physical manifestations of

                   emotional distress including embarrassment, loss of self-esteem, disgrace, humiliation, and

                   loss of enjoyment of life; have suffered and continues to suffer and were prevented and will
                   continue to be prevented from performing daily activities and obtaining the full enjoyment of

                   life; will sustain loss of earnings and earning capacity, and/or have incurred and will

                   continue to incur expenses for medical and psychological treatment, therapy, and counseling.
               656. As a result of Defendants’ reckless conduct, gross indifference, and wanton lack of regard

                   for the safety and well-being of its patients, malice, criminal indifference to civil obligations,

                   and outrageous disregard of moral and professional obligations, both Compensatory and
                   Punitive damages are necessary under these facts as to all defendants.

                                           FOURTEENTH CAUSE OF ACTION
                                        FAILURE TO WARN, TRAIN or EDUCATE

               657. Plaintiffs re-state and incorporate by reference each and every allegation contained herein

                   above as though fully set forth and brought in this cause of action.




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               658. Defendants COLUMBIA UNIVERSITY, THE NEW YORK AND PRESBYTERIAN

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                   UNIVERSITY MEDICAL CENTER; COLUMBIA-PRESBYTERIAN MEDICAL

                   CENTER, EAST SIDE ASSOCIATES; EAST SIDE ASSOCIATES; THE TRUSTEES OF

                   COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA UNIVERSITY
                   COLLEGE OF PHYSICIANS AND SURGEONS; PRESBYTERIAN HOSPITAL

                   PHYSICIAN SERVICES ORGANIZATION, INC.; COLUMBIA-CORNELL CARE, LLC;

                   and COLUMBIA CORNELL NETWORK PHYSICIANS, INC., owed Plaintiffs a duty to
                   take reasonable protective measures to safeguard Plaintiffs, and other female patients, from

                   the risk of sexual harassment, sexual exploitation, molestation and abuse by ROBERT

                   HADDEN by properly warning, training or educating Plaintiffs and others, including their

                   own medical personnel, medical staff, Administrators, and other agents, servants, and/or
                   employees about how to avoid such a risk and what to do when such inappropriate conduct is

                   witnessed, observed, reported, and/or discovered.

               659. Defendants breached their duty to take reasonable measures to protect Plaintiffs, and other
                   female patients, from the risk of sexual harassment, sexual exploitation, molestation and

                   abuse by ROBERT HADDEN, such as the failure to properly warn, train and/or educate

                   Plaintiffs, and other patients, about how to avoid such a particular risk that ROBERT
                   HADDEN posed.

               660. Defendants breached their duty to take reasonable protective measures to safeguard

                   Plaintiffs and other patients from the risk of sexual harassment, sexual exploitation,
                   molestation and abuse by ROBERT HADDEN, by failing to supervise and stop employees of

                   Defendants, such as ROBERT HADDEN, and prevent them from committing sexually

                   abusive and exploitive acts upon female student and patients, including Plaintiffs.

               661. As a result of the above-referenced conduct, Plaintiffs have suffered and continue to suffer
                   great pain of mind and body, shock, emotional distress, shame, physical manifestations of

                   emotional distress including embarrassment, loss of self-esteem, disgrace, humiliation, and




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                   loss of enjoyment of life; have suffered and continue to suffer and were prevented and will

                   continue to be prevented from performing daily activities and obtaining the full enjoyment of
                   life; will sustain loss of earnings and earning capacity, and/or have incurred and will

                   continue to incur expenses for medical and psychological treatment, therapy, and counseling.

               662. Accordingly Compensatory and Punitive damages are necessary under these facts as to all
                   defendants.

                                   FIFTEENTH CAUSE OF ACTION
                     GROSS NEGLIGENCE, WANTON, WILLFUL and RECKLESS CONDUCT

               663. Plaintiffs re-state and incorporate by reference each and every allegation contained herein

                   above as though fully set forth and brought in this cause of action.
               664. Defendants COLUMBIA UNIVERSITY, THE NEW YORK AND PRESBYTERIAN

                   HOSPITAL; COLUMBIA PRESBYTERIAN MEDICAL CENTER; COLUMBIA

                   UNIVERSITY MEDICAL CENTER; COLUMBIA-PRESBYTERIAN MEDICAL

                   CENTER, EAST SIDE ASSOCIATES; EAST SIDE ASSOCIATES; THE TRUSTEES OF
                   COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA UNIVERSITY

                   COLLEGE OF PHYSICIANS AND SURGEONS; PRESBYTERIAN HOSPITAL

                   PHYSICIAN SERVICES ORGANIZATION, INC.; COLUMBIA-CORNELL CARE, LLC;
                   COLUMBIA CORNELL NETWORK PHYSICIANS, INC., and ROBERT HADDEN) owed

                   Plaintiffs, and other female patients, a duty to use due care to ensure their safety and freedom

                   from sexual assault, sexual exploitation, sexual abuse, sexual discrimination, misogyny,
                   racial discrimination, and molestation while interacting with their agents, servants, and/or

                   employees, including ROBERT HADDEN.

               665. ROBERT HADDEN owed Plaintiffs a duty of due care in carrying out ethical and safe
                   medical care and treatment as an agent, servant and/or employee of the Defendants.

               666. By seeking medical treatment from ROBERT HADDEN in the course of his employment,

                   agency, and/or representation of the Defendants, a special, confidential, and fiduciary




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                   relationship between Plaintiffs and ROBERT HADDEN was created, resulting in each of the

                   Defendants and ROBERT HADDEN owing Plaintiffs a duty to use due care.
               667. Defendants’ failures to adequately supervise ROBERT HADDEN, especially after they

                   knew or should have known of complaints regarding ROBERT HADDEN’s nonconsensual

                   sexual abuse, exploitation, touching and assaults during medical examinations was so
                   reckless as to demonstrate a substantial lack of concern for whether an injury would result to

                   Plaintiffs.

               668. ROBERT HADDEN’s conduct in sexually assaulting, sexual exploiting, sexually abusing,
                   and molesting Plaintiffs in the course of his employment, agency, and/or representation of

                   the Defendants, and under the guise of rendering “medical treatment”, was so wanton and

                   reckless as to demonstrate a substantial lack of concern for whether an injury would result to

                   Plaintiffs and hundreds of other female patients.
               669. Defendants, their agents, servants, and/or employees, failed to timely and properly

                   investigate complaints made by the sexual assault survivors of ROBERT HADDEN, and

                   chaperones, as well as suspicious circumstances wherein ROBERT HADDEN and other
                   medical staff, agents, servants, and/or employees placed patients in compromised and

                   unprotected situations which either led, or should have led, to an investigation of defendant

                   ROBERT HADDEN and other medical staff, agents, servants, and/or employees’s
                   negligence, carelessness, recklessness, and/or criminal and wanton misconduct.

               670. Defendants, their agents, servants, and/or employees, failed to timely and properly act upon

                   complaints made by the sexual assault survivors of ROBERT HADDEN, and chaperones, as
                   well as suspicious circumstances wherein ROBERT HADDEN, and/or other medical staff,

                   agents, servants, and/or employees, placed patients in compromised and unprotected

                   situations, all of which caused and/or enabled further and additional negligent, careless,

                   reckless, criminal and/or wanton acts and harm to be inflicted upon Plaintiffs, as well as
                   hundreds of other female students and patients.




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               671. By reason of Defendants, and/or their agents, servants, and/or employees’ failures to meet

                   the aforementioned obligations and duties, Plaintiffs, as well as hundreds of other female
                   students and patients, were subjected to physical and mental injury, mental manipulation,

                   harm, duress, sexual objectification, sexual exploitation, racial discrimination, sexual assault,

                   and sexual abuse.
               672. Defendant ROBERT HADDEN’s sexual assaults of Plaintiffs - and hundreds of other

                   named and unnamed patients - as well as Defendant COLUMBIA UNIVERSITY, THE

                   TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES’s gross negligence,
                   willfulness, and wantonness concerning the improper hiring, retention, blatant coverups and

                   concealments, lack of supervision, abject enabling, and other reckless acts and omissions set

                   forth herein, constitute intentional, extreme, and outrageous conduct of the highest order.

               673. Such grossly reckless conduct is motivated by greed, self-seeking, self-interest, deliberate
                   indifference, deviant sexual desire, and is the product of malicious and evil minds such that

                   the imposition of punitive damages are warranted.

               674. Punitive damages are justified in cases like this to both punish the wrongdoers - and also to
                   hold them out as examples to the rest of the community - such that these Defendants, and

                   others that may be similarly situated, are clearly and explicitly discouraged from engaging in

                   these kinds of grossly deviant and abhorrent behaviors in the future.
               675. For purposes of particularization of the acts and omissions of the within named Defendants

                   which constitute, warrant, and mandate the imposition of punitive damages, it is stated that

                   defendant ROBERT HADDEN - while pretending to render medical care to female patients -
                   serially, and criminally, sexually exploited, assaulted, demeaned, and abused hundreds of

                   female patients at Defendants’ medical facilities and clinics. Further, evidence exists that

                   Defendants enabled ROBERT HADDEN to continue to sexually assault, exploit and abuse

                   their patients, including Plaintiffs herein, and instead of terminating him and reporting him to
                   Criminal Authorities and the State Medical Board, they took no action and further enabled

                   him to continue to sexually exploit and abuse even more female patients in new and different




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                   ways. Moreover, evidence has surfaced which demonstrates that defendant ROBERT

                   HADDEN has been sexually assaulting, sexually exploiting, and sexually abusing patients
                   on the premises of Defendants and their medical facilities and clinics for over 20 years — as

                   far back as the early 1990’s. All the while, Defendants COLUMBIA UNIVERSITY, THE

                   TRUSTEES OF COLUMBIA UNIVERSITY and CORP. ENTITIES, knew of the abuse but
                   instead of terminating ROBERT HADDEN and immediately reporting him to law

                   enforcement, they moved him from clinic to clinic in an intentional, but covert, effort to hide

                   and conceal the abuse from their patients, the Plaintiffs herein, and the public at large.
               676. Defendant ROBERT HADDEN should have already been the subject of an internal,

                   Criminal, and State Medical Board Investigation by the time that he sexually assaulted each

                   of the Plaintiffs herein. However, Defendants failed to act on the information they had and

                   enabled defendant ROBERT HADDEN to continue to sexually assault, sexually abuse and
                   sexually exploit other female patients on its premises - despite a long history of sexually

                   assaulting patients - for in excess of 20-years.

               677. While being allowed to continue preying on young female patients at Defendant
                   COLUMBIA UNIVERSITY and CORP. ENTITIES’ hospitals, offices, and medical facilities

                   and clinics without any restrictions, limitations, preceptors, chaperones or additional

                   supervision, defendant ROBERT HADDEN continued to sexually exploit and assault female
                   patients.

               678. While sexually exploiting, abusing and assaulting female patients - seemingly at will due to

                   the utter indifference of Defendants, their agents, servants, and/or employees - Defendant
                   ROBERT HADDEN sexually exploited, abused, and assaulted Plaintiffs and hundreds of

                   other female patients upon Defendants’ premises.

               679. Plaintiffs were patients of Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF

                   COLUMBIA UNIVERSITY, and CORP. ENTITIES at the time when defendant ROBERT
                   HADDEN sexually exploited, abused, and assaulted them.




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               680. On several occasions, no chaperones were present in the room when Defendant ROBERT

                   HADDEN, sexually exploited, abused, and assaulted plaintiffs on the premises of
                   Defendants’ medical offices, facilities and clinic.

               681. On other occasions, chaperones were present in the room when Defendant ROBERT

                   HADDEN, sexually exploited, abused, and assaulted Plaintiffs on the premises of
                   Defendants’ medical offices, facilities and clinics, and yet stood by and did nothing to protect

                   the Plaintiffs and hundreds of other female patients.

               682. On many occasions, since the early 1990’s, chaperones were present in the room when
                   Defendant ROBERT HADDEN, sexually exploited, abused, and assaulted Plaintiffs, and

                   other female patients, on the premises of Defendants’ medical offices, hospitals, facilities

                   and clinics, who then tried to report the illegal conduct of ROBERT HADDEN to

                   supervisors and other administrators of the within named Defendants, but whose reports
                   were wholly and utterly ignored and/or dismissed as not important, and not followed up on

                   by the COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY and

                   CORP. ENTITIES.
               683. The history of sexual exploitation, sexual assault, and sexual abuse of female patients at the

                   COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY and CORP.

                   ENTITIES at the hands of serial predator ROBERT HADDEN spans a period of over 20-
                   years.

               684. Defendants, their agents, servants, and/or employees had knowledge and/or awareness of

                   the prior sexually exploitive and sexually abusive conduct by ROBERT HADDEN, and
                   chose to do nothing to protect their female patients, including Plaintiffs herein, from being

                   sexually exploited and abused by Defendant ROBERT HADDEN.

               685. As a result of Defendants' gross indifference and wanton lack of regard for the safety and

                   well-being of its patients, malice, criminal indifference to civil obligations, and outrageous
                   disregard of moral and professional ethics, duties and standards, Plaintiffs have each become

                   yet another one of the countless sexual assault survivors of Defendant ROBERT HADDEN




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                   and Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                   UNIVERSITY and CORP. ENTITIES.
               686. Defendants’ indolence and complicity in enabling serial sexual predator ROBERT

                   HADDEN, is abhorrent conduct worthy of punishment.

               687. Defendants’ conduct demonstrates a willful disregard of any and all precautions necessary
                   to ensure Plaintiffs’ Safety.

               688. Defendants’ conduct as described above, demonstrated a willful disregard for the substantial

                   and known risks that ROBERT HADDEN posed to Plaintiffs and other female students and
                   patients.

               689. Defendants have breached the duties owed to Plaintiffs, and other female patients, and were

                   grossly negligent when they conducted themselves as described above, said acts having been

                   committed with reckless disregard for Plaintiffs, and other female patients’ health, safety,
                   constitutional and/or statutory rights, and with a substantial lack of concern as to whether an

                   injury would result.

               690. As a direct and/or proximate result of Defendants’ actions and/or inactions, Plaintiffs and
                   other female patients were damaged.

               691. Accordingly Compensatory and Punitive damages are necessary under these facts as to all

                   Defendants.
                                              SIXTEENTH CAUSE OF ACTION
                                                  INVASION OF PRIVACY

               692. Plaintiffs restate and incorporate by reference the preceding paragraphs as if fully set forth

                   herein, and, to the extent necessary, pleads this cause of action in the alternative.

               693. Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA
                   UNIVERSITY, CORP. ENTITIES and ROBERT HADDEN have intruded upon Plaintiffs’

                   solitude, seclusion or private affairs and concerns by illegally accessing Plaintiffs’ protected

                   and private medical records, illegally viewing protected and private healthcare information,

                   and intruding into their private and personal medical conditions - not for purposes of




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                   rendering medical care and treatment - but instead for the sole purpose of gaining a tactical

                   advantage in litigation. Plaintiffs herein have never authorized the access of their medical
                   records, and yet           upon information and belief, COLUMBIA UNIVERSITY, THE

                   TRUSTEES OF COLUMBIA UNIVERSITY, CORP. ENTITIES and ROBERT HADDEN

                   have illegally and surreptitiously accessed their records in abject violation of both State and
                   Federal Law. This intrusion is highly offensive to reasonable individuals, such as Plaintiffs,

                   and was totally unwarranted and unjustified, constituting invasion of privacy, and a violation

                   of the Health Insurance Portability and Accountability Act (HIPAA).
               694. Defendants carried out such actions through their agents and/or representatives by querying

                   their medical records, medical archives, and electronic medical records (EMR) for

                   information related to the Plaintiffs, their health related issues, complications, conditions,

                   and treatments.
               695. Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                   UNIVERSITY, CORP. ENTITIES, ROBERT HADDEN, and each of their agents, servants,

                   employees, lawyers, and representatives have accessed, and continue to access, Plaintiffs’
                   private and protected HIPAA information for purposes other than the diagnosis, care and

                   treatment of Plaintiffs.

               696. Specifically, Defendants have accessed, and continue to access, read, and use Plaintiffs’
                   private HIPAA information - without Plaintiffs’ knowledge, authorization and consent - in

                   order to try to defend themselves against the myriad of lawsuits they now face for enabling

                   ROBERT HADDEN to sexually exploit and sexually abuse female patients over the past
                   couple decades at their hospitals, offices, and medical clinics.

               697. Defendants have illegally used said information, inter alia, in an effort to dissuade

                   Plaintiffs, and other female patients, from filing lawsuits against Defendants. Defendants

                   have also illegally accessed and used Plaintiffs’ protected health information for the purpose
                   of obtaining facts and statements from Plaintiffs, and other female patients, such that




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                   Defendants will, and are, using said information to try and defend themselves against said

                   lawsuits.
               698. Defendants’ conduct as described herein is despicable and was committed maliciously,

                   fraudulently, and/or oppressively with the wrongful intention of injuring Plaintiffs and with a

                   willful and conscious disregard for their rights, justifying an award of punitive damages.
               699.Accordingly Compensatory and Punitive damages are necessary under these facts as to all

                   Defendants.

                                 SEVENTEENTH CAUSE OF ACTION
               REMOVAL OF SEXUAL PREDATOR ROBERT HADDEN’S NAME FROM THE BIRTH
                  CERTIFICATES OF THE CHILDREN WHOSE MOTHERS WERE SEXUALLY
                                     ASSAULTED AND ABUSED

               700. Plaintiffs restate and incorporate by reference the preceding paragraphs as if fully set forth
                   herein, and, to the extent necessary, pleads this cause of action in the alternative.

               701. ROBERT HADDEN had a long history of predatory grooming, sexually assaulting, and

                   sexually abusing female patients at the hospitals, offices, and medical clinics of Defendant

                   COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and CORP.
                   ENTITIES.

               702. Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                   UNIVERSITY, and CORP. ENTITIES knew of the sexual exploitation and abuse being
                   committed by ROBERT HADDEN.

               703. Instead of terminating and/or firing ROBERT HADDEN, and reporting him to law

                   enforcement, Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA
                   UNIVERSITY, and CORP. ENTITIES engaged in a course of coverups, over lies, and deceit

                   in an effort to protect their reputation and image as one of the top universities and medical

                   centers in the world.
               704. In their effort to protect their reputation and image, COLUMBIA UNIVERSITY, THE

                   TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES covertly moved




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                   ROBERT HADDEN from one clinic to the next every few years as the incidents of his

                   sexual exploitation and abuse escalated.
               705. ROBERT HADDEN has been sexually exploiting and sexually abusing women since the

                   early 1990’s, and as early as 1992.

               706. One basis for removing a name of a person "in attendance” from a birth certificate is that
                   the name was put there in error.

               707. The fact that ROBERT HADDEN has been sexually abusing female patients at Defendants’

                   hospitals, offices, and medical clinics since 1992, should have led to ROBERT HADDEN’s
                   termination, and he should have been reported to law enforcement.

               708. Had ROBERT HADDEN been terminated, and reported to law enforcement, he would not

                   have been in attendance at any of the births of the children of Plaintiffs herein.

               709. The fact that ROBERT HADDEN was sexually exploiting and abusing women since 1992
                   means that his presence at the birth of the children of plaintiffs herein was in error.

               710. Since it is erroneous to have a sexual predator such as ROBERT HADDEN in attendance at

                   the birth of the children of the women he is sexually exploiting and abusing upon
                   Defendant’s premises, it follows that the presence of ROBERT HADDEN’s name as the

                   person “in attendance” is in error.

               711. Plaintiffs have repeatedly requested that Defendants COLUMBIA UNIVERSITY, THE
                   TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES issue a letter, stating

                   that ROBERT HADDEN’s name on the birth certificates of Plaintiffs’ children appears there

                   in error.
               712. There is no legal impediment to issuing a letter that would allow ROBERT HADDEN’s

                   name to be removed from the birth certificates of Plaintiffs’ children, instead Defendant

                   CORP. ENTITIES’ refusal to issue such a letter is rooted in malice and intimidation.

               713. Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA
                   UNIVERSITY, and CORP. ENTITIES’ refusal to comply with Plaintiffs’ reasonable request

                   for a letter enabling them to remove their assailant and abuser’s name from their children’s




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                   birth certificates has resulted in, and continues to result in, significant personal pain,

                   frustration, duress, an emotional trigger, and stress to the Plaintiffs herein.
               714. The presence of ROBERT HADDEN’s name on the birth certificates of Plaintiffs’ children

                   only serves to further injure, harm and traumatize the Plaintiffs who are survivors of

                   ROBERT HADDEN’s long-standing sexual exploitation and sexual abuse.
               715. Defendant CORP. ENTITIES’ refusal to issue a letter that would permit Plaintiffs to remove

                   ROBERT HADDEN’s name from their children’s birth certificates, from the time of their

                   request in the summer 2018, through the present, and continuing into the future, constitutes
                   an aggravation of a pre-existing injury for which COLUMBIA UNIVERSITY, THE

                   TRUSTEES OF COLUMBIA UNIVERSITY, CORP. ENTITIES, and their agents, servants,

                   and employees are responsible.

               716. As a result of Defendants’ refusal to issue the letter permitting the removal of ROBERT
                   HADDEN’s name from their children’s birth certificates, Plaintiffs have had to expend time,

                   money, and significant personal and emotional resources in their effort right the wrong that

                   Defendants have created - and now refuse to fix themselves.
               717. The refusal of Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

                   UNIVERSITY, and CORP. ENTITIES to issue said letter is the result of malice, deliberate

                   indifference, intentional, wanton and reckless behavior designed only to further traumatize,
                   intimidate and harm Plaintiffs, their children, and their families. Said trauma, intimidation

                   and harm is serious, unnecessary, ongoing, and designed solely to inflict additional injury to

                   the Plaintiffs and countless other women in their position.
               718. Defendants should be enjoined from carrying out their ongoing campaign of intimidation

                   and abhorrent conduct which serves to further traumatize and re-traumatize the Plaintiffs,

                   and an Order should be issued directing Defendants to produce a letter permitting Plaintiffs

                   to remove ROBERT HADDEN’s name from the birth certificates of their children.
               719. Accordingly Injunctive, Compensatory and Punitive damages are necessary under these

                   facts as to all Defendants.




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                      WHEREFORE, Plaintiffs pray for a jury trial and for judgment against Defendants for

               injunctive, compensatory and punitive damages.
               Dated: New York, New York
                      November 15, 2018
                                                         Law Office of Anthony T. DiPietro, P.C.


                                                         By: _______________________________
                                                         Anthony T. DiPietro, Esq.
                                                         New York Patient Safety &
                                                         Medical Malpractice Attorney
                                                         Attorneys for Plaintiffs
                                                         MARISSA HOECHSTETTER, JANE DOE #8,
                                                         JANE DOE #9, JANE DOE #10, JANE DOE #11,
                                                         JANE DOE #12, JANE DOE #13, JANE DOE #14,
                                                         JANE DOE #15, JANE DOE #16, JANE DOE #17,
                                                         JANE DOE #18, JANE DOE #19, JANE DOE #21,
                                                         JANE DOE #22, JANE DOE #23 and
                                                         JANE DOE #26
                                                         233 Broadway, Suite 880
                                                         New York, New York 10279
                                                         (212) 233-3600




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               MARISSA HOECHSTETTER, JANE DOE #8,
               JANE DOE #9, JANE DOE #10, JANE DOE #11
               JANE DOE #12, JANE DOE #13, JANE DOE #14,
               JANE DOE #15, JANE DOE #16, JANE DOE #17,
               JANE DOE #18, JANE DOE #19, JANE DOE #21,
               JANE DOE #22, JANE DOE #23, and JANE DOE #26,

                                                                    Plaintiffs,

                                         - against -

               COLUMBIA UNIVERSITY; THE NEW YORK AND
               PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN
               MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL                                    ATTORNEY
               CENTER; COLUMBIA-PRESBYTERIAN MEDICAL                                          VERIFICATION
               CENTER, EAST SIDE ASSOCIATES; EAST SIDE
               ASSOCIATES; ROBERT HADDEN; THE TRUSTEES OF
               COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK;
               COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS
               AND SURGEONS; PRESBYTERIAN HOSPITAL
               PHYSICIAN SERVICES ORGANIZATION, INC.;
               COLUMBIA-CORNELL CARE, LLC; COLUMBIA
               CORNELL NETWORK PHYSICIANS, INC.;
               SLOANE HOSPITAL FOR WOMEN,

                                                                     Defendants.
               ---------------------------------------------------------------------------x

               STATE OF NEW YORK  )
                                  ) ss:
               COUNTY OF NEW YORK )
                       ANTHONY T. DIPIETRO, an attorney duly admitted to practice law in the Courts of the

               State of New York, and attorney for the plaintiffs in the within action, hereby affirms under the

               penalty of perjury:

                       That he has read the within complaint and knows the contents thereof, and that the same

               is true to his own knowledge, except as to the matters therein stated to be alleged upon




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               information and belief, and that as to those matters he believes it to be true. That the sources of

               his information and knowledge are investigations and records in the file.

                      That the reasons this verification is made by affirmant and not by the plaintiffs is in order

               to protect the identity of the plaintiff under NY Civil Rights Law § 50-b.



               Dated: New York, New York
                      November 15, 2018

                                                            Law Office of Anthony T. DiPietro, P.C.


                                                            By: _______________________________
                                                            Anthony T. DiPietro, Esq.
                                                            New York Patient Safety &
                                                            Medical Malpractice Attorney
                                                            Attorneys for Plaintiffs
                                                            MARISSA HOECHSTETTER, JANE DOE #8,
                                                            JANE DOE #9, JANE DOE #10, JANE DOE #11,
                                                            JANE DOE #12, JANE DOE #13, JANE DOE #14,
                                                            JANE DOE #15, JANE DOE #16, JANE DOE #17,
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                                                            233 Broadway, Suite 880
                                                            New York, New York 10279
                                                            (212) 233-3600




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               JANE DOE #18, JANE DOE #19, JANE DOE #21,
               JANE DOE #22, JANE DOE #23, and JANE DOE #26,

                                                                    Plaintiffs,

                                         - against -

               COLUMBIA UNIVERSITY; THE NEW YORK AND
               PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN
               MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL                                    NOTICE REGARDING
               CENTER; COLUMBIA-PRESBYTERIAN MEDICAL                                          AVAILABILITY OF
               CENTER, EAST SIDE ASSOCIATES; EAST SIDE                                        ELECTRONIC FILING
               ASSOCIATES; ROBERT HADDEN; THE TRUSTEES OF
               COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK;
               COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS
               AND SURGEONS; PRESBYTERIAN HOSPITAL
               PHYSICIAN SERVICES ORGANIZATION, INC.;
               COLUMBIA-CORNELL CARE, LLC; COLUMBIA
               CORNELL NETWORK PHYSICIANS, INC.;
               SLOANE HOSPITAL FOR WOMEN,

                                                                     Defendants.
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                     PLEASE TAKE NOTICE that plaintiff(s)/defendant(s) in the case captioned above
               consents and intends that this matter shall proceed as an electronically-filed case in the Filing by
               Electronic Means System (“FBEM”) in accordance with the procedures therefor, described
               below. Service of papers by electronic means cannot be made upon a party unless that party
               consents to use of the system. As soon as possible after service of this Notice, each party served
               must indicate whether it consents.
                                                      General Information
                     In New York State, actions may be commenced and cases processed by means of the
               FBEM system in (1) tax certiorari claims in the Supreme Court in New York City and in Monroe,
               Westchester, and Suffolk Counties; (2) tort claims, and commercial claims in the Commercial
               Division, in the Supreme Court in New York City and in Albany, Monroe, Nassau, Suffolk, and
               Westchester counties; (3) commercial claims in the Commercial Division of Supreme Court, and
               proceedings in Surrogate’s Court, in Erie County; and (4) selected claims against the State of
               New York.




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                      Electronic filing offers significant benefits for attorneys and litigants, permitting papers to
               be filed with the court and served in a simple, convenient and expeditious manner. FBEM case
               documents are filed with the court by filing on the FBEM Website (go to “E-Courts” at
               www.nycourts.gov), which can be done at any time of the day or night. The documents are
               deemed filed when they are received by the Unified Court System server. The use of FBEM is
               governed by Section 202.5-b (Supreme Court), and 206.5 and 206.5-aa (Court of Claims) of the
               Uniform Rules for the Trial Courts.
                                                             Instructions
                      1.    The service of this Notice constitutes a statement of intent by the undersigned that the
               FBEM system be used in this case. When an action or proceeding is being commenced by
               means of the system, this Notice must accompany service of the initiating papers.
                      2.    As soon as possible after service of this Notice, the party served shall advise all
               parties whether it will agree to have the matter proceed by FBEM. Where the party served
               agrees, that party must, as soon as possible after service, file with the court and serve on all
               parties a Consent to FBEM. A Consent form can be found in the “Forms” Section of the FBEM
               Website. The form and other aspects of FBEM are explained in the User’s Manual, available on
               the Website. When this Notice Regarding Availability is served with papers initiating a lawsuit,
               the consent must be filed prior to service of or with the responsive pleadings or motion addressed
               to the pleadings.
                      3.    Once parties agree that the case will be subject to FBEM, each must PROMPTLY
               submit a Filing User Registration form (see the “Forms” section of the Website) to obtain the
               confidential Filing User Identification Number and Password necessary to use the system. A
               party represented by an attorney who has previously registered as a Filing User in another case
               may file and serve the Consent to FBEM electronically by checking the designated box and
               following the instructions on the FBEM Website.
                      4.    For additional information about FBEM, see the User’s Manual and Frequently
               Asked Questions on the Website or contact the court in question or the FBEM Resource Center
               (at 646-386-3033).

               Dated:      New York, New York
                           November 15, 2018

                                                      Law Office of Anthony T. DiPietro, P.C.


                                                      By: ________________________________
                                                      Anthony T. DiPietro
                                                      New York Patient Safety and
                                                      Medical Malpractice Attorney
                                                      Attorney for Plaintiffs
                                                      The Woolworth Building
                                                      233 Broadway - Suite 880
                                                      New York, New York 10279-0137
                                                      Phone: (212) 233-3600
                                                      Fax: (212) 202-7575
                                                      email: Cases@ATDLaw.com




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               JANE DOE #9, JANE DOE #10, JANE DOE #11
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               JANE DOE #18, JANE DOE #19, JANE DOE #21,
               JANE DOE #22, JANE DOE #23, and JANE DOE #26,

                                                                    Plaintiffs,

                                         - against -

               COLUMBIA UNIVERSITY; THE NEW YORK AND
               PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN
               MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL                                    CONSENT TO FBEM
               CENTER; COLUMBIA-PRESBYTERIAN MEDICAL
               CENTER, EAST SIDE ASSOCIATES; EAST SIDE
               ASSOCIATES; ROBERT HADDEN; THE TRUSTEES OF
               COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK;
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               AND SURGEONS; PRESBYTERIAN HOSPITAL
               PHYSICIAN SERVICES ORGANIZATION, INC.;
               COLUMBIA-CORNELL CARE, LLC; COLUMBIA
               CORNELL NETWORK PHYSICIANS, INC.;
               SLOANE HOSPITAL FOR WOMEN,
                                                                     Defendants.
               ---------------------------------------------------------------------------x

                         ANTHONY T. DIPIETRO, an attorney duly admitted to practice law before the Courts

               of the State of New York, and member of the LAW OFFICE OF ANTHONY T. DIPIETRO,

               attorney for the plaintiffs herein, hereby consents to the use of FBEM in this action. We further

               consent to be bound by the service and filing provisions of the FBEM Rules 22 N.Y.C.R.R. §

               202.5-b and to comply with the User’s Manual approved by the Chief Administrator of the

               Courts.

                         We have designate and set forth below the following internet email address for the

               purposes of service and giving notice of each filing:




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                                            Cases@ATDLaw.com


               Dated: New York, New York
                      November 15, 2018
                                                   Law Office of Anthony T. DiPietro, P.C.


                                                   By: ________________________________
                                                   Anthony T. DiPietro
                                                   New York Patient Safety and
                                                   Medical Malpractice Attorney
                                                   Attorney for Plaintiffs
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                                                   233 Broadway - Suite 880
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                           JANE DOE #18, JANE DOE #19, JANE DOE #21,
                           JANE DOE #22, JANE DOE #23, and JANE DOE #26,

                                                                         Plaintiffs,
                                                - against -

                          COLUMBIA UNIVERSITY; THE NEW YORK AND
                          PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN
                          MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL
                          CENTER; COLUMBIA-PRESBYTERIAN MEDICAL
                          CENTER, EAST SIDE ASSOCIATES; EAST SIDE
                          ASSOCIATES; ROBERT HADDEN; THE TRUSTEES OF
                          COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK;
                          COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS
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                          PHYSICIAN SERVICES ORGANIZATION, INC.;
                          COLUMBIA-CORNELL CARE, LLC; COLUMBIA
                          CORNELL NETWORK PHYSICIANS, INC.;
                          SLOANE HOSPITAL FOR WOMEN,

                                                                         Defendants.

                          =================================================
                                    PLAINTIFFS’ VERIFIED COMPLAINT
                          =================================================

                                LAW OFFICE OF ANTHONY T. DIPIETRO, P.C.
                                           Attorney for Plaintiffs
                                   Office and Post Office Address and Telephone Number:
                                              The Woolworth Building
                                             233 Broadway - Suite 880
                                            New York, New York 10279
                                                  (212) 233-3600

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                          To: ALL PARTIES
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